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                          EXHIBIT 1



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B 10 (Official Form 10) (04/10)


UNITED STATES BANKRUPTCY COURT __________ DISTRICT OF __________                                                                                 PROOF OF CLAIM


Name of Debtor:                                                                                                                 Case Number:

   NOTE: This form should not be used to make a claim for an administrative expense arising after the commencement of the case. A request for payment of an
                                                  administrative expense may be filed pursuant to 11 U.S.C. § 503.
Name of Creditor (the person or other entity to whom the debtor owes money or property):                               ͘ Check this box to indicate that this
                                                                                                                          claim amends a previously filed
Name and address where notices should be sent:                                                                            claim.

                                                                                                                                Court Claim Number:______________
                                                                                                                                  (If known)

Telephone number:
                                                                                                                                Filed on:_____________________

Name and address where payment should be sent (if different from above):                                                        ͘ Check this box if you are aware that
                                                                                                                                  anyone else has filed a proof of claim
                                                                                                                                  relating to your claim. Attach copy of
                                                                                                                                  statement giving particulars.

Telephone number:                                                                                                               ͘ Check this box if you are the debtor
                                                                                                                                   or trustee in this case.
1. Amount of Claim as of Date Case Filed:                   $_______________________________                                    5. Amount of Claim Entitled to
                                                                                                                                   Priority under 11 U.S.C. §507(a). If
If all or part of your claim is secured, complete item 4 below; however, if all of your claim is unsecured, do not complete        any portion of your claim falls in
item 4.                                                                                                                            one of the following categories,
                                                                                                                                   check the box and state the
If all or part of your claim is entitled to priority, complete item 5.                                                             amount.

͘ Check this box if claim includes interest or other charges in addition to the principal amount of claim. Attach itemized      Specify the priority of the claim.
  statement of interest or charges.
                                                                                                                                ͙ Domestic support obligations under
2. Basis for Claim: _____________________________                                                                                 11 U.S.C. §507(a)(1)(A) or (a)(1)(B).
   (See instruction #2 on reverse side.)
3. Last four digits of any number by which creditor identifies debtor: ______                                                   ͙ Wages, salaries, or commissions (up
                                                                                                                                  to $11,725*) earned within 180 days
      3a. Debtor may have scheduled account as: ____________________                                                              before filing of the bankruptcy
          (See instruction #3a on reverse side.)                                                                                  petition or cessation of the debtor’s
4. Secured Claim (See instruction #4 on reverse side.)                                                                            business, whichever is earlier – 11
   Check the appropriate box if your claim is secured by a lien on property or a right of setoff and provide the requested        U.S.C. §507 (a)(4).
   information.
                                                                                                                                ͙ Contributions to an employee benefit
   Nature of property or right of setoff:       ͙ Real Estate        ͙ Motor Vehicle      ͙ Other                                 plan – 11 U.S.C. §507 (a)(5).
   Describe:
                                                                                                                                ͙ Up to $2,600* of deposits toward
   Value of Property:$________________ Annual Interest Rate_________%                                                             purchase, lease, or rental of property
                                                                                                                                  or services for personal, family, or
    Amount of arrearage and other charges as of time case filed included in secured claim,                                        household use – 11 U.S.C. §507
                                                                                                                                  (a)(7).
    if any: $__________________           Basis for perfection: ____________________
                                                                                                                                ͔ Taxes or penalties owed to
    Amount of Secured Claim: $__________________ Amount Unsecured: $__________________                                            governmental units – 11 U.S.C. §507
                                                                                                                                  (a)(8).
6. Credits: The amount of all payments on this claim has been credited for the purpose of making this proof of claim.
                                                                                                                                ͙ Other – Specify applicable paragraph
                                                                                                                                  of 11 U.S.C. §507 (a)(__).
7. Documents: Attach redacted copies of any documents that support the claim, such as promissory notes, purchase
orders, invoices, itemized statements of running accounts, contracts, judgments, mortgages, and security agreements.
                                                                                                                                      Amount entitled to priority:
You may also attach a summary. Attach redacted copies of documents providing evidence of perfection of
a security interest. You may also attach a summary. (See instruction 7 and definition of “redacted” on reverse side.)
                                                                                                                                           $_______________
DO NOT SEND ORIGINAL DOCUMENTS. ATTACHED DOCUMENTS MAY BE DESTROYED AFTER
                                                                                                                                *Amounts are subject to adjustment on
SCANNING.
                                                                                                                                4/1/13 and every 3 years thereafter with
                                                                                                                                respect to cases commenced on or after
If the documents are not available, please explain:
                                                                                                                                the date of adjustment.
                                                                                                                                                 FOR COURT USE ONLY
  Date:
   D                     Signature: The person filing this claim must sign it. Sign and print name and title, if any, of the creditor or
                         other person authorized to file this claim and state address and telephone number if different from the notice
                         address above. Attach copy of power of attorney, if any.



                 Penalty for presenting fraudulent claim: Fine of up to $500,000 or imprisonment for up to 5 years, or both. 18 U.S.C. §§ 152 and 3571.



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B 10 (Official Form 10) (04/10) – Cont.
                                                            INSTRUCTIONS FOR PROOF OF CLAIM FORM
The instructions and definitions below are general explanations of the law. In certain circumstances, such as bankruptcy cases not filed voluntarily by the debtor, there
                                                                   may be exceptions to these general rules.
                                                                Items to be completed in Proof of Claim form
Court, Name of Debtor, and Case Number:                                                  4. Secured Claim:
Fill in the federal judicial district where the bankruptcy case was filed (for              Check the appropriate box and provide the requested information if
example, Central District of California), the bankruptcy debtor’s name, and the             the claim is fully or partially secured. Skip this section if the claim is
bankruptcy case number. If the creditor received a notice of the case from the              entirely unsecured. (See DEFINITIONS, below.) State the type and
bankruptcy court, all of this information is located at the top of the notice.              the value of property that secures the claim, attach copies of lien
                                                                                            documentation, and state annual interest rate and the amount past due
Creditor’s Name and Address:                                                                on the claim as of the date of the bankruptcy filing.
Fill in the name of the person or entity asserting a claim and the name and address
of the person who should receive notices issued during the bankruptcy case. A            5. Amount of Claim Entitled to Priority Under 11 U.S.C. §507(a).
separate space is provided for the payment address if it differs from the notice            If any portion of your claim falls in one or more of the listed
address. The creditor has a continuing obligation to keep the court informed of its         categories, check the appropriate box(es) and state the amount
current address. See Federal Rule of Bankruptcy Procedure (FRBP) 2002(g).                   entitled to priority. (See DEFINITIONS, below.) A claim may be
                                                                                            partly priority and partly non-priority. For example, in some of the
1. Amount of Claim as of Date Case Filed:                                                   categories, the law limits the amount entitled to priority.
    State the total amount owed to the creditor on the date of the
    Bankruptcy filing. Follow the instructions concerning whether to                     6. Credits:
    complete items 4 and 5. Check the box if interest or other charges are                  An authorized signature on this proof of claim serves as an acknowledgment
    included in the claim.                                                                  that when calculating the amount of the claim, the creditor gave the debtor
                                                                                            credit for any payments received toward the debt.
2. Basis for Claim:
    State the type of debt or how it was incurred. Examples include                      7. Documents:
    goods sold, money loaned, services performed, personal                                  Attach to this proof of claim form redacted copies documenting the existence
    injury/wrongful death, car loan, mortgage note, and credit card. If the claim is        of the debt and of any lien securing the debt. You may also attach a summary.
    based on the delivery of health care goods or services, limit the disclosure of         You must also attach copies of documents that evidence perfection of any
    the goods or services so as to avoid embarrassment or the                               security interest. You may also attach a summary. FRBP 3001(c) and (d).
    disclosure of confidential health care information. You may be required                 If the claim is based on the delivery of health care goods or services, see
    to provide additional disclosure if the trustee or another party in interest            instruction 2. Do not send original documents, as attachments may be
    files an objection to your claim.                                                       destroyed after scanning.

3. Last Four Digits of Any Number by Which Creditor Identifies                                    Date and Signature:
   Debtor:                                                                                        The person filing this proof of claim must sign and date it. FRBP 9011. If the
   State only the last four digits of the debtor’s account or other number                        claim is filed electronically, FRBP 5005(a)(2), authorizes courts to establish
   used by the creditor to identify the debtor.                                                   local rules specifying what constitutes a signature. Print the name and title, if
                                                                                                  any, of the creditor or other person authorized to file this claim. State the
   3a. Debtor May Have Scheduled Account As:                                                      filer’s address and telephone number if it differs from the address given on the
   Use this space to report a change in the creditor’s name, a transferred                         top of the form for purposes of receiving notices. Attach a complete copy of
   claim, or any other information that clarifies a difference between this                       any power of attorney. Criminal penalties apply for making a false statement
   proof of claim and the claim as scheduled by the debtor.                                       on a proof of claim.


                                        __________DEFINITIONS__________                                                                  ______INFORMATION______

Debtor                                                         A lien may be voluntarily granted by a debtor or may be       Acknowledgment of Filing of Claim
A debtor is the person, corporation, or other entity that      obtained through a court proceeding. In some states, a        To receive acknowledgment of your filing, you may
has filed a bankruptcy case.                                   court judgment is a lien. A claim also may be secured if      either enclose a stamped self-addressed envelope and a
                                                               the creditor owes the debtor money (has a right to setoff).   copy of this proof of claim or you may access the court’s
Creditor                                                                                                                     PACER system (www.pacer.psc.uscourts.gov) for a
A creditor is a person, corporation, or other entity owed a    Unsecured Claim                                               small fee to view your filed proof of claim.
debt by the debtor that arose on or before the date of the     An unsecured claim is one that does not meet the
bankruptcy filing. See 11 U.S.C. §101 (10)                     requirements of a secured claim. A claim may be partly        Offers to Purchase a Claim
                                                               unsecured if the amount of the claim exceeds the value        Certain entities are in the business of purchasing claims
Claim                                                          of the property on which the creditor has a lien.             for an amount less than the face value of the claims. One
A claim is the creditor’s right to receive payment on a                                                                      or more of these entities may contact the creditor and
debt owed by the debtor that arose on the date of the          Claim Entitled to Priority Under 11 U.S.C. §507(a)            offer to purchase the claim. Some of the written
bankruptcy filing. See 11 U.S.C. §101 (5). A claim may         Priority claims are certain categories of unsecured claims    communications from these entities may easily be
be secured or unsecured.                                       that are paid from the available money or property in a       confused with official court documentation or
                                                               bankruptcy case before other unsecured claims.                communications from the debtor. These entities do not
Proof of Claim                                                                                                               represent the bankruptcy court or the debtor. The
A proof of claim is a form used by the creditor to             Redacted                                                      creditor has no obligation to sell its claim. However, if
indicate the amount of the debt owed by the debtor on          A document has been redacted when the person filing it        the creditor decides to sell its claim, any transfer of such
the date of the bankruptcy filing. The creditor must file      has masked, edited out, or otherwise deleted, certain         claim is subject to FRBP 3001(e), any applicable
the form with the clerk of the same bankruptcy court in        information. A creditor should redact and use only the        provisions of the Bankruptcy Code (11 U.S.C. § 101 et
which the bankruptcy case was filed.                           last four digits of any social-security, individual’s tax-    seq.), and any applicable orders of the bankruptcy court.
                                                               identification, or financial-account number, all but the
Secured Claim Under 11 U.S.C. §506(a)                          initials of a minor’s name and only the year of any
A secured claim is one backed by a lien on property of         person’s date of birth.
the debtor. The claim is secured so long as the creditor
has the right to be paid from the property prior to other      Evidence of Perfection
creditors. The amount of the secured claim cannot              Evidence of perfection may include a mortgage, lien,
exceed the value of the property. Any amount owed to           certificate of title, financing statement, or other
the creditor in excess of the value of the property is an      document showing that the lien has been filed or
unsecured claim. Examples of liens on property include         recorded.
a mortgage on real estate or a security interest in a car.




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Eastern Livestock
Total number of parties: 1660



Exhibit A - Eastern Livestock
Svc Lst Name and Address of Served Party                                                             Mode of Service

 43354   (C)B & F CATTLE CO, 300 W LAMAR ST, RICHLAND, TX, 76681-4327                                US Mail (1st Class)

 43354   (C)BEN ARMSTRONG, 2290 LETTER OAK RD, ALBANY, KY, 42602-6288                                US Mail (1st Class)

 43354   (C)DALE PAGE, 9253 EDMONTON RD, SUMMER SHADE, KY, 42166-8669                                US Mail (1st Class)

 43354   (C)DALLAS MCPHAIL, 15888 N 2235 RD, MOUNTAIN PARK, OK, 73559-5025                           US Mail (1st Class)

 43354   (C)DOUG SHEPPARD, 45649 STATE HIGHWAY 12, MILLS, NE, 68753-9749                             US Mail (1st Class)

 43354   (C)DR BUD WILLIS, 2480 LAWTON AVE, SULPHUR, OK, 73086-6842                                  US Mail (1st Class)

 43354   (C)EXCHANGE, PO BOX 490, 408 MAIN AVE S, FAYETTEVILLE, TN, 37334-3446                       US Mail (1st Class)

 43354   (C)FAO GARY THOMPSON, 3900 COUNTY ROAD 23, HEDLEY, TX, 79237-3039                           US Mail (1st Class)

 43354   (C)JEFF A MOWERS, 1258 BLACKS FERRY RD, BURKESVILLE, KY, 42717-7614                         US Mail (1st Class)

 43354   (C)JEFF MOWERS, 1258 BLACKS FERRY RD, BURKESVILLE, KY, 42717-7614                           US Mail (1st Class)

 43354   (C)JEFF YOUNG, 518 WILLOW GROVE SCHOOL RD, ALLONS, TN, 38541-3007                           US Mail (1st Class)

 43354   (C)MCPHAIL LAND & CATTLE, 15888 N 2235 RD, MOUNTAIN PARK, OK, 73559-5025                    US Mail (1st Class)

 43354   (C)MCPHAIL LAND & CATTLE, STOCKMAN`S BANK, 15888 N 2235 RD, MOUNTAIN PARK, OK, 73559-5025   US Mail (1st Class)

 43354   (C)MICHAEL PAGE, 8131 COUNTY HOUSE RD, TOMPKINSVILLE, KY, 42167-7603                        US Mail (1st Class)

 43354   (C)MONTE HAIAR, 401 5TH ST, FAIRFAX, SD, 57335-2123                                         US Mail (1st Class)

 43354   (C)MULL FARMS & FEEDING, 549 R RD, PAWNEE ROCK, KS, 67567-6708                              US Mail (1st Class)

 43354   (C)RACHEL PHELPS, 3133 LAWSON BOTTOM RD, BURKESVILLE, KY, 42717-9511                        US Mail (1st Class)

 43354   (C)ROBERT SPROULS, S & S, 407 BAKERTON RD, BAKERTON, KY, 42717-9503                         US Mail (1st Class)

 43354   (C)ROGER TURNER, 9046 OLD GLASGOW RD, MOUNT HERMON, KY, 42157-8079                          US Mail (1st Class)

 43354   (C)RONNIE GERALDS, 12832 CENTER POINT RD, TOMPKINSVILLE, KY, 42167-8638                     US Mail (1st Class)

 43354   (C)TODD LYNN, 944 TINSLEY BOTTOM RD, CELINA, TN, 38551-5007                                 US Mail (1st Class)

 43354   (C)TOMMY LOGSDON, 757 JEROME LOGSDON RD, SUNFISH, KY, 42210-8688                            US Mail (1st Class)

 43354   (C)VAUGHN KENNEMER, 11081 N 1970 RD, ELK CITY, OK, 73644-6412                               US Mail (1st Class)

 43354   (C)WILLIAM BUSH, 16660 N 2320 RD, SNYDER, OK, 73566-5058                                    US Mail (1st Class)

 43354   (D)A T & T, PO BOX 8100, AURORA, IL, 60507-8100                                             US Mail (1st Class)

 43354   (D)ALABAMA LIVESTOCK AUCTION, INC., PO BOX 279, UNIONTOWN, AL, 36786-0279                   US Mail (1st Class)

 43354   (D)ASHVILLE STOCKYARD, INC., PO BOX 580, ASHVILLE, AL, 35953-0580                           US Mail (1st Class)

 43354   (D)BBL CATTLE, BOX 39, BLACKWELL, TX, 79506                                                 US Mail (1st Class)

 43354   (D)BILLY NEAT, 705 B NEAT ROAD, COLUMBIA, KY, 42728-8500                                    US Mail (1st Class)

 43354   (D)BOVINE MEDICAL ASSOCIATES, LLC, 1500 SOPER ROAD, CARLISLE, KY, 40311-8083                US Mail (1st Class)

 43354   (D)BURKE LIVESTOCK AUCTION, RR2 BOX 33, BURKE, SD, 57523                                    US Mail (1st Class)

 43354   (D)CULLMAN STOCKYARD, INC., 75 COUNTY RD 1339, CULLMAN, AL, 35058-0428                      US Mail (1st Class)

 43354   (D)DAVID L RINGS, 1288 FRONTAGE ROAD, RUSSELL SPRINGS, KY, 42642-7871                       US Mail (1st Class)

 43354   (D)DENNIS NEAT, 6198 BURKESVILLE ROAD, COLUMBIA, KY, 42728-8529                             US Mail (1st Class)

 43354   (D)FIFTH THIRD BANK, 401 SOUTH 4TH AVE, LOUISVILLE, KY, 40202-3411                          US Mail (1st Class)

 43354   (D)FLOYD COUNTY TREASURER, PO BOX 2010, NEW ALBANY, IN, 47151-2010                          US Mail (1st Class)

 43354   (D)FRIONA INDUSTRIES, L P, 500 S TAYLOR, PO BOX 15568, AMARILLO, TX, 79105-5568             US Mail (1st Class)

 43354   (D)GARY S BELL, PO BOX 122, EDMONTON, KY, 42129-0122                                        US Mail (1st Class)

 43354   (D)GARY WELCH CATTLE COMPANY, PO BOX 10, NORMAN, NC, 28367-0010                             US Mail (1st Class)

 43354   (D)GENE SHIPMAN, 11401 E FM 1075, HAPPY, TX, 79042-3422                                     US Mail (1st Class)

 43354   (D)HARDIN COUNTY STOCKYARD, INC., PO BOX 189, WAYNESBORO, TN, 38485-0189                    US Mail (1st Class)

 43354   (D)HAROLD WHITAKER LIVESTOCK TRANSPORTATION, PO BOX 1179, ROSWELL, NM, 88202-1179           US Mail (1st Class)

 43354   (D)HOMER COPELAND, 295 COPELAND LN, CELINA, TN, 38551-3017                                  US Mail (1st Class)

 43354   (D)INSIGHT COMMUNICATIONS, PO BOX 740273, CINCINNATI, OH, 45274-0273                        US Mail (1st Class)




 Eastern Livestock
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Exhibit A - Eastern Livestock
Svc Lst Name and Address of Served Party                                                                 Mode of Service

 43354   (D)JAMES A KNAUER, KROGER GARDIS & REGAS, LLP, 111 MONUMENT CIR STE 900, INDIANAPOLIS, IN,      US Mail (1st Class)
         46204-5125
 43354   (D)JANOUSEK FARMS, INC., 36982 US HWY 18, FAIRFAX, SD, 57335-5352                               US Mail (1st Class)

 43354   (D)JEREMY COFFEY, 6205 GREENSBURG RD, COLUMBIA, KY, 42728-9487                                  US Mail (1st Class)

 43354   (D)JUDY CEBELAK, 614 LANE ALLEN ROAD, LEXINGTON, KY, 40504-3507                                 US Mail (1st Class)

 43354   (D)KENTUCKIANA LIVESTOCK MARKET, INC., PO BOX 774, OWENSBORO, KY, 42302-0774                    US Mail (1st Class)

 43354   (D)MID-KENTUCKY LIVESTOCK MARKET, LLC, PO BOX 134, UPTON, KY, 42784-0134                        US Mail (1st Class)

 43354   (D)MIKE LOY, 668 P D PYLES RD, COLUMBIA, KY, 42728-9455                                         US Mail (1st Class)

 43354   (D)RANDY CARDEN, INC., 376 WALLIS ROAD, VILLA RICA, GA, 30180-4002                              US Mail (1st Class)

 43354   (D)REPUBLIC BANK AND TRUST COMPANY, 661 SOUTH HURSTBOURNE PARKWAY, LOUISVILLE, KY,              US Mail (1st Class)
         40222-5079
 43354   (D)RICHARD RIVERS TRUCKING, 11510 TANNER WILLIAMS ROAD, LUCEDALE, MS, 39452-8317                US Mail (1st Class)

 43354   (D)ROY PACE, 720 JUDD ROAD, EDMONTON, KY, 42129-9000                                            US Mail (1st Class)

 43354   (D)SOUTHEAST LIVESTOCK EXCHANGE LLC, PO BOX 1306, WAYNESVILLE, NC, 28786-1306                   US Mail (1st Class)

 43354   (D)STEVE GRAVES TRUCKING, LLC, 625 FERGUSON RD, WHEATLAND, WY, 82201-9010                       US Mail (1st Class)

 43354   (D)SUPERIOR LIVESTOCK AUCTION, INC, 1155 NORTH COLORADO, BOX 38, BRUSH, CO, 80723-2901          US Mail (1st Class)

 43354   (D)TNCI, PO BOX 981038, BOSTON, MA, 02298-1038                                                  US Mail (1st Class)

 43354   (D)TODD LYNN, 195 JOE LYNN RD, CELING, TN, 38551                                                US Mail (1st Class)

 43354   (D)VERIZON, PO BOX 920041, DALLAS, TX, 75392-0041                                               US Mail (1st Class)

 43354   (D)WISCHMEIER TRUCKING, INC., PO BOX 244, BROWNSTOWN, IN, 47220-0244                            US Mail (1st Class)

 43354   (P)FIFTH THIRD BANK, MD# ROPS05 BANKRUPTCY DEPT, 1850 EAST PARIS SE, GRAND RAPIDS, MI, 49546-   US Mail (1st Class)
         6253
 43354   (U)BRIAN BAUMAN, (U)CANMER, KY 42722, (U)CANMER, KY, 42722                                      US Mail (1st Class)

 43354   (U)DEERE & COMPANY, (U)ETTA, MS 38627, (U)ETTA, MS, 38627                                       US Mail (1st Class)

 43354   (U)MADDEN BROTHERS, (U)MEDON, TN 38356, (U)MEDON, TN, 38356                                     US Mail (1st Class)

 43354   (U)PEOPLES BANK & TRUST CO. OF PICKETT COUNTY, (U)PROVIDENCE, KY 42450, (U)PROVIDENCE, KY,      US Mail (1st Class)
         42450
 43354   1ST NATIONAL BANK OF ELK CITY, DENNIS SCHROEDER, 29304 CR 110, FREEDOM, OK, 73842-3855          US Mail (1st Class)

 43354   1ST STATE BANK OF TEMPLE, JIMMY WAYNE KINDER, RT 1 BOX 25, WALTERS, OK, 73572-9717              US Mail (1st Class)

 43354   2 Z CATTLE CO., 4460 PULASKI HWY, CULLEOKA, TN, 38451-2025                                      US Mail (1st Class)

 43354   24 TRADING CO., LLC, PO BOX 1530, CANUTILLO, TX, 79835-1530                                     US Mail (1st Class)

 43354   3 B FARMS, 709 N PRATT, PO BOX 6, YATES CENTER, KS, 66783-0006                                  US Mail (1st Class)

 43354   3 B FARMS, LLC, 709 N PRATT ST., PO BOX 6, YATES CENTER, KS, 66783-0006                         US Mail (1st Class)

 43354   3 G CATTLE CO., C B GILBERT, 4374 BLOOMFIELD ROAD, TAYLORSVILLE, KY, 40071-9060                 US Mail (1st Class)

 43354   3-B FARMS LLC, PO BOX 6, 709 N PRATT ST, YATES CENTER, KS, 66783                                US Mail (1st Class)

 43354   4 LEGS DOWN LLC, 10418 N 300 E, MORRISTOWN, IN, 46161-9793                                      US Mail (1st Class)

 43354   A & B CATTLE & FARM INC, PO BOX 5, THAXTON, MS, 38871-0005                                      US Mail (1st Class)

 43354   A T & T, PO BOX 105503, BR 02 - MARION, ATLANTA, GA, 30348-5503                                 US Mail (1st Class)

 43354   A T & T, PO BOX 105262, BR 15 - LEXINGTON, ATLANTA, GA, 30348-5262                              US Mail (1st Class)

 43354   A T & T, PO BOX 105262, ATLANTA, GA, 30348-5262                                                 US Mail (1st Class)

 43354   A T & T, PO BOX 8100, AURORA, IL, 60507-8100                                                    US Mail (1st Class)

 43354   A T & T, LARRY HOWARD, 1217 NORTH RUSHCREEK ROAD, SALEM, IN, 47167-6541                         US Mail (1st Class)

 43354   A T & T, MARK FAUGHN, 10595 HWY 902 E, FREDONIA, KY, 42411-9787                                 US Mail (1st Class)

 43354   ABT LAW OFFICE, DAVID L ABT, 210 NORTH MAIN STREET, PO BOX 128, WESTBY, WI, 54667-0128          US Mail (1st Class)

 43354   ACOSTA TRUCKING, PO BOX 503, ALLIANCE, NE, 69301-0503                                           US Mail (1st Class)

 43354   ACREE, PHILLIP NATHAN, 175 DONALD HURT RD, SUMMER SHADE, KY, 42166-7600                         US Mail (1st Class)

 43354   ADAIR PROGRESS, INC, 98 GRANT LANE, PO BOX 595, COLUMBIA, KY, 42728-0595                        US Mail (1st Class)

 43354   ADAMS FARM, 3657 TEMPLE HILL RD, SUMMER SHADE, KY, 42166                                        US Mail (1st Class)

 43354   AG NEW MEXICO OF PCA, LEN MILLER, 1949 ROOSEVELT RD 1 NORTH, PORTALES, NM, 88130-9026           US Mail (1st Class)

 43354   AGPREFERENCE CREDIT ASSOC PCA, (C)WILLIAM BUSH, 16660 N 2320 RD, SNYDER, OK, 73566-5058         US Mail (1st Class)

 43354   AGPREFERENCE CREDIT ASSOC PCA, WILLIAM BUSH, RT 2, BOX 42, SNYDER, OK, 73566                    US Mail (1st Class)

 43354   AIRESPRING, PO BOX 7420, VAN NUYS, CA, 91409-7420                                               US Mail (1st Class)


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 43354   AIRESPRING/GLOBALFIBERNET, PO BOX 7420, VAN NUYS, CA, 91409-7420                               US Mail (1st Class)

 43354   AIRPORT MAIL FACILITY, WINDOW UNIT, 4440 CRITTENDEN DR, LOUISVILLE, KY, 40221-9998             US Mail (1st Class)

 43354   ALABAMA LIVESTOCK AUCTION, BOX 279, UNIONTOWN, AL, 36786-0279                                  US Mail (1st Class)

 43354   ALBERTO VILLEGEAS, C/O SCOTT DEAN, 4921 OLMOS, EL PASO, TX, 79922-3001                         US Mail (1st Class)

 43354   ALEXANDER, DONALD R, ATTN: DAVID B FOUTCH, ROCHELLE MCCULLOCH & AULDS PLLC, 109 N CASTLE       US Mail (1st Class)
         HEIGHTS AVE, LEBANON, TN, 37087
 43354   ALEXANDER, DONALD R, 16550 CAINSVILLE RD, LANCASSAS, TN, 37085                                 US Mail (1st Class)

 43354   ALFRED KEETON COOPER, 1397 UPPER HILHAM RD, LIVINGSTON, TN, 38570-8147                         US Mail (1st Class)

 43354   ALLEN B BROWN, 248 A B BROWN RD, CAVE CITY, KY, 42127                                          US Mail (1st Class)

 43354   ALLEN B BROWN, 248 BROWN RD, CAVE CITY, KY, 42127-9120                                         US Mail (1st Class)

 43354   ALLEN EDWARDS, 1950 OWENS LN, CORYDON, IN, 47112-7614                                          US Mail (1st Class)

 43354   ALLEN MILLER, 701 FALLING SPRINGS HOLLOW, HORSE CAVES, KY, 42749-9710                          US Mail (1st Class)

 43354   ALLEN MORRIS, STITES & HARBISON, PO BOX 946, 323 E COURT AVE, JEFFERSONVILLE, IN, 47131-0946   US Mail (1st Class)

 43354   ALTON DARNELL, 480 BLEVINS HOLLOW RD, PINEY CREEK, NC, 28663-9020                              US Mail (1st Class)

 43354   ALVIN BARBEE, 9730 BROWNSVILLE RD, PARK CITY, KY, 42160-9316                                   US Mail (1st Class)

 43354   AMERICAN BANK, BILL WARD, BOX 104, COOLIDGE, TX, 76635-0104                                    US Mail (1st Class)

 43354   AMERICAN EXPRESS, PO BOX 650448, DALLAS, TX, 75265-0448                                        US Mail (1st Class)

 43354   AMERICAN EXPRESS TRAVEL RELATED SERVICES CO, CORP CARD, C/O BECKET AND LEE LLP, POB            US Mail (1st Class)
         3001, MALVERN, PA, 19355-0701
 43354   AMERICAN INTERNATIONAL SERVICES CORP, 1010 S 9TH STREET, LOUISVILLE, KY, 40203-3326            US Mail (1st Class)

 43354   AMERICAN NATIONAL BANK, LUIS CERNOCH, 6711 GREEN MEADOW LANE, TERRELL, TX, 75160-0160          US Mail (1st Class)

 43354   AMERICAN ROCK, C/O DANE BRADEN, 131 INDUSTRIAL PARK DR SUITE 3, HOLLISTER, MO, 65672-5621      US Mail (1st Class)

 43354   AMERICAN ROCK LLC, 131 INDUSTRIAL PARK, SUITE 3, HOLLISTER, MO, 65672-5621                     US Mail (1st Class)

 43354   AMEX TRAVEL RELATED SERVICES CO INC CORP CARD, BECKET & LEE LLP, PO BOX 3001, MALVERN,         US Mail (1st Class)
         PA, 19355-0701
 43354   AMOS KROPF, 6987 HWY 278 WEST, OZAN, AR, 71855-9023                                            US Mail (1st Class)

 43354   ANDREW BEAU TABOR, 166 EDGAR FORD RD, SUMMER SHADE, KY, 42166-9729                             US Mail (1st Class)

 43354   ANDREW STURDIVANT, 740 COLES BEND RD, SMITHS GROVE, KY, 42171-9226                             US Mail (1st Class)

 43354   ANDY WILSON, 2415 BYRDSTOWN HWY, MONROE, TN, 38573-6318                                        US Mail (1st Class)

 43354   ANGIE HONAKER, 1186 LEATHERWOOD RD, TOMPKINSVILLE, KY, 42167-7423                              US Mail (1st Class)

 43354   ANIMAL CLINIC OF DIAMOND, 20160 HWY J, DIAMOND, MO, 64840-7177                                 US Mail (1st Class)

 43354   ANIMAL CLINIC, STEVE YOUNG, DVM, PO BOX 781, MORGANFIELD, KY, 42437-0781                       US Mail (1st Class)

 43354   ANIMAL HOUSE VET CLINIC, DR JON HOLLOMAN, 712 W MAIN, PROVIDENCE, KY, 42450-1114               US Mail (1st Class)

 43354   ANTHONY LEATH, 3916 THAXTON RD, THAXTON, MS, 38871-9797                                        US Mail (1st Class)

 43354   ANUEZ TRUCKING, PACO ANUEZ, PO BOX 640, OKEECHOBEE, FL, 34973-0640                             US Mail (1st Class)

 43354   ARAB LIVESTOCK MARKET INC., C/O ROBBIE GIBBS, PO BOX 178, ARAB, AL, 35016-0178                 US Mail (1st Class)

 43354   ARAB LIVESTOCK MARKET,INC, PO BOX 178, ARAB, AL, 35016-0178                                    US Mail (1st Class)

 43354   ARCADIA STOCKYARD, P O DRAWER 1418, ARCADIA, FL, 34265-1418                                    US Mail (1st Class)

 43354   ARMSTRONG, BEN, ROUTE 2, BOX 256, ALBANY, KY, 42602                                            US Mail (1st Class)

 43354   ARNOLD FARMS, 9845 WEATHERLY RD, LASCASSAS, TN, 37085-4419                                     US Mail (1st Class)

 43354   ARNOLD FARMS, C/O HOWARD B ARNOLD, 9845 WEATHERLY RD, LASCASSAS, TN, 37085-4419                US Mail (1st Class)

 43354   ARTERBURN, EDWARD L, PO BOX 186, PARK CITY, KY, 42160-0186                                     US Mail (1st Class)

 43354   ARTHUR ANDREW STURDIVANT, 740 COLES BEND RD, SMITHS GROVE, KY, 42171-9226                      US Mail (1st Class)

 43354   ARTHUR LOWHORN, 3160 LETTERHEAD OAK ROAD, ALBANY, KY, 42602-6297                               US Mail (1st Class)

 43354   ARTHUR LOWHORN, RT 2, ALBANY, KY, 42602                                                        US Mail (1st Class)

 43354   ASBURY, LENNY, 650 MAHOGANY LN, HARDYVILLE, KY, 42746                                          US Mail (1st Class)

 43354   ASH FLAT LIVESTOCK AUCTION, INC., PO BOX 308, ASH FLAT, AR, 72513-0308                         US Mail (1st Class)

 43354   ASHVILLE STOCKYARD, PO BOX 580, ASHVILLE, AL, 35953-0580                                       US Mail (1st Class)

 43354   ATHENS STOCKYARD, PO BOX 67, ATHENS, TN, 37371-0067                                            US Mail (1st Class)

 43354   ATHENS STOCKYARD LLC, C/O THOMAS E RAY, 130 JORDAN DR, CHATTANOOGA, TN, 37421                  US Mail (1st Class)

 43354   ATHENS STOCKYARD LLC, PO BOX 67, ATHENS, TN, 37371                                             US Mail (1st Class)




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 43354   ATHENS STOCKYARD, LLC, C/O THOMAS E RAY, 130 JORDAN DR, CHATTANOOGA, TN, 37421-6748                US Mail (1st Class)

 43354   ATS FARM, 1454 E MOSLEY LANE, SPRINGFIELD, MO, 65803-7692                                          US Mail (1st Class)

 43354   ATTORNEY AT LAW,PC, JOHN COWHERD, PO BOX 268, MOUNT VERNON, MO, 65712-0268                         US Mail (1st Class)

 43354   AUSTIN MARTIN, 3160 N JACKSON, CANMER, KY, 42722-9437                                              US Mail (1st Class)

 43354   AVALON RUSSELL, 2727 POPLAR SPRINGS RD, GLASGOW, KY, 42141-8850                                    US Mail (1st Class)

 43354   AVAYA, 14400 HERTZ QUAIL SPRING PKWY, OKLAHOMA CITY, OK, 73134-2615                                US Mail (1st Class)

 43354   AVERY MATNEY, 3673 IRON MOUNTAIN RD, CENTER, KY, 42214-8735                                        US Mail (1st Class)

 43354   AYRES CARR & SULLIVAN, P C, BRET S CLEMENT, 251 E OHIO ST STE 500, INDIANAPOLIS, IN, 46204-2184    US Mail (1st Class)

 43354   AYRES CARR & SULLIVAN, P C, JOHN R CARR III, 251 E OHIO ST STE 500, INDIANAPOLIS, IN, 46204-2184   US Mail (1st Class)

 43354   B & F CATTLE CO, RT.1 BOX 136, RICHLAND, TX, 76681                                                 US Mail (1st Class)

 43354   B & F CATTLE CO, AG TEXAS FARM CREDIT, RT.1 BOX 136, RICHLAND, TX, 76681                           US Mail (1st Class)

 43354   B & M CATTLE CO., PO BOX 634, CARTHAGE, MO, 64836-0634                                             US Mail (1st Class)

 43354   B & M TRUCKING, BOX 562, HUNTINGDON, TN, 38344-0562                                                US Mail (1st Class)

 43354   B & P TRUCKING, PO BOX 236, CHRISMAN, TX, 77838-0236                                               US Mail (1st Class)

 43354   B&B FARMS, C/O KEITH BREEDING, 8090 GREENSBURG RD, GREENSBURG, KY, 42743-9002                      US Mail (1st Class)

 43354   B&B FARMS, ATTN: KEITH BREEDING, 8090 GREENSBURG ROAD, GREENSBURG, KY, 42743-9002                  US Mail (1st Class)

 43354   B&B LAND AND LIVESTOCK, D L EVANS BANK, BOISE, ID, PO BOX 50175, BILLINGS, MT, 59105-0175          US Mail (1st Class)

 43354   B&F CATTLE (JOE FARMER), 300 W LAMAR ST, RICHLAND, TX, 76681-4327                                  US Mail (1st Class)

 43354   B-5 FARMS, PO BOX 23, INVERNESS, MS, 38753-0023                                                    US Mail (1st Class)

 43354   BACA COUNTY FEED YARD, 45445 HIGHWAY 160, WALSH, CO, 81090-9604                                    US Mail (1st Class)

 43354   BACA COUNTY FEED YARD, INC., 45445 HWY 160, WALSH, CO, 81090-9604                                  US Mail (1st Class)

 43354   BAGBY, JERRY, 5360 HWY 1464, GREENSBURG, KY, 42743-9432                                            US Mail (1st Class)

 43354   BAILEY MOORE, C/O JOPLIN REGIONAL STOCKYARD, 10131 CIMMARON ROAD, CARTHAGE, MO, 64836-             US Mail (1st Class)
         3461
 43354   BAIRD, STOKES, PO BOX 218, MUNFORDVILLE, KY, 42765-0218                                            US Mail (1st Class)

 43354   BAKER & DANIELS LLP, DUSTIN R DENEAL, 300 N MERIDIAN STREET, SUITE 2700, INDIANAPOLIS, IN,         US Mail (1st Class)
         46204-1782
 43354   BAKER & DANIELS LLP, ROBERT K STANLEY, 300 NORTH MERIDIAN, SUITE 2700, INDIANAPOLIS, IN, 46204-    US Mail (1st Class)
         1782
 43354   BAKER & DANIELS LLP, WENDY W PONADER, 600 E 96TH STREET, SUITE 600, INDIANAPOLIS, IN, 46240-       US Mail (1st Class)
         3789
 43354   BAKER & DANIELS, JAMES M CARR, 300 N MERIDIAN ST STE 2700, INDIANAPOLIS, IN, 46204-1782            US Mail (1st Class)

 43354   BAKER & DANIELS, TERRY E HALL, 300 N MERIDIAN ST STE 2700, INDIANAPOLIS, IN, 46204-1782            US Mail (1st Class)

 43354   BALLINGER MCCLAIN, PLLC, MICHAEL W MCCLAIN, 9720 PARK PLAZA AVENUE, SUITE 102, LOUISVILLE,         US Mail (1st Class)
         KY, 40241-2289
 43354   BANCFIRST OF CHATTANOOGA,OK, TIM MCCARY, 23929 CR EW 180, CHATTANOOGA, OK, 73528-9010              US Mail (1st Class)

 43354   BANK FIRST, EDDIE STRICKLAND, 3408 HWY 389, PHEBA, MS, 39755-9523                                  US Mail (1st Class)

 43354   BANK OF KREMLIN, MARK ALLEN WEDEL, BOX 144, RINGWOOD, OK, 73768-0144                               US Mail (1st Class)

 43354   BANK OF THE WICHITAS, JUNIOR HICKS, RT.1, MT. PARK, OK, 73559                                      US Mail (1st Class)

 43354   BANK OF THE WICHITAS, LARRY NICHOLS, 1008 13TH STREET, SNYDER, OK, 73566-2858                      US Mail (1st Class)

 43354   BANK OF WICHITAS & LEGENDS BAN, ROBERT NICHOLS, 21767 E 1580 RD, MT. PARK, OK, 73559-5040          US Mail (1st Class)

 43354   BAR K CATTLE, 1275 7TH AVE, SIOUX CENTER, IA, 51250-2156                                           US Mail (1st Class)

 43354   BARBARA MUIR-KISSEL, 2990 STATE ROUTE 62, CORYDON, IN, 47112                                       US Mail (1st Class)

 43354   BARNES TRUCKING, C/O SHANNON BARNES, 21936 LAWRENCE 2222, AURORA, MO, 65605-8285                   US Mail (1st Class)

 43354   BARNES TRUCKING, SHANNON BARNES, 219 36 LAWRENCE 2222, AURORA, MO, 65605-8285                      US Mail (1st Class)

 43354   BARREN COUNTY SHERIFF, 117-1B N PUBLIC SQUARE, GLASGOW, KY, 42141-2869                             US Mail (1st Class)

 43354   BARRY HALE, PO BOX 8205, LONGVIEW, TX, 75607-8205                                                  US Mail (1st Class)

 43354   BARRY MCCOY, 1850 E BENCH ROAD, DILLON, MT, 59725-8544                                             US Mail (1st Class)

 43354   BBL CATTLE, PO BOX 39, BLACKWELL, TX, 79506                                                        US Mail (1st Class)

 43354   BEAU TABOR, 166 EDGAR FORD RD, SUMMER SHADE, KY, 42166-9729                                        US Mail (1st Class)

 43354   BEEF MARKETING GROUP COOP, PO BOX 1506, GREAT BEND, KS, 67530-1506                                 US Mail (1st Class)

 43354   BEEF TRANSPORT, 7892 TANDY RD, LANESVILLE, IN, 47136                                               US Mail (1st Class)



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 43354   BEN ARMSTRONG, RT 2 BOX 256, ALBANY, KY, 42602                                               US Mail (1st Class)

 43354   BEN GIBSON, 207 FAIRWAY DRIVE, PROVIDENCE, KY, 42450-2209                                    US Mail (1st Class)

 43354   BEN H ARMSTRONG, 2290 LETTERED OAK RD, ALBANY, KY, 42602-6288                                US Mail (1st Class)

 43354   BENNIE MUTTER, 527 MUTTER RD, GLASGOW, KY, 42141-8446                                        US Mail (1st Class)

 43354   BENTON FARMS, 306 4TH STREET, BENTON, AL, 36785-5423                                         US Mail (1st Class)

 43354   BERTOLINO LIVESTOCK AND TRANSPORTATION, PO BOX 21425, BILLINGS, MT, 59104-1425               US Mail (1st Class)

 43354   BERTRAM CATTLE HAULING, PO BOX 437, VINITA, OK, 74301-0437                                   US Mail (1st Class)

 43354   BETH ROYALTY, 8350 HEINZE ROAD NE, LANESVILLE, IN, 47136-8502                                US Mail (1st Class)

 43354   BILL CHASE, PO BOX 2038, 1157 HARRY KING RD, GLASGOW, KY, 42141-8051                         US Mail (1st Class)

 43354   BILL CRIST, 353 HISEVILLE E MAIN, GLASGOW, KY, 42141-9586                                    US Mail (1st Class)

 43354   BILL DAVIS, 7726 W FM 2335, CHRISTOVAL, TX, 76935-3308                                       US Mail (1st Class)

 43354   BILL JONES, 865 MERIDIAN ROAD, MITCHELL, IN, 47446-6956                                      US Mail (1st Class)

 43354   BILL WARD, BOX 104, COOLIDGE, TX, 76635-0104                                                 US Mail (1st Class)

 43354   BILL WARREN, 108 QUALLS LANE, LIVINGSTON, TN, 38570                                          US Mail (1st Class)

 43354   BILL WARREN, 180 QUALLS LN, LIVINGSTON, TN, 38570-2042                                       US Mail (1st Class)

 43354   BILLIE W HURT, 29 BARREN RIVER DAM RD, SCOTTSVILLE, KY, 42164-9255                           US Mail (1st Class)

 43354   BILLINGSLEY AUCTION SALE, INC., PO BOX 505, SENATOBIA, MS, 38668-0505                        US Mail (1st Class)

 43354   BILLY HURT, 29 BARREN RIVER DAM RD, SCOTTSVILLE, KY, 42164-9255                              US Mail (1st Class)

 43354   BILLY MILBY, 3210 J E JONES RD, MAGNOLIA, KY, 42757-8108                                     US Mail (1st Class)

 43354   BILLY NEAT, 705 B NEAT RD, COLUMBIA, KY, 42728-8500                                          US Mail (1st Class)

 43354   BILLY WAYNE PRICE, 1391 SUMMERSVILLE RD, GREENSBURG, KY, 42743-8949                          US Mail (1st Class)

 43354   BLEDSOE, CAROLYN, 1131 WEED SPARKSVILLE RD, COLUMBIA, KY, 42728                              US Mail (1st Class)

 43354   BLUE GRASS SOUTH LIVESTOCK MARKET, LLC, PO BOX 438, 277 CORDIER LANE, STANFORD, KY, 40484-   US Mail (1st Class)
         7551
 43354   BLUE GRASS SOUTH LIVESTOCK MARKET, LLC, PO BOX 438, STANFORD, KY, 40484-0438                 US Mail (1st Class)

 43354   BLUE GRASS STOCKYARDS CO., INC., PO BOX 1023, LEXINGTON, KY, 40588-1023                      US Mail (1st Class)

 43354   BLUE GRASS STOCKYARDS OF RICHMOND, LLC, 348 K STREET, RICHMOND, KY, 40475-1722               US Mail (1st Class)

 43354   BLUEGRASS MAYSVILLE STOCKYARD, LLC, 7124 AA HIGHWAY EAST, MAYSVILLE, KY, 41056-8448          US Mail (1st Class)

 43354   BLUEGRASS MAYSVILLE STOCKYARD, LLC, 7124 AA HWY EAST, MAYSVILLE, KY, 41056-8448              US Mail (1st Class)

 43354   BLUEGRASS STOCKYARDS EAST, LLC, PO BOX 765, MT. STERLING, KY, 40353-0765                     US Mail (1st Class)

 43354   BLUEGRASS STOCKYARDS INTERNET, PO BOX 1023, LEXINGTON, KY, 40588-1023                        US Mail (1st Class)

 43354   BLUEGRASS STOCKYARDS INTERNET, C/O BLUEGRASS STOCKYARDS, PO BOX 1023, LEXINGTON, KY,         US Mail (1st Class)
         40588-1023
 43354   BLUEGRASS STOCKYARDS OF CAMPBELLSVILLE,, PO BOX 509, CAMPBELLSVILLE, KY, 42719-0509          US Mail (1st Class)

 43354   BLUEGRASS STOCKYARDS OF RICHMOND, LLC, 340 K STREET, RICHMOND, KY, 40475-1722                US Mail (1st Class)

 43354   BLUEGRASS STOCKYARDS, LLC, PO BOX 1623, LEXINGTON, KY, 40588-1623                            US Mail (1st Class)

 43354   BOB EVERETT, BOX 1887, WOODWARD, OK, 73802-1887                                              US Mail (1st Class)

 43354   BOB LANGE, PO BOX 331, ORD, NE, 68862-0331                                                   US Mail (1st Class)

 43354   BOB SAWYERS, RT 4, ALBANY, KY, 42602                                                         US Mail (1st Class)

 43354   BOB SAWYERS, 616 WILLIS CREEK RD, ALBANY, KY, 42602-8214                                     US Mail (1st Class)

 43354   BOB STINNETT, 300 CHARLIE HICKEY RD, SPARTA, TN, 38583-2728                                  US Mail (1st Class)

 43354   BOB`S AUTO SUPPLY, PO BOX 419, EDMONTON, KY, 42129-0419                                      US Mail (1st Class)

 43354   BOBBY BYNUM, PO BOX 43, RANKIN, TX, 79778-0043                                               US Mail (1st Class)

 43354   BOBBY FARMER, PO BOX 77, WARRENSVILLE, NC, 28693-0067                                        US Mail (1st Class)

 43354   BOBBY GROCE, 1567 OIL CITY RD, GLASGOW, KY, 42141-1181                                       US Mail (1st Class)

 43354   BOBBY L STINNETT, 62 TATESVILLE RD, PALMER, TN, 37365-2502                                   US Mail (1st Class)

 43354   BOBBY LEWIS, HC 65, BOX 101A, OVERBROOK, OK, 73453                                           US Mail (1st Class)

 43354   BOBBY MARTIN, 3160 N JACKSON HWY, CANMER, KY, 42722-9437                                     US Mail (1st Class)

 43354   BOBBY NEWMAN, PO BOX 1002, BIXBY, OK, 74008-1002                                             US Mail (1st Class)

 43354   BOBBY SMITH, 1105 GRADY ROAD, MUNFORDVILLE, KY, 42765-9264                                   US Mail (1st Class)

 43354   BOMHAK TRUCKING, 5704 NORTH SHEPHARD, EL RENO, OK, 73036-9027                                US Mail (1st Class)



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 43354   BOVINE MEDICAL ASSOC ,LLC, DAWN BUSH, 1500 SOPER ROAD, CARLISLE, KY, 40311-8083               US Mail (1st Class)

 43354   BOVINE MEDICAL ASSOCIATES, 1500 SOPER RD, CARLISLE, KY, 40311-8083                            US Mail (1st Class)

 43354   BOYD COPAS, 2195 E PHILLIPPI CHURCH RD, TOMPKINSVILLE, KY, 42167-9478                         US Mail (1st Class)

 43354   BOYD COPAS, 2195 E PHILLIPI CHURCH RD, TOMPKINSVILLE, KY, 42167-9478                          US Mail (1st Class)

 43354   BPT LIVESTOCK, BRYAN PRUITT, 100 OLD CARPENTER LANE, HARRISON, AR, 72601-6465                 US Mail (1st Class)

 43354   BRACK BRISCOE, 2069 SOUTH MERIDIAN RD, MITCHELL, IN, 47446-5994                               US Mail (1st Class)

 43354   BRAD DAUGHTEY, 2154 E COUNTY RD 200 N, PAOLI, IN, 47454-9048                                  US Mail (1st Class)

 43354   BRAD FLOOD, 910 W MAIN ST., CLOVERPORT, KY, 40111-1423                                        US Mail (1st Class)

 43354   BRAD HAGAN, 9305 HWY 54, WHITESVILLE, KY, 42378-9503                                          US Mail (1st Class)

 43354   BRADBURY & YORK CATTLE, PO BOX 588, TATUM, TX, 75691-0588                                     US Mail (1st Class)

 43354   BRADFORD, MARION, 197 HIDDEN LAKE RD, HENDERSONVILLE, TN, 37075-5528                          US Mail (1st Class)

 43354   BRADFORD, MARION, 197 HIDDEN LAKE RD, HENDERSONVILLE, TN, 37075                               US Mail (1st Class)

 43354   BRADLEY RUMMEL, 8860 W FARM ROAD 112, WILLARD, MO, 65781-9377                                 US Mail (1st Class)

 43354   BRAGG, LARRY, 305 BRADSHAW RD, AUSTIN, KY, 42123-9713                                         US Mail (1st Class)

 43354   BRANDON FUNKHOUSER, 1401 S BROADWAY, HOBART, OK, 73651-1843                                   US Mail (1st Class)

 43354   BRANDON ZEISLER, 30155 354TH, SAINT CHARLES, SD, 57571-5207                                   US Mail (1st Class)

 43354   BRANTLEY SECURITY SERVICES, 2929 S FLOYD STREET, LOUISVILLE, KY, 40209-1823                   US Mail (1st Class)

 43354   BREEDING BROS, 9440 COLUMBIA HWY, GREENSBURG, KY, 42743-9130                                  US Mail (1st Class)

 43354   BREEDING BROTHERS, ATTN: WADE BREEDING, 9440 COLUMBIA HWY, GREENSBURG, KY, 42743-9130         US Mail (1st Class)

 43354   BRENDA GAYLE HUNT, 1419 AKERSVILLE RD, FOUNTAIN RUN, KY, 42133-7913                           US Mail (1st Class)

 43354   BRENDA HUNT, 1419 AKERSVILLE RD, FOUNTAIN RUN, KY, 42133-7913                                 US Mail (1st Class)

 43354   BRENT KEITH, 505 MARLOWE CAMPBELL RD, COLUMBIA, KY, 42728-5106                                US Mail (1st Class)

 43354   BRENT KEITH, 505 MARLO-CAMPBELL ROAD, COLUMBIA, KY, 42728-5106                                US Mail (1st Class)

 43354   BRENT POLLET, PO BOX 132, OAKS, OK, 74359-0132                                                US Mail (1st Class)

 43354   BRIAN BEAN, 3177 CELINA RD, BURKESVILLE, KY, 42717                                            US Mail (1st Class)

 43354   BRIAN JOHNSON, ROUTE 1, BOX 28A, GOTEBO, OK, 73041-9742                                       US Mail (1st Class)

 43354   BRIAN LOVELL, 8394 TANDY LN, LANESVILLE, IN, 47136-8722                                       US Mail (1st Class)

 43354   BRIAN ROBERTSON, 3523 EDMONTON RD, COLUMBIA, KY, 42728-9414                                   US Mail (1st Class)

 43354   BRIAN SCOTT, 4220 AETNA GROVE CHURCH RD, SUMMERSVILLE, KY, 42782                              US Mail (1st Class)

 43354   BRIAN SCOTT, 4163 AETNA GROVE CHURCH RD, SUMMERSVILLE, KY, 42782-9099                         US Mail (1st Class)

 43354   BRIAN WITT, PO BOX 57, FALLS CITY, NE, 68355-0057                                             US Mail (1st Class)

 43354   BRIGGS FEED YARD, 3044 ALVO ROAD, SEWARD, NE, 68434-7526                                      US Mail (1st Class)

 43354   BRILYN GARRETT, 4567 RANDOLPH GOODLUCK RD, SUMMER SHADE, KY, 42166-9004                       US Mail (1st Class)

 43354   BROOK PORT CATTLE CO., 3042 LAKEVIEW DR, METROPOLIS, IL, 62960-3119                           US Mail (1st Class)

 43354   BROUGHTON CATTLE, INC., 577 LANARKSHIRE PLACE, LEXINGTON, KY, 40509-2294                      US Mail (1st Class)

 43354   BROWN TRUCKING, 2725 N 383, WETUMKE, OK, 74883-6244                                           US Mail (1st Class)

 43354   BROWN TRUCKING, RICHARD BROWN, 2725 N CR 383, WETUMKA, OK, 74883                              US Mail (1st Class)

 43354   BROWN, CHARLIE D, 4931 OLD BURKESVILLE RD, ALBANY, KY, 42602                                  US Mail (1st Class)

 43354   BROWN, JESSE R, 107 KARAKAL DR, GLASGOW, KY, 42141-3354                                       US Mail (1st Class)

 43354   BROWN, ROBERT, 325 FLAT LICK LN, HERNDON, KY, 42236                                           US Mail (1st Class)

 43354   BRYSTICE AMANGER WRIGHT, 198 DRY FORK RD, BRUSH CREEK, TN, 38547-2053                         US Mail (1st Class)

 43354   BRYSTICE WRIGHT, 198 DRY FORK RD, BRUSH CREEK, TN, 38547-2053                                 US Mail (1st Class)

 43354   BUCKHANNON STOCKYARDS, INC., PO BOX 46, BUCKHANNON, WV, 26201-0046                            US Mail (1st Class)

 43354   BUD HEINE, 412 STERLING STREET, VERMILLION, SD, 57069-3400                                    US Mail (1st Class)

 43354   BUDDY HEAD, 1830 SAFARI CAMP ROAD, LEBANON, TN, 37090-1024                                    US Mail (1st Class)

 43354   BUETOW LEMASTUS & DICK PLLC, TERRY L STAPP, 1510 PNC PLAZA, LOUISVILLE, KY, 40202             US Mail (1st Class)

 43354   BUETOW LEMASTUS & DICK, PLLC, ATTN: TERRY L STAPP, 1510 CIT. PLAZA, 500 W JEFF, LOUISVILLE,   US Mail (1st Class)
         KY, 40202
 43354   BUETOW, LEMASTUS & DICK PLLC, TERRY L STAPP, 1510 PNC PLAZA, LOUISVILLE, KY, 40202-2855       US Mail (1st Class)

 43354   BUFFALO LIVESTOCK AUCTION, 44 TW RD PO BOX 427, BUFFALO, WY, 82834-0427                       US Mail (1st Class)

 43354   BUFFALO LIVESTOCK AUCTION, LLC, BOX 427, BUFFALO, WY, 82834-0427                              US Mail (1st Class)


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 43354   BUNCH, HALEE, HARLAN E JUDD III, MCCRACKEN & JUDD PLLC, PO BOX 27, BOWLING GREEN, KY, 42102   US Mail (1st Class)

 43354   BURFORD, JAY, 108 GLENOAKS CT, MCDONOUGH, GA, 30223                                           US Mail (1st Class)

 43354   BURKE LIVESTOCK AUCTION, 420 W 4TH ST., BURKE, SD, 57523-2002                                 US Mail (1st Class)

 43354   BURKMANN FEEDS, 319 NORTH MAIN, EDMONTON, KY, 42129-9303                                      US Mail (1st Class)

 43354   BUTCH GIBSON, 2431 BREEDING RD, EDMONTON, KY, 42129-8920                                      US Mail (1st Class)

 43354   BYNUM RANCH CO., PO BOX 104, STERLING CITY, TX, 76951-0104                                    US Mail (1st Class)

 43354   BYRON LANG INC, PO BOX 301, JACKSON, MO, 63755-0301                                           US Mail (1st Class)

 43354   C & C FARMS, 293 CHAPMAN RD, TOMPKINSVILLE, KY, 42167-9427                                    US Mail (1st Class)

 43354   C & H CATTLE, PO BOX 7, FOUNTAIN RUN, KY, 42133-0007                                          US Mail (1st Class)

 43354   C & M CATTLE, PO BOX 67, BOISE CITY, OK, 73933-0067                                           US Mail (1st Class)

 43354   C & M CATTLE, PO BOX 627, BOISE CITY, OK, 73933-0627                                          US Mail (1st Class)

 43354   C L F FEEDERS, 2123 WEST MILL STREET, BUFFALO, MO, 65622-6335                                 US Mail (1st Class)

 43354   C V FARM, 70 ROBERTS RD, WATERTOWN, TN, 37184-4422                                            US Mail (1st Class)

 43354   C W HAINES, 1925 LOREN COLLINS RD, GLENS FORK, KY, 42741-7820                                 US Mail (1st Class)

 43354   C&C FARMS, C/O TEDDY & TOBY CHAPMAN, 293 CHAPMAN RD, TOMPKINSVILLE, KY, 42167-9427            US Mail (1st Class)

 43354   C&R CATTLE CO, CHARLIE ROBINSON, 191 CARSON STREET, PONTOTOC, MS, 38863-3520                  US Mail (1st Class)

 43354   C4 CATTLE/SCOTT DEAN, 1388 ERIN DRIVE, CHESTER, SC, 29706-7732                                US Mail (1st Class)

 43354   CACTUS FEEDERS, INC., PO BOX 3050, AMARILLO, TX, 79116-3050                                   US Mail (1st Class)

 43354   CACTUS FEEDYARD (BIG CABIN, OK), 2209 WEST 7TH STREET, AMARILLO, TX, 79106-6769               US Mail (1st Class)

 43354   CACTUS FEEDYARD (HAPPY, TX), 2210 WEST 7TH STREET, AMARILLO, TX, 79117                        US Mail (1st Class)

 43354   CACTUS FEEDYARD (STRINGTON, OK), 2211 WEST 7TH STREET, AMARILLO, TX, 79106                    US Mail (1st Class)

 43354   CAMBRIDGE TRANSPORTATION, 36392 TREASURY CENTER, CHICAGO, IL, 60694-6300                      US Mail (1st Class)

 43354   CAMEN MARTIN, 3160 N JACKSON HWY, CANMER, KY, 42722-9437                                      US Mail (1st Class)

 43354   CAPITOL INDEMNITY CORPORATION, PO BOX 5900, MADISON, WI, 53705-0900                           US Mail (1st Class)

 43354   CARL JEFFRIES, 471 HUBBARD HARRIS RD, EDMONTON, KY, 42129-6437                                US Mail (1st Class)

 43354   CAROL T WALDEN, 1341 KINO RD, GLASGOW, KY, 42141-9442                                         US Mail (1st Class)

 43354   CAROL WALDEN, 1341 KINO RD, GLASGOW, KY, 42141-9442                                           US Mail (1st Class)

 43354   CAROLYN BLEDSOE, 1131 WEED SPARKSVILLE RD, COLUMBIA, KY, 42728-8155                           US Mail (1st Class)

 43354   CAROLYN THOMPSON, 1300 RITCHIE LANE, BARDSTOWN, KY, 40004-9534                                US Mail (1st Class)

 43354   CARROLL CO L/S SALE BARN, INC., PO BOX 279, CARROLLTON, GA, 30112-0005                        US Mail (1st Class)

 43354   CARUSCO TRUCKING LLC, PO BOX 671, RICHFIELD, UT, 84701-0671                                   US Mail (1st Class)

 43354   CATHY S PIKE, WEBER & ROSE, P S C, 471 W MAIN STREET, SUITE 400, LOUISVILLE, KY, 40202-4221   US Mail (1st Class)

 43354   CATTLCO, PO BOX 488, FT MORGAN, CO, 80701-0488                                                US Mail (1st Class)

 43354   CATTLCO, LLC, C/O NOLAN M JOHNSON, ESQ, BASS, BERRY & SIMS PLC, 100 PEABODY PLACE, SUITE      US Mail (1st Class)
         900, MEMPHIS, TN, 38103-3653
 43354   CATTLE COUNTRY VIDEO, PO BOX 399, TORRINGTON, WY, 82240-0399                                  US Mail (1st Class)

 43354   CATTLEMAN`S LIVESTOCK, PO BOX 26, LAKELAND, FL, 33802-0026                                    US Mail (1st Class)

 43354   CATTLEMAN`S LIVESTOCK AUCTION, PO BOX 26, LAKELAND, FL, 33802-0026                            US Mail (1st Class)

 43354   CENTER POINT ANIMAL HOSPITAL, 2360 HWY 26 WEST, NASHVILLE, AR, 71852                          US Mail (1st Class)

 43354   CENTRAL PRINTING CO., INC., 2418 WEST MAIN ST, LOUISVILLE, KY, 40212-1529                     US Mail (1st Class)

 43354   CENTURYLINK, (D)KENNY PLOWMAN, PO BOX 1319, CHARLOTTE, NC, 28201-1319                         US Mail (1st Class)

 43354   CENTURYLINK, KENNY PLOWMAN, PO BOX 1319, CHARLOTTE, NC, 28201-1319                            US Mail (1st Class)

 43354   C-H CATTLE CO, CHIPPER HICKS, 1357 HIGHWAY 6 E, OXFORD, MS, 38655-9280                        US Mail (1st Class)

 43354   CHAD BAKER, 11755 NORTH TOBACCO LANDING, LACONIA, IN, 47135-9049                              US Mail (1st Class)

 43354   CHAD DANIEL WITHROW, 2100 BISHOP RD, GLASGOW, KY, 42141-9610                                  US Mail (1st Class)

 43354   CHAD HOUCK, 409 COUNTY RD 6, BLACK, AL, 36314-5307                                            US Mail (1st Class)

 43354   CHAD SCHUCHMANN, 1912 WINGED FOOT DRIVE, NIXA, MO, 65714-9466                                 US Mail (1st Class)

 43354   CHAD WHITHROW, 2100 BISHOP RD, GLASGOW, KY, 42141-9610                                        US Mail (1st Class)

 43354   CHAMP COLLEY, 2002 LAW 2120, SARCOXIE, MO, 64862-8226                                         US Mail (1st Class)

 43354   CHANDLER BURTON, 4088 BLACKBURN HOLLOW RD, PULASKI, TN, 38478-5858                            US Mail (1st Class)

 43354   CHARLES DOUGLAS COPHER, 1280 PEASTICK ROAD, OWINGSVILLE, KY, 40360-8848                       US Mail (1st Class)


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 43354   CHARLES GRAHAM, PO BOX 775, GATESVILLE, TX, 76528-0775                                        US Mail (1st Class)

 43354   CHARLES GRAHAM FARMS, PO BOX 775, GATESVILLE, TX, 76528-0775                                  US Mail (1st Class)

 43354   CHARLES LEON ISENBERG, 4942 EDMONTON RD, TOMPKINSVILLE, KY, 42167-9411                        US Mail (1st Class)

 43354   CHARLES M RUSH, 5335 TOMPKINSVILLE RD, SUMMER SHADE, KY, 42166-9724                           US Mail (1st Class)

 43354   CHARLES RUSH, 5335 TOMPKINSVILLE RD, SUMMER SHADE, KY, 42166-9724                             US Mail (1st Class)

 43354   CHARLES W HAINES JR, 1925 LOREN COLLINS RD, GLEN FORK, KY, 42741-7820                         US Mail (1st Class)

 43354   CHARLES WATKINS, 108 LECTA CORAL HILL RD, GLASGOW, KY, 42141                                  US Mail (1st Class)

 43354   CHARLIE BROWN, 4931 OLD BURKESVILLE RD, ALBANY, KY, 42602                                     US Mail (1st Class)

 43354   CHARLIE DEE BROWN, 4931 OLD BURKESVILLE RD, ALBANY, KY, 42602                                 US Mail (1st Class)

 43354   CHARLIE FISHER, 448 LAMBERT RD, SCOTTSVILLE, KY, 42164-6203                                   US Mail (1st Class)

 43354   CHARLIE T FISHER, 448 LAMBERT RD, SCOTTSVILLE, KY, 42164-6203                                 US Mail (1st Class)

 43354   CHASE STAPLETON, 200 SILVER MAPLE COURT, VERSAILLES, KY, 40383-9774                           US Mail (1st Class)

 43354   CHASTAIN FEEDS, 3363 STATE HWY D, CRANE, MO, 65633-8046                                       US Mail (1st Class)

 43354   CHESTER BAY, 31166 HWY 50 EAST, LA JUNTA, CO, 81050-9283                                      US Mail (1st Class)

 43354   CHIP MILLER TRUCKING, C/O CHIP LEE MILLER, PO BOX 126, ST. GEORGE, KS, 66535-0126             US Mail (1st Class)

 43354   CHIP MILLER TRUCKING INC, C/O CHIP LEE MILLER, PO BOX 126, ST GEORGE, KS, 66535-0126          US Mail (1st Class)

 43354   CHIP MILLER TRUCKING INC, PO BOX 126, ST. GEORGE, KS, 66535-0126                              US Mail (1st Class)

 43354   CHRIS BARTON, 1172 BRIDGE HOLLOW RD, SCOTTSVILLE, KY, 42164-9244                              US Mail (1st Class)

 43354   CHRIS BLANKENSHIP, 23594 LAWRENCE 1200, AURORA, MO, 65605-8256                                US Mail (1st Class)

 43354   CHRIS GREATHOUSE, 1801 GREATHOUS ROAD, NEW HARMONY, IN, 47631-9630                            US Mail (1st Class)

 43354   CHRIS MARTIN, 251 POND ROAD, CANMER, KY, 42722-9446                                           US Mail (1st Class)

 43354   CHRISTIE FAMILY ENTERPRISES IN, 5161 EAGLE FEATHER RD, DELTA, CO, 81416-8402                  US Mail (1st Class)

 43354   CHRISTIE FAMILY ENTERPRISES INC, LINCOLN & AMBER CHRISTIE, 5161 EAGLE FEATHER RD, DELTA,      US Mail (1st Class)
         CO, 81416
 43354   CHRISTINE FAMILY ENTERPRISES, INC., LINCOLN AND AMBER CRHISTIE, 5161 EAGLE FEATHER RD,        US Mail (1st Class)
         DELTA, CO, 81416-8402
 43354   CHUCK ROBINSON, 5255 VETERANS HWY W, PONTOTOC, MS, 38863-5065                                 US Mail (1st Class)

 43354   CIRCLE 3 FEEDYARD, BOX 830, HEREFORD, TX, 79045-0830                                          US Mail (1st Class)

 43354   CITIZENS BANK OF CLOVIS, BOBBY LEWIS, HC 65, BOX 101A, OVERBROOK, OK, 73453                   US Mail (1st Class)

 43354   CITT CUMBERLAND, CITY OF EDMONTON, PO BOX 374, EDMONTON, KY, 42129-0374                       US Mail (1st Class)

 43354   CITY OF EDMONTON, PO BOX 374, EDMONTON, KY, 42129-0374                                        US Mail (1st Class)

 43354   CLARENCE B GILBERT, 4374 BLOOMFIELD RD, TAYLORSVILLE, KY, 40071-9060                          US Mail (1st Class)

 43354   CLARK CHRISTENSEN, PO BOX 442, OKOLONA, MS, 38860-0442                                        US Mail (1st Class)

 43354   CLAUDE JONES, 6 CLAUDE JONES RD, EDMONTON, KY, 42129                                          US Mail (1st Class)

 43354   CLAY J CARTER, RT 2 BOX 215, WAURIKA, OK, 73573-9672                                          US Mail (1st Class)

 43354   CLAYWELL, EDDIE, HARLAN E JUDD III, PO BOX 27, BOWLING GREEN, KY, 42102                       US Mail (1st Class)

 43354   CLEM NELSON, 490A SOUTH ROAD I, JOHNSON, KS, 67855-8811                                       US Mail (1st Class)

 43354   CLERK OF THE SUPREME COURT, COURT OF APPEALS & TAX COURT, 200 W WASHINGTON ST., RM 216,       US Mail (1st Class)
         INDIANAPOLIS, IN, 46204-2795
 43354   CLEVENGER, PHIL, 10653 HWY 127, SWEET SPRINGS, MO, 65351-2115                                 US Mail (1st Class)

 43354   CLINE WOOD AGENCY, INC., PO BOX 415035, KANSAS CITY, MO, 64141-5035                           US Mail (1st Class)

 43354   CLINTON ALTON DARNELL, 480 BLEVINS HOLLOW RD, PINEY CREEK, NC, 28663-9020                     US Mail (1st Class)

 43354   CLOONEN TRUCKING CO., 5881 WEST RT 115, KANKAKEE, IL, 60901-7196                              US Mail (1st Class)

 43354   CLOYD, MARCIA, 2078 WHITNEY WOODS RD, CAVE CITY, KY, 42127-9332                               US Mail (1st Class)

 43354   CLYDE HALL, 1266 COUNTY ROAD, NEW ALBANY, IN, 47150                                           US Mail (1st Class)

 43354   COFFEY, JEREMY ADAM, 6205 GREENSBURG RD, COLUMBIA, KY, 42728                                  US Mail (1st Class)

 43354   COFFEYVILLE LIVESTOCK MARKET LLC, C/O WILLIAM E SMITH III, KIGHTLINGER & GRAY LLP, BONTERRA   US Mail (1st Class)
         BUILDING, STE 200, 3620 BLACKISTON BLVD, NEW ALBANY, IN, 47150
 43354   COFFEYVILLE LIVESTOCK MARKET LLC, PO BOX 1074, COFFEYVILLE, KS, 67337-2074                    US Mail (1st Class)

 43354   COFFEYVILLE LIVESTOCK MARKET, LLC, C/O WILLIAM E SMITH, III, KIGHTLINGER & GRAY, LLP,         US Mail (1st Class)
         BONTERRA BUILDING, SUITE 200, 3620 BLACKISTON BLVD, NEW ALBANY, IN, 47150-8538
 43354   COFFEYVILLE LIVESTOCK MKT, LLC, PO BOX 1074, COFFEYVILLE, KS, 67337-2074                      US Mail (1st Class)



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 43354   COLE BROTHERS TRUCKING, PO BOX 209, CONNERVILLE, OK, 74836-0209                              US Mail (1st Class)

 43354   COLLEY FARMS, 2002 LAWRENCE 2120, SARCOXIE, MO, 64862-8226                                   US Mail (1st Class)

 43354   COLTON DOWNEY, C/O BOBBY DOWNEY, PO BOX 88, COLUMBIA, KY, 42728-0088                         US Mail (1st Class)

 43354   COLUMBIA GAS COMPANY, PO BOX 742523, CINCINNATI, OH, 45274-2523                              US Mail (1st Class)

 43354   COLUMBIA GAS COMPANY OF KENTUCKY, 200 CIVIC CENTER DR , 11TH FLOOR, COLUMBUS, OH, 43215-     US Mail (1st Class)
         4138
 43354   COLUMBIA GAS OF KENTUCKY, 200 CIVIC CENTER DR, 11TH FL, COLUMBUS, OH, 43215                  US Mail (1st Class)

 43354   COLUMBIA LIVESTOCK MARKET, PO BOX 354, LAKE CITY, FL, 32056-0354                             US Mail (1st Class)

 43354   COMMONWEALTH OF KENTUCKY, REVENUE CABINET, PO BOX 491, FRANKFORT, KY, 40602-0491             US Mail (1st Class)

 43354   COMPANION LIFE INSURANCE CO., 7909 PARKLANE ROAD, SUITE 200, COLUMBIA, SC, 29223-5666        US Mail (1st Class)

 43354   COOK TRUCKING INC, BRYAN, RRT BOX225-C, STROUD, OK, 74079                                    US Mail (1st Class)

 43354   COOPER CHRISTENSON, PO BOX 442, OKOLONA, MS, 38860-0442                                      US Mail (1st Class)

 43354   COOPER, KEETON, 1397 UPPER HILHAM RD, LIVINGSTON, TN, 38570                                  US Mail (1st Class)

 43354   COPAS, BOYD, 2195 E PHILLIPPI CHURCH RD, TOMPKINSVILLE, KY, 42167-9478                       US Mail (1st Class)

 43354   COPELAND, HOMER, 295 COPELAND LN, CELINA, TN, 38551                                          US Mail (1st Class)

 43354   CORCORAN TRUCKING, INC., 221 LOMOND LANE, BILLINGS, MT, 59101-7350                           US Mail (1st Class)

 43354   CORCORAN TRUCKING, INC., PO BOX 1472, BILLINGS, MT, 59103-1472                               US Mail (1st Class)

 43354   COTTONWOOD FEEDERS, PO BOX 249, STUART, NE, 68780-0249                                       US Mail (1st Class)

 43354   CPC FEED STORE, 721 W MAIN ST, GLASGOW, KY, 42141-1717                                       US Mail (1st Class)

 43354   CPC LIVESTOCK, 13196 HOLLAND ROAD, FOUNTAIN RUN, KY, 42133-9415                              US Mail (1st Class)

 43354   CPC LIVESTOCK, FARM CREDIT SERVICES, 13196 HOLLAND ROAD, FOUNTAIN RUN, KY, 42133-9415        US Mail (1st Class)

 43354   CPD, 9016 TAYLORVILLE RD, BOX 216, LOUISVILLE, KY, 40299-1750                                US Mail (1st Class)

 43354   CRAIG BURNS TRUCKING, PO BOX 1265, FOSTVILLE, IA, 52162-1265                                 US Mail (1st Class)

 43354   CRAIG CATTLE LLC, 255 CO RD 21, CRAIG, NE, 68019-5059                                        US Mail (1st Class)

 43354   CRAVENS, RITA, 1525 DOGWALK RD, ALPINE, TN, 38543-6140                                       US Mail (1st Class)

 43354   CRAVENS, RITA, 1525 DOGWALK RD, ALPINE, TN, 38543                                            US Mail (1st Class)

 43354   CROOKED OAK SERVICES (CLINTON CROWLEY), 19515 CROOKED OAKS RD, ST. ONGE, SD, 57779-7901      US Mail (1st Class)

 43354   CROOKED OAK SERVICES, QUINTIN CROWLEY, 19515 CROOKED OAKS GROVE, ST. ONGE, SD, 57779-        US Mail (1st Class)
         7901
 43354   CROSSED J CATTLE, PO BOX 729, BARTLESVILLE, OK, 74005-0729                                   US Mail (1st Class)

 43354   CROWE & DUNLEVY, JOHN M THOMPSON, 20 NORTH BORADWAY, SUITE 1800, OKLAHOMA CITY, OK,          US Mail (1st Class)
         73102-8273
 43354   CROWE & DUNLEVY, JUDY HAMILTON MORSE, 20 NORTH BROADWAY SIOTE 1800, OKLAHOMA CITY, OK,       US Mail (1st Class)
         73102
 43354   CROWLEY FLECK PLLP, ELI J PATTEN, PO BOX 2529, BILLINGS, MT, 59103-2529                      US Mail (1st Class)

 43354   CRUMPLER BROTHERS, 4925 FRIBERG CHURCH RD, WICHITA FALLS, TX, 76305-7335                     US Mail (1st Class)

 43354   CRUMPLER BROTHERS, 4925 FRIEBERG CHURCH RD, WICHITA FALLS, TX, 76305-7335                    US Mail (1st Class)

 43354   CRYSTAL`S LIVESTOCK EXPRESS, DAVE CRYSTAL, 692 E 600 AVE, PITTSBURG, KS, 66762-8517          US Mail (1st Class)

 43354   CULLEOKA STOCKYARDS, 4460 PULASKI HIGHWAY, CULLEOKA, TN, 38451-2025                          US Mail (1st Class)

 43354   CULLMAN STOCKYARD, 75 COUNTY ROAD 1339, CULLMAN, AL, 35058-0428                              US Mail (1st Class)

 43354   CURT JONES, 4820 220TH AVE, SIOUX RAPIDS, IA, 50585                                          US Mail (1st Class)

 43354   CUSTOM FEED MILL, INC., 630 N HUGHES ST, MORGANFIELD, KY, 42437-1116                         US Mail (1st Class)

 43354   CV FARMS, C/O PAUL GEORGE, 70 ROBERTS RD, WATERTOWN, TN, 37184-4422                          US Mail (1st Class)

 43354   D & B CATTLE COMPANY, C/O BILL MOLER, 100 BONITA ST., ELK CITY, OK, 73644-3716               US Mail (1st Class)

 43354   D & B CATTLE COMPANY, BILL MOLER, 100 BONITA ST., ELK CITY, OK, 73644-3716                   US Mail (1st Class)

 43354   D B FEEDYARD, 2370 COUNTY RD D, TEKAMAH, NE, 68061-5043                                      US Mail (1st Class)

 43354   D S JOHNSON FARMS, 1420 MILL CREEK RD, TOMPKINSVILLE, KY, 42167                              US Mail (1st Class)

 43354   D&R FARMS, PO BOX 1005, TERRY, MS, 39170-1005                                                US Mail (1st Class)

 43354   D&R TRUCKING, INC, PO BOX 267, ANTHON, IA, 51004-0267                                        US Mail (1st Class)

 43354   DALE & EKE, P C, MEREDITH R THOMAS, 9100 KEYSTONE CROSSING, SUITE 400, INDIANAPOLIS, IN,     US Mail (1st Class)
         46240-2100
 43354   DALE & EKE, DEBORAH CARUSO, 9100 KEYSTONE XING STE 400, INDIANAPOLIS, IN, 46240-2100         US Mail (1st Class)



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 43354   DALE BOHANNON, ATTORNEY, 115 SOUTH DIXIE AVENUE, COOKEVILLE, TN, 38501                       US Mail (1st Class)

 43354   DALE BOHANNON, (RE: WARREN, BILL), ATTORNEY, 115 SOUTH DIXIE AVENUE, COOKEVILLE, TN, 38501   US Mail (1st Class)

 43354   DALE PAGE, 9525 EDMONTON RD, SUMMER SHADE, KY, 42166                                         US Mail (1st Class)

 43354   DALE STULL TRUCKING, PO BOX 41, NARA VISA, NM, 88430-0041                                    US Mail (1st Class)

 43354   DALE STULL TRUCKING, BOX 41, NARA VISA, NM, 88430-0041                                       US Mail (1st Class)

 43354   DALLAS MCPHAIL, RT 1, BOX 106, MT. PARK, OK, 73559                                           US Mail (1st Class)

 43354   DALTON BRAGG, 869 SOCIETY HILL RD, EDMONTON, KY, 42129-7813                                  US Mail (1st Class)

 43354   DALTON W BRAGG, 869 SOCIETY HILL RD, EDMONTON, KY, 42129-7813                                US Mail (1st Class)

 43354   DAN BYRD, PO BOX 2057, OKEECHOBEE, FL, 34973-2057                                            US Mail (1st Class)

 43354   DAN WERNE, 12031 EAST COUNTY RD 200N, FERDINAND, IN, 47532-7650                              US Mail (1st Class)

 43354   DANIEL G FULKERSON, 237 DEKOVEN RD, STURGIS, KY, 42459-8256                                  US Mail (1st Class)

 43354   DANIEL HARMON, 4295 N BURGESS CIRCLE ROAD, DEPAUW, IN, 47115-8838                            US Mail (1st Class)

 43354   DANNY BILLINGSLEY, 197 BARBOUR CEMETERY RD, GLASGOW, KY, 42141-8851                          US Mail (1st Class)

 43354   DANNY CLIFTON BILLINGSLEY, 197 BARBOUR CEMETARY RD, GLASGOW, KY, 42141-8851                  US Mail (1st Class)

 43354   DANNY MILLER, 1690 SAFARI CAMP ROAD, LEBANON, TN, 37090                                      US Mail (1st Class)

 43354   DANTE ZAGO, 8201 COUCHVILLE PK., MT. JULIET, TN, 37122-7611                                  US Mail (1st Class)

 43354   DANTE ZAGO & FARM CREDIT, 3461 UNDERWOOD ROAD, MOUNT JULIET, TN, 37122-4724                  US Mail (1st Class)

 43354   DARBY MONTGOMERY, 36 THOMPSON ROAD, LANCASTER, KY, 40444-8138                                US Mail (1st Class)

 43354   DARRELL BEAUCHAMP, 13410 HARDIN SPRINGS, EAST VIEW, KY, 42732                                US Mail (1st Class)

 43354   DARRELL BLACKMAN, 3200 SCHAFFER LANE, ELIZABETH, IN, 47117-7812                              US Mail (1st Class)

 43354   DARRELL LYNN WOOD, 845 CAPTAIN REDFORD RD, CAVE CITY, KY, 42127-9301                         US Mail (1st Class)

 43354   DARRELL WOOD, 845 CAP REDFORD RD, CAVE CITY, KY, 42127-9301                                  US Mail (1st Class)

 43354   DARREN BAKER, RT 1 BOX 20B, MT. PARK, OK, 73559                                              US Mail (1st Class)

 43354   DATA COPY INC, 3508 HILLCREEK ROAD, LOUISVILLE, KY, 40220-2711                               US Mail (1st Class)

 43354   DAVE DUFOUR, 405 S SHERRIN AVE, LOUISVILLE, KY, 40207-3817                                   US Mail (1st Class)

 43354   DAVE LEWIS TRUCKING LLC, 4133 LANE 67, FOWLER, CO, 81039-9635                                US Mail (1st Class)

 43354   DAVE RINGS, 6170 S W HWY 76, RUSSELL SPRINGS, KY, 42642                                      US Mail (1st Class)

 43354   DAVE WINGO, 4231 NORTH 371 RD, HOLDENVILLE, OK, 74848-9449                                   US Mail (1st Class)

 43354   DAVID BOWLES, DBA AMOS DEVELOPMENT LLC, 1401 PIGEON FORK RD, LAWRENCEBURG, KY, 40342         US Mail (1st Class)

 43354   DAVID BOWLES DBA AMOS DEVELOPMENT LLC, 1401 PIGEON FORK RD, LAWRENCEBURG, KY, 40342-         US Mail (1st Class)
         9488
 43354   DAVID CASSADY, 1497 PLEASANT VALLEY CH, HORSE CAVE, KY, 42749-8608                           US Mail (1st Class)

 43354   DAVID E READ, 583 LOVE KNOB RD, GLASGOW, KY, 42141-9521                                      US Mail (1st Class)

 43354   DAVID GORDON, 1758 OLD TEMPLE HILL RD, TOMPKINSVILLE, KY, 42167-8545                         US Mail (1st Class)

 43354   DAVID HILBERT, ROUTE 3, BOX 280, WALTERS, OK, 73572-9577                                     US Mail (1st Class)

 43354   DAVID HOLLEY, 377 BLUE SPRINGS RD, KNOB LICK, KY, 42154                                      US Mail (1st Class)

 43354   DAVID L ABT, 210 N MAIN ST, PO BOX 128, WESTBY, WI, 54667-0128                               US Mail (1st Class)

 43354   DAVID L RINGS, 1288 FRONTAGE RD, RUSSELL SPRINGS, KY, 42642-7871                             US Mail (1st Class)

 43354   DAVID LYNN CASSADY, 1497 PLEASANT VALLEY CHURCH RD, HORSE CAVE, KY, 42749-8608               US Mail (1st Class)

 43354   DAVID MARRS GORDON, 1758 OLD TEMPLE HILL ROAD, TOMPKINSVILLE, KY, 42167-8545                 US Mail (1st Class)

 43354   DAVID MICHAEL BURGESS, 360 CHEROKEE RD, LUCAS, KY, 42156-9353                                US Mail (1st Class)

 43354   DAVID READ, 583 LOVE KNOB ROAD, GLASGOW, KY, 42141-9521                                      US Mail (1st Class)

 43354   DAVID RINGS, 1288 FRONTAGE ROAD, RUSSELL SPRINGS, KY, 42642-7871                             US Mail (1st Class)

 43354   DAVIS MEATS, HIGHWAY 50 W, WEST POINT, MS, 39773                                             US Mail (1st Class)

 43354   DAVIS QUARTER HORSE, 7726 W FM 2335, CHRISTOVAL, TX, 76935-3308                              US Mail (1st Class)

 43354   DE CORDOVA CATTLE CO., PO BOX 517, GROESBECK, TX, 76642-0517                                 US Mail (1st Class)

 43354   DEAN HAYES, 4501 BURKESVILLE ROAD, COLUMBIA, KY, 42728-8532                                  US Mail (1st Class)

 43354   DEBORAH CARNATHAN, 3380 HWY 8 EAST, HOUSTON, MS, 38851-7757                                  US Mail (1st Class)

 43354   DEITZ & FREEBURGER, P S C, SANDRA D FREEBURGER, 101 FIRST ST., 2ND FL (42420), PO BOX 21,    US Mail (1st Class)
         HENDERSON, KY, 42419-0021




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 43354   DELCOTTO LAW GROUP PLLC, LAURA DAY DELCOTTO, 200 NORTH UPPER STREET, LEXINGTON, KY,           US Mail (1st Class)
         40507-1017
 43354   DELCOTTO LAW GROUP PLLC, T KENT BARBER, 200 NORTH UPPER STREET, LEXINGTON, KY, 40507-1017     US Mail (1st Class)

 43354   DELPHIA ANN GARRETT, 4567 RANDOLPH-GOOD LUCK RD, SUMMER SHADE, KY, 42166-9004                 US Mail (1st Class)

 43354   DELPHIA GARRETT, 4567 RANDOLPH GOODLUCK RD, SUMMER SHADE, KY, 42166-9004                      US Mail (1st Class)

 43354   DENNIS NEAT, 6198 BURKESVILLE RD, COLUMBIA, KY, 42728-8529                                    US Mail (1st Class)

 43354   DENNIS RAY NEAT, 6098 BURKESVILLE RD, COLUMBIA, KY, 42728                                     US Mail (1st Class)

 43354   DENVER CAPPS, PO BOX 975, BURKESVILLE, KY, 42717-0975                                         US Mail (1st Class)

 43354   DENWALT & SON CATTLE CO., 10004 RENO W, EL RENO, OK, 73036-9728                               US Mail (1st Class)

 43354   DENWALT & SONS CATTLE CO. LLC, 10004 RENO W, EL RENO, OK, 73036-9728                          US Mail (1st Class)

 43354   DEVELOPMENT SPECIALISTS, INC., ELIZABETH M LYNCH, 6375 RIVERSIDE DRIVE, SUITE 200, DUBLIN,    US Mail (1st Class)
         OH, 43017-5045
 43354   DEVELOPMENT SPECIALISTS, INC., SUITE 2300, 70 W MADISON, CHICAGO, IL, 60602-4225              US Mail (1st Class)

 43354   DIAMOND 3, 546 DEBRA CT, VERSAILLES, KY, 40383-1070                                           US Mail (1st Class)

 43354   DICK AND JIM CARR, JAMES CARR, 2404 LEXINGTON RD, RICHMOND, KY, 40475-9136                    US Mail (1st Class)

 43354   DICK WALLACE, 8045 FM 182, GATESVILLE, TX, 76528-3433                                         US Mail (1st Class)

 43354   DICKE FEEDYARD, TRAVIS DICKE, 16963 415 ST, CRESTON, NE, 68631-4039                           US Mail (1st Class)

 43354   DICKSON LIVESTOCK CENTER, INC, PO BOX 591, DICKSON, TN, 37056-0591                            US Mail (1st Class)

 43354   DICKSON LIVESTOCK CENTER, INC., C/O TERRY LEMONS, PO BOX 591, DICKSON, TN, 37056-0591         US Mail (1st Class)

 43354   DIEDRICHSEN CATTLE COMPANY, 52271 BAKER RD, NELIGH, NE, 68756-5080                            US Mail (1st Class)

 43354   DINSMORE & SHOHL, 255 EAST FIFTH STREET, SUITE 1900, CINCINNATI, OH, 45202-1971               US Mail (1st Class)

 43354   DINSMORE & SHOHL LLP, JEREMY S ROGERS, 1400 PNC {;AZA, 500 WEST JEFFERSON STREET,             US Mail (1st Class)
         LOUISVILLE, KY, 40202-2823
 43354   DINSMORE & SHOHL LLP, KIM MARTIN LEWIS, 255 E FIFTH ST STE 1900, CINCINNATI, OH, 45202-1971   US Mail (1st Class)

 43354   DIRECTV, PO BOX 60036, LOS ANGELES, CA, 90060-0036                                            US Mail (1st Class)

 43354   DIRECTV, PO BOX 100746, PASADENA, CA, 91189-0746                                              US Mail (1st Class)

 43354   DISH NETWORK, PO BOX 105169, ATLANTA, GA, 30348-5169                                          US Mail (1st Class)

 43354   DIV OF CHILD SUPPORT ENFORCE, PO BOX 14059, LEXINGTON, KY, 40512-4059                         US Mail (1st Class)

 43354   DL WALKER, DARRELL WALKER, 498 LAKEVIEW ROAD, NEW TAZEWELL, TN, 37825-2613                    US Mail (1st Class)

 43354   DOGI LLC, 135 WEST MARKET ST., NEW ALBANY, IN, 47150-3561                                     US Mail (1st Class)

 43354   DOLLAR GENERAL STORE, 109 US HIGHWAY 41A N, PROVIDENCE, KY, 42450-2126                        US Mail (1st Class)

 43354   DOLLAR K CATTLE, PO BOX 125, ELMORE CITY, OK, 73433-0125                                      US Mail (1st Class)

 43354   DOLLAR K FEEDYARD, 29239 N CR 3150, PO BOX 125, ELMORE CITY, OK, 73433-0125                   US Mail (1st Class)

 43354   DOMINA LAW GROUP PC LLO, DAVID ALAN DOMINA, 2425 S 144TH, OMAHA, NE, 68144-3267               US Mail (1st Class)

 43354   DON GREEN, 9973 COUNTY RD 87, ROANOKE, AL, 36274-6951                                         US Mail (1st Class)

 43354   DON STALLBAUMER, 1832 UTAH ROAD, FRANKFORT, KS, 66427-8622                                    US Mail (1st Class)

 43354   DONALD ALEXANDER, 615 SAINT JOHN RD, LASCASSAS, TN, 37085-5161                                US Mail (1st Class)

 43354   DONALD HAWKS, 8829 FINNEY RD, GLASGOW, KY, 42141-7311                                         US Mail (1st Class)

 43354   DONALD R ALEXANDER, 16550 CAINSVILLE RD, LANCASSAS, TN, 37085-5129                            US Mail (1st Class)

 43354   DONALD R SYMPSON, 151 MURRAYS RUN RD, BARDSTOWN, KY, 40004-9761                               US Mail (1st Class)

 43354   DONALD RICHARD LYLE, 8627 NEW GLASGOW RD, SCOTTSVILLE, KY, 42164-6571                         US Mail (1st Class)

 43354   DONNA GOOD, 247 DELMONT AVE, LOUISVILLE, KY, 40206-1074                                       US Mail (1st Class)

 43354   DONNIE COOMER, 150 COOMER RD, EDMONTON, KY, 42129-9016                                        US Mail (1st Class)

 43354   DONNIE COOMER, 135 COOMER RD, EDMONTON, KY, 42129                                             US Mail (1st Class)

 43354   DONNIE SYMPSON, 151 MURRAY RUN RD, BARDSTOWN, KY, 40004-9761                                  US Mail (1st Class)

 43354   DONRINDA ANN MORRISON, DORRIS JEAN DEPP, PO BOX 43163, LOUISVILLE, KY, 40253-0163             US Mail (1st Class)

 43354   DORINDA MORRISON, 8035 FAIRPLAY RD, COLUMBIA, KY, 42728                                       US Mail (1st Class)

 43354   DORIS JEAN DEPP, PO BOX 43163, LOUISVILLE, KY, 40253-0163                                     US Mail (1st Class)

 43354   DOTHAN LIVESTOCK CO, 9711 HWY 231 SOUTH, DOTHAN, AL, 36301                                    US Mail (1st Class)

 43354   DOTHAN LIVESTOCK CO., P O DRAWER 6596, DOTHAN, AL, 36302-6596                                 US Mail (1st Class)

 43354   DOUBLE D LAND AND LIVESTOCK, PO BOX 929, SHELBYVILLE, TN, 37162-0929                          US Mail (1st Class)




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 43354   DOUBLE M TRANSPORTATION LLC, RIVER VALLEY EXPRESS, 643 DEON ST, BURLEY, ID, 83318-3318        US Mail (1st Class)

 43354   DOUG BROWNING, 3730 EDMONTON RD, GLASGOW, KY, 42141-9511                                      US Mail (1st Class)

 43354   DOUG SHEPPARD, HC 80 BOX 30, MILLES, NE, 68753                                                US Mail (1st Class)

 43354   DOUG SMITH, 1654 HENSON RD, MOSS, TN, 38575                                                   US Mail (1st Class)

 43354   DOUGLAS D SUNDERMAN, 83386 556TH AVE, NORFOLK, NE, 68701-1554                                 US Mail (1st Class)

 43354   DR BUD WILLIS, RT 2 BOX 59, SULPHUR, OK, 73086                                                US Mail (1st Class)

 43354   DR JAMES M BOYER, PO BOX 551, HOUSTON, MS, 38851-0551                                         US Mail (1st Class)

 43354   DRAGONFLY TRUCKING LLC, 609 PASS CREEK RD, PARKMAN, WY, 82838-9605                            US Mail (1st Class)

 43354   DROVER`S LIVESTOCK HAULING, 3040 GIGAL RD, TURNER STATION, KY, 40075-6233                     US Mail (1st Class)

 43354   DUKE ENERGY, EF-367, PO BOX 960, CINCINNATI, OH, 45273-9598                                   US Mail (1st Class)

 43354   DUKE ENERGY, PO BOX 9001076, LOUISVILLE, KY, 40290-1076                                       US Mail (1st Class)

 43354   DUKE ENERGY INDIANA, 1000 E MAIN ST, PLAINFIELD, IN, 46168                                    US Mail (1st Class)

 43354   DWAYNE SMITH, 4238 GARFIELD HINDS RD, MONROE, TN, 38573-4216                                  US Mail (1st Class)

 43354   EAGLE BAY, INC, PO BOX 1284, OKEECHOBEE, FL, 34973-1284                                       US Mail (1st Class)

 43354   EARL VETERINARY SUPPLY, INC, PO BOX 70, FAYETTE, MO, 65248-0070                               US Mail (1st Class)

 43354   EAST MISS FARMERS LIVESTOCK, 12190 PECAN AVENUE, PHILADELPHIA, MS, 39350-5232                 US Mail (1st Class)

 43354   EAST MISSISSIPPI FARMERS LIVESTOCK CO, 12190 PECAN AVE., PHILADELPHIA, MS, 39350-5232         US Mail (1st Class)

 43354   EAST TENNESSEE LIVESTOCK CENT, PO BOX 326, SWEETWATER, TN, 37874-0326                         US Mail (1st Class)

 43354   EAST WEST TRUCKING CO., LLC, MICHAEL J WALRO, TRUSEE FOR, 426 EAST MAIN STREET, MADISON,      US Mail (1st Class)
         IN, 47250-3539
 43354   EAST WEST TRUCKING CO., LLC, MICHAEL J WALRO, TRUSTEE FOR, 426 EAST MAIN STREET, MADISON,     US Mail (1st Class)
         IN, 47250-3539
 43354   EASTERN CATTLE CO., LLC, 135 WEST MARKET STREET, NEW ALBANY, IN, 47150-3561                   US Mail (1st Class)

 43354   EASTERN LIVESTOCK CO., LLC, 135 W MARKET STREET, NEW ALBANY, IN, 47150-3561                   US Mail (1st Class)

 43354   EASTERWOOD, BOYD & SIMMONS, PC, JAMES BRYAN JOHNSTON, 623 N MAIN STREET, PO BOX 273,          US Mail (1st Class)
         HEREFORD, TX, 79045-0273
 43354   EAST-WEST TRUCKING CO., LLC, 135 WEST MARKET STREET, NEW ALBANY, IN, 47150-3561               US Mail (1st Class)

 43354   EBEN BAILEY RANCH, 504 HOWARD ST, BONESTEEL, SD, 57317-2108                                   US Mail (1st Class)

 43354   ECCO 1 LLC & CATTLE CONSULTANTS, LLC, 14111 CO. RD 2, WIGGINS, CO, 80654-8703                 US Mail (1st Class)

 43354   ECOMPUTER SERVICES, INC., 6201 BROADWAY AVE, EVANSVILLE, IN, 47712-3841                       US Mail (1st Class)

 43354   ED ARTERBURN, PO BOX 186, PARK CITY, KY, 42160-0186                                           US Mail (1st Class)

 43354   ED EDENS FARM, PO BOX 55, OKOLONA, MS, 38860-0055                                             US Mail (1st Class)

 43354   ED EDENS IV, 4724 HWY 32, PO BOX 570, OKOLONA, MS, 38860-0570                                 US Mail (1st Class)

 43354   ED VANDER BRINK, 319 MAIN ST., ALVORD, IA, 51230-7706                                         US Mail (1st Class)

 43354   EDDIE CLAYWELL, PO BOX 498, BURKESVILLE, KY, 42717                                            US Mail (1st Class)

 43354   EDDIE CLAYWELL, HARLAN E JUDD III, PO BOX 27, BOWLING GREEN, KY, 42102-0027                   US Mail (1st Class)

 43354   EDDIE EICKE, 11888 CR 1202, SNYDER, TX, 79549-8912                                            US Mail (1st Class)

 43354   EDENS/MATT ELLER, PO BOX 570, OKOLONA, MS, 38860-0570                                         US Mail (1st Class)

 43354   EDMONTON COLLECTION, EDMONTON LIVESTOCK, 310 NORTH MAIN, EDMONTON, KY, 42129                  US Mail (1st Class)

 43354   EDMONTON INTEREST, EDMONTON LIVESTOCK, 310 NORTH MAIN, EDMONTON, KY, 42129                    US Mail (1st Class)

 43354   EDMONTON LIVESTOCK MARKET, 310 NORTH MAIN, EDMONTON, KY, 42129                                US Mail (1st Class)

 43354   EDMONTON RESERVE, EDMONTON LIVESTOCK, 312 NORTH MAIN STREET, EDMONTON, KY, 42129              US Mail (1st Class)

 43354   EDMONTON WATER, SEWER & GAS, PO BOX 880, EDMONTON, KY, 42129-0880                             US Mail (1st Class)

 43354   EDMONTON WATER, SEWER & GAS SYSTEMS, PO BOX 880, EDMONTON, KY, 42129-0880                     US Mail (1st Class)

 43354   EDMONTON YARDAGE EXTRA, 310 NORTH MAIN, EDMONTON, KY, 42129                                   US Mail (1st Class)

 43354   EDWARD L ARTERBURN, PO BOX 186, PARK CITY, KY, 42160-0186                                     US Mail (1st Class)

 43354   EDWIN A STRICKLAND, 3408 HWY 389, PHELA, MS, 39755-9523                                       US Mail (1st Class)

 43354   EICKE RANCH II, EDDIE EICKE, 1188 COUNTY RD 1202, SNYDER, TX, 79549                           US Mail (1st Class)

 43354   EISCHEID TRUCKING LLC, 32390 454TH STREET, MOTLEY, MN, 56466-4541                             US Mail (1st Class)

 43354   EISCHEID TRUCKING, LLC, C/O JOSEPH LEONARD EISCHEID, 32390 454TH, MOTLEY, MN, 56466-4541      US Mail (1st Class)

 43354   ELIZABETH LYNCH, C/O DEVELOPMENT SPECIALISTS, INC., 70 W MADISON, SUITE 2300, CHICAGO, IL,    US Mail (1st Class)
         60602-4250


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 43354   ELLIOTT D LEVIN, 342 MASSACHUSETTS AVE STE 500, INDIANAPOLIS, IN, 46204-2132                      US Mail (1st Class)

 43354   ELLIOTT D LEVIN, RUBIN & LEVIN, 342 MASSACHUSETTS AVE SUITE 500, INDIANAPOLIS, IN, 46204-2161     US Mail (1st Class)

 43354   ELLIS LIVESTOCK HAULING, RANDALL ELLIS, 5359 MT. HEBRON ROAD, LANCASTER, KY, 40444-8223           US Mail (1st Class)

 43354   ELMER C RIGDON, 1320 HORTON RIGDON RD, GLASGOW, KY, 42141-9003                                    US Mail (1st Class)

 43354   ELMER RIGDON, 1320 HORTON RIGDON RD, GLASGOW, KY, 42141-9003                                      US Mail (1st Class)

 43354   EMBERTON & HIGH, SULPHUR LICK RD, TOMPKINSVILLE, KY, 42167                                        US Mail (1st Class)

 43354   EMBERTON, MICHAEL R, 1491 SULPHUR LICK RD, TOMPKINSVILLE, KY, 42167-7051                          US Mail (1st Class)

 43354   EMERY FARMS, GARY EMERY, 4955 JENNESIS RD, CROSSVILLE, TN, 38571                                  US Mail (1st Class)

 43354   EPHRIAM WILSON, 5614 COUNTY HOUSE RD, TOMPKINSVILLE, KY, 42167-8407                               US Mail (1st Class)

 43354   ERIC PAUL BROWN, 707 CLEVELAND AVE, GLASGOW, KY, 42141-1911                                       US Mail (1st Class)

 43354   ERIK PAUL BROWN, 707 CLEVELAND AVE., GLASGOW, KY, 42141-1911                                      US Mail (1st Class)

 43354   ERNIE ELDER, PO BOX 153, BYRDSTOWN, TN, 38549-0153                                                US Mail (1st Class)

 43354   ESTATE OF JOHN S GIBSON, ANNA GAYLE GIBSON,, 13140 NEBO RD, PROVIDENCE, KY, 42450-9606            US Mail (1st Class)

 43354   EUGENE BARBER & SONS, INC, 1228 LISLE ROAD, PO BOX 1327, LEXINGTON, KY, 40588-1327                US Mail (1st Class)

 43354   EUGENE PEDIGO, 8313 RANDOLPH SUMMER SHADE RD, SUMMER SHADE, KY, 42166-7622                        US Mail (1st Class)

 43354   EXCHANGE, PO BOX 490, 404 SOUTH MAIN AVE., FAYETTEVILLE, TN, 37334                                US Mail (1st Class)

 43354   F&M FARMS, PO BOX 14, BULLARD, TX, 75757-0014                                                     US Mail (1st Class)

 43354   FAITH CATTLE CO., 409 CR 6,, BLACK, AL, 36314-5307                                                US Mail (1st Class)

 43354   FAO GARY THOMPSON, ROUTE 2, BOX 94, HEDLEY, TX, 79237                                             US Mail (1st Class)

 43354   FARM CREDIT OF WESTERN OK, PCA, TONY F SETZER, ROUTE 1, BOX 39, COLONY, OK, 73021-9600            US Mail (1st Class)

 43354   FARM DATA SERVICES, CLAY BURTRUM, 1770 WEST LAKEVIEW ROAD, STILLWATER, OK, 74075-2746             US Mail (1st Class)

 43354   FARM SERVICE AGENCY, WAURIKA, PAUL LANGFORD, ROUTE 1, BOX 57, WALTERS, OK, 73572-9740             US Mail (1st Class)

 43354   FARMERS BANK OF CARNEGIE, ALLEN DIETRICH, RR 2 BOX 416, CARNEGIE, OK, 73015-9618                  US Mail (1st Class)

 43354   FARMERS FEED MILL, INC, 251 WEST LOUDON AVE, LEXINGTON, KY, 40508-1290                            US Mail (1st Class)

 43354   FARMERS LIVESTOCK AUCTION, PO BOX 91, 14747 OLD HWY 40, BOONVILLE, MO, 65233-2629                 US Mail (1st Class)

 43354   FARMERS LIVESTOCK MARKET-AAL, HWY 16 EAST, PO BOX 87, CARTHAGE, MS, 39051-0087                    US Mail (1st Class)

 43354   FARMERS LIVESTOCK MARKETING, PO BOX 87, CARTHAGE, MS, 39051-0087                                  US Mail (1st Class)

 43354   FARUKI IRELAND & COX P L L, STEPHEN A WEIGAND, 201 EAST FIFTH STREET, SUITE 1420, CINCINNATI,     US Mail (1st Class)
         OH, 45202-4115
 43354   FARUKI IRELAND & COX, P L L, DANIEL J DONNELLON, 201 EAST FIFTH STREET, SUITE 1420, CINCINNATI,   US Mail (1st Class)
         OH, 45202-4115
 43354   FEDERAL EXPRESS CORPORATION, PO BOX 94515, PALATINE, IL, 60094-4515                               US Mail (1st Class)

 43354   FERRELL MOORE, 691 S FARM ROAD 35, BOIS D ARC, MO, 65612-8213                                     US Mail (1st Class)

 43354   FIA CARD SERVICES NA, BANK OF AMERICA NA & MBNA AMERICA BANK, 1000 SAMOSET DR, DE5-023-03-        US Mail (1st Class)
         03, NEWARK, DE, 19713
 43354   FIA CARD SERVICES, NA AS SUCCESSOR IN INTERE, BANK OF AMERICA NA AND MBNA AMERICA BANK,           US Mail (1st Class)
         1000 SAMOSET DRIVE, DE5-023-03-03, NEWARK, DE, 19713-6000
 43354   FIFTH THIRD BANK, 38 FOUNTAIN SQUARE PLAZA, MD 10AT63, CINCINNATI, OH, 45263                      US Mail (1st Class)

 43354   FIFTH THIRD BANK, C/O RANDALL D LATOUR ESQ, VORYS SATER SEYMOUR & PEASE LLP, 52 EST GAY           US Mail (1st Class)
         ST, PO BOX 1008, COLUMBUS, OH, 43215
 43354   FIFTH THIRD BANK, C/O RANDALL D LATOUR, ESQ, 52 EAST GAY STREET, COLUMBUS, OH, 43215-3108         US Mail (1st Class)

 43354   FIRST BANK AND TRUST COMPANY, THE, C/O AYRES CARR & SULLIVAN, P C, 251 EAST OHIO STREET,          US Mail (1st Class)
         SUITE 500, INDIANAPOLIS, IN, 46204-2184
 43354   FIRST FARMERS NATIONAL BANK, GARY CARTER, ROUTE 2, BOX 215, WAURIKA, OK, 73573-9672               US Mail (1st Class)

 43354   FIRST NATIONAL BANK, SAM FOUSEK, 106 RR SW, WAGNER, SD, 57380                                     US Mail (1st Class)

 43354   FISCHER BROS, 29549-431ST AVE, LESTERVILLE, SD, 57040-5001                                        US Mail (1st Class)

 43354   FISCHER BROS TRUCKING, LLC, 29549 431ST AVE., LESTERVILLE, SD, 57040-5001                         US Mail (1st Class)

 43354   FIVE RIVERS CATTLE FEEDING, 1770 PROMONTORY CIRCLE, GREELEY, CO, 80634-9039                       US Mail (1st Class)

 43354   FIVE RIVERS CATTLE FEEDING, YUMA FEEDLOT, 38002 COUNTY ROAD NORTH, YUMA, CO, 80759-7929           US Mail (1st Class)

 43354   FIVE STAR LIVESTOCK LLC, 10319 HWY 62, CHARLESTOWN, IN, 47111-8937                                US Mail (1st Class)

 43354   FIVE STAR LIVESTOCK LLC, 10319 HIGHWAY 62, CHARLESTOWN, IN, 47111-8937                            US Mail (1st Class)

 43354   FLORIDA ASSOCIATION LIVESTOCK MARKETS, PO BOX 421929, KISSIMMEE, FL, 34742-1929                   US Mail (1st Class)



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 43354   FLOYD COUNTY TREASURER, 311 HAUSS SQUARE, RM 113, NEW ALBANY, IN, 47150                       US Mail (1st Class)

 43354   FLOYD COUNTY TREASURER, PO BOX 2010, NEW ALBANY, IN, 47151                                    US Mail (1st Class)

 43354   FLOYD COUNTY TREASURER, PO BOX 2010, NEW ALBANY, IN, 47151-2010                               US Mail (1st Class)

 43354   FLOYD HAYWOOD MARR, 4532 SANDHILL RD, LOUISVILLE, KY, 40219-3869                              US Mail (1st Class)

 43354   FLYING M RANCH, 1016 CR 416 NORTH, LAKE PANASOFFKE, FL, 33538-6128                            US Mail (1st Class)

 43354   FNJ, LLC, PO BOX 596, WISNER, NE, 68791-0596                                                  US Mail (1st Class)

 43354   FOLEY BRYANT & HOLLOWAY, LISA KOCH BRYANT, 500 WEST JEFFERSON STREET, SUITE 2450,             US Mail (1st Class)
         LOUISVILLE, KY, 40202-2812
 43354   FORBIS FARM, 230 WALNUT HILL RD, SUMMER SHADE, KY, 42166-7700                                 US Mail (1st Class)

 43354   FORBIS FARMS, 230 WALNUT HILLS RD, SUMMER SHADE, KY, 42166-7700                               US Mail (1st Class)

 43354   FOREST GOOMAN, 679 HWY 245, DADEVILLE, MO, 65635-8142                                         US Mail (1st Class)

 43354   FOREVER COMMUNICATIONS, 1919 SCOTTSVILLE RD, BOWLING GREEN, KY, 42104-3303                    US Mail (1st Class)

 43354   FORT & WORTH CO, EFREN SAAVEDRA DBA, PO BOX 67050, ALBURQUERQUE, NM, 87193-7050               US Mail (1st Class)

 43354   FORT PAYNE STOCKYARD, INC., PO BOX 681126, FORT PAYNE, AL, 35968-1612                         US Mail (1st Class)

 43354   FORT PAYNE STOCKYARDS, PO BOX 681126, FORT PAYNE, AL, 35968-1612                              US Mail (1st Class)

 43354   FOSTER FEED & FARM, C/O KENNETH DON FOSTER, PO BOX 7, BAKERSFIELD, MO, 65609-0007             US Mail (1st Class)

 43354   FOUR WAY CATTLE CO., C/O TOM ESTAS, PO BOX 130, ADRIAN, TX, 79001-0130                        US Mail (1st Class)

 43354   FOUR WAY CATTLE CO., C/O TOM ESTES, BOX 130, ADRIAN, TX, 79001-0130                           US Mail (1st Class)

 43354   FOUSEK FARM & TRUCKING, LLC, 28474 391ST AVENUE, ARMOUR, SD, 57313-6715                       US Mail (1st Class)

 43354   FOUSEK FARMS & TRUCKING LLC, 28381 US HWY 281, ARMOUR, SD, 57313                              US Mail (1st Class)

 43354   FOUSEK FARMS & TRUCKING, LLC, 28381 US HWY 281, ARMOUR, SD, 57313-5913                        US Mail (1st Class)

 43354   FRANK GIBSON, PO BOX 392, EDMONTON, KY, 42129-0392                                            US Mail (1st Class)

 43354   FRANK POWELL, 700 W DENGER, MIDLAND, TX, 79705-5319                                           US Mail (1st Class)

 43354   FRED BIRDWELL, 1543 TOMMY DOTSON HWY, COOKEVILLE, TN, 38506-8242                              US Mail (1st Class)

 43354   FRED DICKSON, 1636 PRICES CREEK RD, EDMONTON, KY, 42129-8825                                  US Mail (1st Class)

 43354   FRED GARNETT, 2222 JOHN RIVES RD, HOPKINSVILLE, KY, 42240-9349                                US Mail (1st Class)

 43354   FRED L DICKSON, 1636 PRICES CREEK RD, EDMONTON, KY, 42129-8825                                US Mail (1st Class)

 43354   FRED THOMAS, 1150 CHRISTIE SANO RD, COLUMBIA, KY, 42728-8340                                  US Mail (1st Class)

 43354   FRED YOUNG, 1017 J A YOUNG RD, EDMONTON, KY, 42129                                            US Mail (1st Class)

 43354   FREDERICK DAVID THOMAS, 1150 CHRISTIN SANO RD, COLUMBIA, KY, 42728-8340                       US Mail (1st Class)

 43354   FREDIN BROTHERS, HIGHWAY 14E BOX 37, SPRINGFIELD, MN, 56087-0037                              US Mail (1st Class)

 43354   FRIONA INDUSTRIES, L P, 500 S TAYLOR, PO BOX 15568, AMARILLO, TX, 79105-5568                  US Mail (1st Class)

 43354   FRONTIER, PO BOX 2951, PHOENIX, AZ, 85062-2951                                                US Mail (1st Class)

 43354   FRONTIER, PO BOX 6000, HAYDEN, ID, 83835-2009                                                 US Mail (1st Class)

 43354   FROST, BROWN TODD LLC, EDWARD M KING, 400 W MARKET ST 32ND FL, LOUISVILLE, KY, 40202-3346     US Mail (1st Class)

 43354   FT SCOTT LIVESTOCK MARKET INC., PO BOX 270, FORT SCOTT, KS, 66701-0270                        US Mail (1st Class)

 43354   G & C TRUCKING, PO BOX 24, MUNDAY, TX, 76371-0024                                             US Mail (1st Class)

 43354   G & G TRUCKING INC, PO BOX 335, ECRU, MS, 38841-0335                                          US Mail (1st Class)

 43354   G & H CATTLE, 5826 HWY 223 N, VIOLA, AR, 72583-9668                                           US Mail (1st Class)

 43354   G DEAL, 135 WEST MARKET, NEW ALBANY, IN, 47150-3561                                           US Mail (1st Class)

 43354   G P CATTLE COMPANY, 7827 TANDY RD, LANESVILLE, IN, 47136-9645                                 US Mail (1st Class)

 43354   G W TRANSPORT, PO BOX 2125, DEMING, NM, 88031-2125                                            US Mail (1st Class)

 43354   G&W/L L T TRUCKING, INC, 2501 EXCHANGE AVE RM138, OKLAHOMA CITY, OK, 73108-2459               US Mail (1st Class)

 43354   G7 RANCH INC, 1137 N LAKE SHORE BLVD, LAKEWALES, FL, 33853-3912                               US Mail (1st Class)

 43354   GABRIEL MORENO MEDINA, C/O THE LAW OFFICES OF STEPHEN H NICKEY, 1201 N MESA STE B, EL         US Mail (1st Class)
         PASO, TX, 79902-4000
 43354   GABRIEL MORENO, C/O TIMOTHY T PRIDMORE, MCWHORTER, COBB & JOHNSON, 1722 BROADWAY,             US Mail (1st Class)
         LUBBOCK, TX, 79401-3093
 43354   GABRIEL MORENO, C/O TODD J JOHNSTON, MCWHORTER, COBB & JOHNSON, 1722 BROADWAY,                US Mail (1st Class)
         LUBBOCK, TX, 79401-3093
 43354   GARRETT FARMS, STEVE A GARRETT, 31 W PLANTATION RD, AMARILLO, TX, 79118-9460                  US Mail (1st Class)

 43354   GARRETT FARMS, STEVEN A GARRETT, PO BOX 31541, AMARILLO, TX, 79120-1541                       US Mail (1st Class)


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 43354   GARY BELL, PO BOX 122, EDMONTON, KY, 42129-0122                                               US Mail (1st Class)

 43354   GARY CARTER, ROUTE 2, BOX 215, WAURIKA, OK, 73573-9672                                        US Mail (1st Class)

 43354   GARY FRANKLIN WHITLEY, 794 LAWRENCE RD, SMITHS GROVE, KY, 42171-9223                          US Mail (1st Class)

 43354   GARY HERRIN, 2106 INDIAN RD, FORT SCOTT, KS, 66701-8732                                       US Mail (1st Class)

 43354   GARY KRANTZ, 1500 SHARPSTONE DRIVE, MITCHELL, SD, 57301-5097                                  US Mail (1st Class)

 43354   GARY PICKETT, 2721 CORAL HILL HALFWAY RD, GLASGOW, KY, 42141-9563                             US Mail (1st Class)

 43354   GARY RIGGS, 3292 FM 55, BLOONING GROVE, TX, 76626-3257                                        US Mail (1st Class)

 43354   GARY S BELL, PO BOX 122, EDMONTON, KY, 42129-0122                                             US Mail (1st Class)

 43354   GARY SEALS, PO BOX 935, DUNLAP, TN, 37327-0935                                                US Mail (1st Class)

 43354   GARY TATE, 6510 WEST LAKE RD, ABILENE, TX, 79601-8206                                         US Mail (1st Class)

 43354   GARY THOMPSON, PO BOX 113, PITKIN, LA, 70656-0113                                             US Mail (1st Class)

 43354   GARY W CAMPBELL, 3191 CAUDILL RD, FRANKLIN, KY, 42134-8415                                    US Mail (1st Class)

 43354   GARY WELCH CATTLE CO, PO BOX 10, NORMAN, NC, 28367-0010                                       US Mail (1st Class)

 43354   GE TRANSPORTATION FINANCE, GARY WHITLEY, PO BOX 822108, PHILADELPHIA, PA, 19182-2108          US Mail (1st Class)

 43354   GENE ALLOWAY, 101 E MAIN ST, LYONS, KS, 67554-2002                                            US Mail (1st Class)

 43354   GENE SHIPMAN, 11401 E FM 1075, HAPPY, TX, 79042-3422                                          US Mail (1st Class)

 43354   GENE SHIPMAN, 11401 E FN 1075, HAPPY, TX, 79042-3422                                          US Mail (1st Class)

 43354   GENE SHIPMAN CATTLE CO., 11401 E FM 1075, HAPPY, TX, 79042-3422                               US Mail (1st Class)

 43354   GENE SHIPMAN, C/O KIRK CRUTCHER, MAYFIELD, CRUTCHER & SHARPEE, LLP, AMARILLO, TX, 79101       US Mail (1st Class)

 43354   GEORGE E LOGSDON, 11045 HARDYVILLE RD, HARDYVILLE, KY, 42746-8639                             US Mail (1st Class)

 43354   GEORGE HORA TRUCKING, 1894 N DUBUQUE RD, IOWA CITY, IA, 52245-9596                            US Mail (1st Class)

 43354   GEORGE HORA TRUCKING, LLC, C/O GEORGE E HORA, 1894 N DUBUQUE RD, IOWA CITY, IA, 52245-9596    US Mail (1st Class)

 43354   GEORGE LOGSDON, 11045 HARDYVILLE RD, HARDYVILLE, KY, 42746-8639                               US Mail (1st Class)

 43354   GEORGE WASHER, 261 GIBBONS RD, CAVE CITY, KY, 42127-9487                                      US Mail (1st Class)

 43354   GEORGE WASHER, PO BOX 1331, GLASGOW, KY, 42142-1331                                           US Mail (1st Class)

 43354   GERALD GOODMAN, 615 STATE HIGHWAY 245, DADEVILLE, MO, 65635-8142                              US Mail (1st Class)

 43354   GERALD PETERMAN, 627 OLD CELINA ROAD, ALLONS, TN, 38541-6907                                  US Mail (1st Class)

 43354   GIBSON FARMS. LLC, 13140 NEBO RD, PROVIDENCE, KY, 42450-9606                                  US Mail (1st Class)

 43354   GIVENS PURSLEY, LLP, KELLY GREENE MCCONNELL, 601 W BANNOCK, BOISE, ID, 83702-5919             US Mail (1st Class)

 43354   GLEN HURT, 7950 OLD GLASGOW RD, SCOTTSVILLE, KY, 42164-9549                                   US Mail (1st Class)

 43354   GLEN R FRANKLIN, PO BOX 703, HOUSE, NM, 88121-0703                                            US Mail (1st Class)

 43354   GLENN FRANKLIN, PCA OF EASTERN NEW MEXICO, BOX 703, HOUSE, NM, 88121-0703                     US Mail (1st Class)

 43354   GLENWILD STOCKYARD, INC., 3383 HWY 51 S, GRENADA, MS, 38901-9375                              US Mail (1st Class)

 43354   GLENWILD STOCKYARDS, 3383 HWY 51 S, GRENADA, MS, 38901-9375                                   US Mail (1st Class)

 43354   GORDON, DAVID, 1758 OLD TEMPLE HILL RD, TOMPKINSVILLE, KY, 42167-8545                         US Mail (1st Class)

 43354   GORDON, DAVID MARRS, 1758 OLD TEMPLE HILL RD, TOMPKINSVILLE, KY, 42167                        US Mail (1st Class)

 43354   GOWAN STOCKYARD INC, PO BOX 336, KOSCIUSKO, MS, 39090-0336                                    US Mail (1st Class)

 43354   GRAIN PROCESSING CORP, PO BOX 92670, CHICAGO, IL, 60675-2670                                  US Mail (1st Class)

 43354   GRANT GIBSON, 7827 TANDY ROAD, LANESVILLE, IN, 47136-9645                                     US Mail (1st Class)

 43354   GREAT AMERICA LEASING CORP, PO BOX 75266-0831, DALLAS, TX, 75266                              US Mail (1st Class)

 43354   GREEN LEAF FARMS, 268 HURT RD, COLDWATER, MS, 38618-7638                                      US Mail (1st Class)

 43354   GREEN VALLEY LLC, PO BOX 65, SALVISA, KY, 40372-0065                                          US Mail (1st Class)

 43354   GREENBAUM DOLL & MCDONALD, C R BOWLES JR, 101 S 5TH ST., LOUISVILLE, KY, 40202-3197           US Mail (1st Class)

 43354   GREENEBAUM DOLL & MCDONALD, IVANA B SHALLCROSS, 3500 NATIONAL CITY TOWER, 101 S 5TH           US Mail (1st Class)
         STREET, LOUISVILLE, KY, 40202-3157
 43354   GREENEBAUM, DOLL & MCDONALD, JOHN W AMES, 101 S 5TH ST STE 3300, LOUISVILLE, KY, 40202-3197   US Mail (1st Class)

 43354   GREENSBURG RECORD HERALD, PO BOX 130, GREENSBURG, KY, 42743-0130                              US Mail (1st Class)

 43354   GREG EBNER, PO BOX 4404, WICHITA FALLS, TX, 76308-0404                                        US Mail (1st Class)

 43354   GREG JOHSON, 2750 PLEASANT VALLEY CH RD, CENTER, KY, 42214-8202                               US Mail (1st Class)

 43354   GREG WAYCASTER, 450 CR 373, TUPELO, MS, 38801-9188                                            US Mail (1st Class)

 43354   GREG WHITE, 571 MT MORIAH RD, SUMMER SHADE, KY, 42166-9074                                    US Mail (1st Class)


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 43354   GREGORY LYNN JOHNSON, 2750 PLEASANT VALLEY CHURCH RD, CENTER, KY, 42214-8202                   US Mail (1st Class)

 43354   GUNGOLL, JACKSON, & COLLINS, BRADLEY GUNGOLL, PO BOX 1549, ENID, OK, 73702-1549                US Mail (1st Class)

 43354   H & B TRUCKING, L L C, KENDALL BAYLESS, ROUTE 1, BOX 15, ARNETT, OK, 73832-9701                US Mail (1st Class)

 43354   HAIGH LIVESTOCK LLC, PO BOX 447, MERRILL, OR, 97633-0447                                       US Mail (1st Class)

 43354   HAINES JR, CHARLES W, 1925 LOREN COLLINS RD, GLENS FORK, KY, 42741                             US Mail (1st Class)

 43354   HALEE BUNCH, 2821 COLUMBIA RD, BURKESVILLE, KY, 42717-9126                                     US Mail (1st Class)

 43354   HALEE BUNCH, 2821 COLUMBIA RD, BURKESVILE, KY, 42717-9126                                      US Mail (1st Class)

 43354   HALEE BUNCH, 2821 COLUMBIA RD, BURKESVILLE, KY, 42717                                          US Mail (1st Class)

 43354   HALEE BUNCH, HARLAN E JUDD III, MCCRACKEN & JUDD PLLC, PO BOX 27, BOWLING GREEN, KY, 42102-    US Mail (1st Class)
         0027
 43354   HARDEE LIVESTOCK MARKET, INC., PO BOX 1479, WAUCHULA, FL, 33873-1479                           US Mail (1st Class)

 43354   HARDIN COUNTY STOCKYARD, PO BOX 189, WAYNESBORO, TN, 38485-0189                                US Mail (1st Class)

 43354   HAROLD WHITAKER LIVESTOCK, TRANSPORTATION LLC, PO BOX 1179, ROSWELL, NM, 88202-1179            US Mail (1st Class)

 43354   HAWKS, DONALD, 8829 FINNEY RD, GLASGOW, KY, 42141                                              US Mail (1st Class)

 43354   HAYWOOD MARR, 4532 SAND HILL RD, LOUISVILLE, KY, 40219-3869                                    US Mail (1st Class)

 43354   HEATH & TURPIN, INC., PO BOX 1078, LAMAR, CO, 81052-1078                                       US Mail (1st Class)

 43354   HENDRICK, JIMMY, PO BOX 127, SMITHS GROVE, KY, 42171                                           US Mail (1st Class)

 43354   HENRY & CLAYTON KNOX, 30231 LEE RD, SEDALIA, MO, 65301-1738                                    US Mail (1st Class)

 43354   HENRY SIMS, 291 SIMS RD, FAUNSDALE, AL, 36738-3831                                             US Mail (1st Class)

 43354   HERITAGE FEEDERS, 123 ROBERT S KERR AVE, PO BOX 2410, OKLAHOMA CITY, OK, 73101-2410            US Mail (1st Class)

 43354   HERITAGE FEEDERS LP, C/O CROWE & DUNLEVY, 20 NORTH BROADWAY, SUITE 1800, OKLAHOMA CITY,        US Mail (1st Class)
         OK, 73102-8296
 43354   HERRBOLDT TRUCKING, 29449 432ND AVE, LESTERVILLE, SD, 57040-5006                               US Mail (1st Class)

 43354   HIGH & HIGH, 1150 SULPHUR LICK RD, TOMPKINSVILLE, KY, 42167-7048                               US Mail (1st Class)

 43354   HIGH & HIGH, 1150 SULPHUR LICK RD, TOMPKINSVILLE, KY, 42167                                    US Mail (1st Class)

 43354   HIGH, JIMMIE DALE, 1150 SULPHUR LICK RD, TOMPKINSVILLE, KY, 42167-7048                         US Mail (1st Class)

 43354   HILLIARD-MCKETTRICK INVESTMENTS, INC., D/B/A ARCADIA STOCKYARD, PO BOX 1418, ARCADIA, FL,      US Mail (1st Class)
         34265-1418
 43354   HODGE LIVESTOCK NETWORK, PO BOX 627, NEWPORT, TN, 37822-0627                                   US Mail (1st Class)

 43354   HOLLADAY FARM, 760 BEACHNUT DRIVE, PONTOTOC, MS, 38863-7298                                    US Mail (1st Class)

 43354   HOME NATIONAL BANK, WINFIELD, KS, TAYLOR REED, PO BOX 695, PAWHUSKA, OK, 74056-0695            US Mail (1st Class)

 43354   HOMER COPELAND, 295 COPELAND LANE, CELINA, TN, 38551-3017                                      US Mail (1st Class)

 43354   HOOVER HULL LLP, JOHN DAVID HOOVER, 111 MONUMENT CIR STE 4400, PO BOX 44989, INDIANAPOLIS,     US Mail (1st Class)
         IN, 46244-0989
 43354   HOOVER HULL, LLP, SEAN T WHITE, 111 MONUMENT CIR STE 4400, INDIANAPOLIS, IN, 46204-5127        US Mail (1st Class)

 43354   HOPPER BLACKWELL, P C, JEFFREY E RAMSEY, 111 MONUMENT CIR STE 452, INDIANAPOLIS, IN, 46204-    US Mail (1st Class)
         5101
 43354   HOPPER BLACKWELL, P C, SARAH STITES FANZINI, 111 MONUMENT CIRCLE, SUITE 452, INDIANAPOLIS,     US Mail (1st Class)
         IN, 46204-5101
 43354   HORIZON BEEF, INC., 216 MAIN, BOX 525, SANBORN, IA, 51248-7728                                 US Mail (1st Class)

 43354   HOWARD WILLIAMSON, 1951 FM 2384 NORTH, ELECTRA, TX, 76360-6547                                 US Mail (1st Class)

 43354   HOY P HODGES COLLECTION, TRUST ACCT, 319 E 10TH AVE, BOWLING GREEN, KY, 42101-6803             US Mail (1st Class)

 43354   HUMANA INSURANCE CO, PO BOX 533, CAROL STREAM, IL, 60132-0533                                  US Mail (1st Class)

 43354   HUNT, BRENDA, 1419 AKERSVILLE RD, FOUNTAIN RUN, KY, 42133                                      US Mail (1st Class)

 43354   III M TRANSPORTATION, LLC., PO BOX 31, OKOLONA, MS, 38860-0031                                 US Mail (1st Class)

 43354   IKE BOUTWELL, 1815 CANN SCHOOL LN, EASTVIEW, KY, 42732-9715                                    US Mail (1st Class)

 43354   IKE`S TRUCKING INC, CHARLIE ISAAC JACOBS, PO BOX 81, ST PAUL, VA, 24283                        US Mail (1st Class)

 43354   IKE`S TRUCKING INC., PO BOX 81, ST. PAUL, VA, 24283-0081                                       US Mail (1st Class)

 43354   IKE`S TRUCKING INC., IKE JACOBS, PO BOX 81, ST. PAUL, VA, 24283-0081                           US Mail (1st Class)

 43354   IKE`S TRUCKING, INC., C/O CHARLIE ISAAC JACOBS, PO BOX 81, ST. PAUL, VA, 24283-0081            US Mail (1st Class)

 43354   IKE`S TRUCKING, INC., IKE AND CHERIE JACOBS, 3087 ERVIN TOWN RD, CASTLEWOOD, VA, 24224-9686    US Mail (1st Class)

 43354   IMI GLOBAL INC., SUITE A, 221 WILCOX ST, CASTLE ROCK, CO, 80104-4006                           US Mail (1st Class)



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 43354   INDIANA AMERICAN WATER, PO BOX 578, ALTON, IL, 62002-0578                                       US Mail (1st Class)

 43354   INDIANA BEEF COUNCIL, PO BOX 2857, INDIANAPOLIS, IN, 46206-2857                                 US Mail (1st Class)

 43354   INDIANA DEPARTMENT OF REVENUE, COLLECTION DIVISION, PO BOX 1028, INDIANAPOLIS, IN, 46206-1028   US Mail (1st Class)

 43354   INDIANA-AMERICAN WATER CO, PO BOX 578, ALTON, IL, 62002                                         US Mail (1st Class)

 43354   INDIANA-AMERICAN WATER CO., PO BOX 94551, PALATINE, IL, 60094-4551                              US Mail (1st Class)

 43354   INDIANA-AMERICAN WATER CO.INC., SOUTHERN INDIANA OPERATIONS, PO BOX 907, RICHMOND, IN,          US Mail (1st Class)
         47375-0907
 43354   INDUSTRIAL DISPOSAL CO, PO BOX 9001825, LOUISVILLE, KY, 40290-1825                              US Mail (1st Class)

 43354   INDUSTRIAL DISPOSAL CO., 1423 S JACKSON STREET, LOUISVILLE, KY, 40208-2777                      US Mail (1st Class)

 43354   INGLAND TRUCKING, JIM INGLAND, 11932 ROAD 6, LIBERAL, KS, 67901-6142                            US Mail (1st Class)

 43354   INSIGHT COMMUNICATIONS, PO BOX 740273, CINCINNATI, OH, 45274-0273                               US Mail (1st Class)

 43354   INTRADE CONSULTANTS, INC., US CUSTOMS BROKERS, 7101 CHINO DR, EL PASO, TX, 79915-1223           US Mail (1st Class)

 43354   ISENBERG, CHARLES LEON, 4942 EDMONTON RD, TOMPKINSVILLE, KY, 42167                              US Mail (1st Class)

 43354   ISSAC M BOUTWELL, 1815 CAMN SCHOOL LN, EASTVIEW, KY, 42732-9715                                 US Mail (1st Class)

 43354   J & B FARMS, 446 MAGNOLIA HILL, PO BOX 199, DUNCAN, MS, 38740-0199                              US Mail (1st Class)

 43354   J & J LIVESTOCK TRUCKING, JERALD HUDSON, PO BOX 202, DARROUZETT, TX, 79024                      US Mail (1st Class)

 43354   J & S LIVESTOCK, PO BOX 398, ARMUCHEE, GA, 30105-0398                                           US Mail (1st Class)

 43354   J C BAR TRUCKING, INC., C/O CHARLES GRAHAM, 210 WINDY LANE, GATESVILLE, TX, 76528-3370          US Mail (1st Class)

 43354   J C BAR TRUCKING,INC., 210 WINDY LANE, GATESVILLE, TX, 76528-3370                               US Mail (1st Class)

 43354   J C POWELL, BOX 1389, LINDALE, TX, 75771-1389                                                   US Mail (1st Class)

 43354   J C WILLIS, 7449 GREENSBURG RD, GREENSBURG, KY, 42743-9005                                      US Mail (1st Class)

 43354   J D.NABORS, PO BOX 323, HOUSTON, MS, 38851-0323                                                 US Mail (1st Class)

 43354   J R BROWN, 107 KARAKAL DR, GLASGOW, KY, 42141-3354                                              US Mail (1st Class)

 43354   J&J LIVESTOCK, PO BOX 202, DARROUZETTE, TX, 79024-0202                                          US Mail (1st Class)

 43354   J&J LIVESTOCK TRUCKING, PO BOX 202, DARROUZETT, TX, 79024-0202                                  US Mail (1st Class)

 43354   J&T FARMS, TERRY PHILLIPS, 560 MONTERREY HWY, LIVINGSTON, TN, 38570-8748                        US Mail (1st Class)

 43354   JACK ROTH TRUCKING, 22147 Y HWY, BOONVILLE, MO, 65233-3644                                      US Mail (1st Class)

 43354   JACK ROTH TRUCKING, 22147 Y HWY, BOONEVILLE, MO, 65233-3644                                     US Mail (1st Class)

 43354   JACK SCHLESSIGER, 1266 N E 120 ROAD, CLAFLIN, KS, 67525-9186                                    US Mail (1st Class)

 43354   JACK STEVENS, 1121 CHAPEL HILL RD, MORGANFIELD, KY, 42437-6339                                  US Mail (1st Class)

 43354   JACKIE ESTEL YOUNG, 312 BEAUTY SWAMP RD, MONROE, TN, 38573-5112                                 US Mail (1st Class)

 43354   JACKIE YOUNG, 1336 CLAUDE JONES ROAD, EDMONTON, KY, 42129-9521                                  US Mail (1st Class)

 43354   JACKIE YOUNG, 1337 CLAUDE JONES RD, EDMONTON, KY, 42129                                         US Mail (1st Class)

 43354   JACKIE YOUNG, 796 BIG SPRINGS RD, MONROE, TN, 38573-6315                                        US Mail (1st Class)

 43354   JACOB MASSEY, 2713 TOLLGATE RD, PETERSBURG, TN, 37144-2302                                      US Mail (1st Class)

 43354   JAMES & ROMAN ELMORE, 1215 HUDGINS HWY, SUMMERSVILLE, KY, 42782-9019                            US Mail (1st Class)

 43354   JAMES G SYMPSON, 608 MURRAY`S RUN RD, BARDSTOWN, KY, 40004-6725                                 US Mail (1st Class)

 43354   JAMES H BRASS, PO BOX 777, COLDWATER, KS, 67029-0777                                            US Mail (1st Class)

 43354   JAMES H GIBSON, 1990 COLUMBIA RD, EDMONTON, KY, 42129-8902                                      US Mail (1st Class)

 43354   JAMES H HALE, 3575 SUMMERWOOD, OLIVE BRANCH, MS, 38654-7925                                     US Mail (1st Class)

 43354   JAMES LEE ELMORE, 1215 HUDGINS HWY, SUMMERSVILLE, KY, 42782-9019                                US Mail (1st Class)

 43354   JAMES NOLLEY, 1106 CR56, MYRTLE, MS, 38650                                                      US Mail (1st Class)

 43354   JAMES PERSCHBACHER, 12117 FM 2244, BLDG 1 SUITE 202, AUSTIN, TX, 78738-5349                     US Mail (1st Class)

 43354   JAMES R.THOMPSON, 1300 RITCHIE LN, BARDSTOWN, KY, 40004-9534                                    US Mail (1st Class)

 43354   JAMES ROBERT FLICKINGER, 417 FLICKINGER LN, GLASGOW, KY, 42141-8833                             US Mail (1st Class)

 43354   JAMES T YOUNG, RUBIN & LEVIN P C, 342 MASSACHUSETTS AVENUE, SUITE 500, INDIANAPOLIS, IN,        US Mail (1st Class)
         46204-2161
 43354   JANE, LLC, 21767 E 1580 RD, MT. PARK, OK, 73559-5040                                            US Mail (1st Class)

 43354   JANOUSEK FARMS, 36982 US HWY 18, FAIRFAX, SD, 57335-5352                                        US Mail (1st Class)

 43354   JARED ROSS SMITH, 989 WEST BLACK DOT RD, KNOB LICK, KY, 42154-9601                              US Mail (1st Class)

 43354   JARED SMITH, 989 WEST BLACK DOT RD, KNOB LICK, KY, 42154-9601                                   US Mail (1st Class)



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 43354   JASON FARMER TRANSPORTATION, JASON FARMER, 192 COUTY ROAD 427, LORENA, TX, 76655-4382            US Mail (1st Class)

 43354   JASON FARMER TRANSPORTATION, JASON FARMER, 192 COUNTY ROAD 427, LORENA, TX, 76655-4382           US Mail (1st Class)

 43354   JASON GIBSON, 114 WALNUT ST, BYRDSTOWN, TN, 38549-2240                                           US Mail (1st Class)

 43354   JASON HALEY, 265 HALEY RD, WATERTOWN, TN, 37184-3205                                             US Mail (1st Class)

 43354   JAVITCH, BLOCK & RATHBONE, THEODORE A KONSTANTINOPOULOS, 1100 SUPERIOR AVENUE, 19TH              US Mail (1st Class)
         FLOOR, CLEVELAND, OH, 44114-2521
 43354   JAY BUFORD, 108 GLEN OAKS CT, MCDONOUGH, GA, 30253-4840                                          US Mail (1st Class)

 43354   JAY BURFORD, 108 GLENOAKS COURT, MCDONOUGH, GA, 30253-4840                                       US Mail (1st Class)

 43354   JAY BURFORD, 108 GLEN OAKS RD, MCDONOUGH, GA, 30253-4840                                         US Mail (1st Class)

 43354   JAY MCLEMORE, 7567 E 129 RD, HOLDENVILLE, OK, 74848-1678                                         US Mail (1st Class)

 43354   JC BAR TRUCKING INC, C/O CHARLES GRAHAM, 210 WINDY LN, GATESVILLE, TX, 76528-3370                US Mail (1st Class)

 43354   JC BILLINGSLEY, 2621 KINO RD, GLASGOW, KY, 42141-9448                                            US Mail (1st Class)

 43354   JD CATTLE COMPANY INC, 1196 TWIN FORKS LN, ST PAUL, NE, 68873                                    US Mail (1st Class)

 43354   JD CATTLE COMPANY, INC., 1196 TWIN FORKS LANE, ST. PAUL, NE, 68873-3444                          US Mail (1st Class)

 43354   JEFF A MOWERS, 1200 BLACKS FERRY RD, BURKESVILLE, KY, 42717                                      US Mail (1st Class)

 43354   JEFF MOWERS, 1200 BLACKS FERRY RD, BURKESVILLE, KY, 42717                                        US Mail (1st Class)

 43354   JEFF NELSON, 759 COLD SPRINGS RD, MOUNTAIN CITY, TN, 37683                                       US Mail (1st Class)

 43354   JEFF OR JOSH PITCOCK, 679 PITCOCK RD, SUMMER SHADE, KY, 42166-7616                               US Mail (1st Class)

 43354   JEFF REECE, 195 LOCUST GROVE CHURCH ROAD, KNOB LICK, KY, 42154-6310                              US Mail (1st Class)

 43354   JEFF YOUNG, 1299 WILLOW GROVE SCHOOL RD, ALLONS, TN, 38541                                       US Mail (1st Class)

 43354   JEFFERY L YOUNG, 518 WILLOW GROVE SCHOOL ROAD, ALLONS, TN, 38541-3007                            US Mail (1st Class)

 43354   JEFFERY LYNN YOUNG, 518 WILLOW GROVE SCHOOL RD, ALLONS, TN, 38541-3007                           US Mail (1st Class)

 43354   JEREL SMITH, 819 BLACK DOT RD, KNOB LICK, KY, 42154-9601                                         US Mail (1st Class)

 43354   JEREMY COFFEY, 6205 GREENSBURG ROAD, COLUMBIA, KY, 42728-9487                                    US Mail (1st Class)

 43354   JERRY BAGBY, 5360 HWY 1464, GREENSBURG, KY, 42743-9432                                           US Mail (1st Class)

 43354   JERRY HERALD, 1191 OAKHILL SCHOOL RD, SMITHS GROVE, KY, 42171-9024                               US Mail (1st Class)

 43354   JERRY JORDAN, 6046 SIMMONS BLUFF RD, LEBANON, TN, 37090-0733                                     US Mail (1st Class)

 43354   JERRY MIDDLETOM, 1108 W RIDGE, MCALESTER, OK, 74501-2239                                         US Mail (1st Class)

 43354   JERRY MIDDLETON, 1108 WEST RIDGE, MCALESTER, OK, 74501-2239                                      US Mail (1st Class)

 43354   JERRY THOMPSON, 320 E NEBRASKA, WALTERS, OK, 73572-2241                                          US Mail (1st Class)

 43354   JERRY WAYNE JORDAN, 6046 SIMMONS BLUFF RD, LEBANON, TN, 37090-0733                               US Mail (1st Class)

 43354   JERRY WOLFE, 105 WEST SHORE, RICHARDSON, TX, 75080-4917                                          US Mail (1st Class)

 43354   JESS MATTHEWS, 213 SULPHUR RD, RICKMAN, TN, 38580                                                US Mail (1st Class)

 43354   JESSE COOK-DUBIN, VORYS, SATER, SEYMOUR AND PEASE, LLP, 52 EAST GAY STREET, PO BOX 1008,         US Mail (1st Class)
         COLUMBUS, OH, 43216-1008
 43354   JESSE HORSEMAN, 1080 GWINN ISLAND, DANVILLE, KY, 40422-8612                                      US Mail (1st Class)

 43354   JESSE PHILLIP WHITLOW, 5180 RANDOLPH-GOODLUCK RD, SUMMER SHADE, KY, 42166-9083                   US Mail (1st Class)

 43354   JESSE R BROWN, 107 KARAKAL DR, GLASGOW, KY, 42141-3354                                           US Mail (1st Class)

 43354   JESSE W SIMPSON, 415 JESSE SIMPSON RD, TOMPKINSVILLE, KY, 42167-7358                             US Mail (1st Class)

 43354   JESSICA E YATES, SNELL & WILMER, LLP, 1200 SEVENTEENTH ST., SUITE 1900, DENVER, CO, 80202-5854   US Mail (1st Class)

 43354   JESSIE SIMPSON, 415 JESSY SIMPSON ROAD, TOMPKINSVILLE, KY, 42167-7358                            US Mail (1st Class)

 43354   JESSIE WHITLOW, 5180 RANDOLPH GOODLUCK RD, SUMMER SHADE, KY, 42166-9083                          US Mail (1st Class)

 43354   JF CATTLE, 1710 SOUTH 2450 EAST, MALTA, ID, 83342-8608                                           US Mail (1st Class)

 43354   JIM BRASS, 110 N NEW YORK ST, COLDWATER, KS, 67029-2959                                          US Mail (1st Class)

 43354   JIM F BONHAM,D V M, 1735 S HWY 183, CLINTON, OK, 73601-9533                                      US Mail (1st Class)

 43354   JIM FLICKINGER, 417 FLICKINGER LANE, GLASGOW, KY, 42141-8833                                     US Mail (1st Class)

 43354   JIM FRITZ, 90837 479TH AVE, BUTTE, NE, 68722-3505                                                US Mail (1st Class)

 43354   JIM MINOR, 2105 VIEW STREET, SHELBYVILLE, KY, 40065-8961                                         US Mail (1st Class)

 43354   JIM MITTEN TRUCKING, INC., 3660 US 40, OAKLEY, KS, 67748-6002                                    US Mail (1st Class)

 43354   JIMMIE DALE HIGH, 1150 SULPHUR LICK RD, TOMPKINSVILLE, KY, 42167-7048                            US Mail (1st Class)

 43354   JIMMIE ROGERS INC, 5042 HWY 54, LIBERAL, KS, 67901                                               US Mail (1st Class)



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 43354   JIMMY BRUMMETT, 7594 HWY 55 SOUTH ROAD, COLUMBIA, KY, 42728-7235                                US Mail (1st Class)

 43354   JIMMY BRUMMETT, 7594 HWY 555, GLENS FORK, KY, 42741                                             US Mail (1st Class)

 43354   JIMMY COLLUMS, 130 CR 409, HOULKA, MS, 38850-8617                                               US Mail (1st Class)

 43354   JIMMY FINCHUM, 4220 ROYAL OAK DR, NEW ALBANY, IN, 47150-9788                                    US Mail (1st Class)

 43354   JIMMY HARMON, 4028 GREENSBURG RD, COLUMBIA, KY, 42728-9449                                      US Mail (1st Class)

 43354   JIMMY HARRYMAN, 208 FROST CREEK, GROESBECK, TX, 76642-4905                                      US Mail (1st Class)

 43354   JIMMY HENDRICK, PO BOX 127, SMITHS GROVE, KY, 42171-0127                                        US Mail (1st Class)

 43354   JIMMY HENDRICKS, PO BOX 127, SMITHS GROVE, KY, 42171-0127                                       US Mail (1st Class)

 43354   JIMMY HIGH, SULPHUR LICK RD, TOMPKINSVILLE, KY, 42167                                           US Mail (1st Class)

 43354   JIMMY MANION, 107 INDIE CIRCLE, GLASGOW, KY, 42141-3433                                         US Mail (1st Class)

 43354   JIMMY MCMILLEN, 1096 CR 88, NEW ALBANY, MS, 38652-7310                                          US Mail (1st Class)

 43354   JIMMY ROGERS, INC., 5042 HWY 54, LIBERAL, KS, 67901                                             US Mail (1st Class)

 43354   JIMMY STAPP, 1609 CEDAR GROVE RD, GREENSBURG, KY, 42743-9014                                    US Mail (1st Class)

 43354   JIMMY SYMPSON, 608 MURRAY RUN RD, BARDSTOWN, KY, 40004-6725                                     US Mail (1st Class)

 43354   JIMMY THOMPSON, 1300 RITCHIE LANE, BARDSTOWN, KY, 40004-9534                                    US Mail (1st Class)

 43354   JOBE PUBLISHING INC, PO BOX 546, CAVE CITY, KY, 42127-0546                                      US Mail (1st Class)

 43354   JOE BISHOP, 1198 COUNTRY ROAD 188, BLUE SPRINGS, MS, 38828-9339                                 US Mail (1st Class)

 43354   JOE KANTHAK TRUCKING, 48640 161ST ST, REVILLO, SD, 57259-6616                                   US Mail (1st Class)

 43354   JOE THOMPSON, 320 E NEBRASKA, WALTERS, OK, 73572-2241                                           US Mail (1st Class)

 43354   JOEL L BROWN, ATTORNEY, (RE: SCOTTS HILL STOCKYARD; CLAIM 147), 419 MAIN ST, SAVANNAH, TN,      US Mail (1st Class)
         38372
 43354   JOEY NEWTON, 275 MANTON ROAD, LARETTO, KY, 40037-8136                                           US Mail (1st Class)

 43354   JOHN & LEVI SEXTON, 6813 OLD GLASGOW RD, SCOTTSVILLE, KY, 42164-9544                            US Mail (1st Class)

 43354   JOHN COWHERD, ATTORNEY AT LAW PC, PO BOX 268, MOUNT VERNON, MO, 65712                           US Mail (1st Class)

 43354   JOHN D THOMPSON, PO BOX 224, EDMONTON, KY, 42129-0224                                           US Mail (1st Class)

 43354   JOHN DEER CREDIT, PO BOX 4450, CAROL STREAM, IL, 60197-4450                                     US Mail (1st Class)

 43354   JOHN DOYLE TRUCKING, 43787 202ND STREET, ERWIN, SD, 57233-5317                                  US Mail (1st Class)

 43354   JOHN ESCHBACHER, 11220 OTTERBEIN RD, LACONIA, IN, 47135-8932                                    US Mail (1st Class)

 43354   JOHN FLOOD, 1722 HIGHWAY 2779, HARDINSBURG, KY, 40143-4316                                      US Mail (1st Class)

 43354   JOHN FREDERICK MASSOUH, SPROUSE SHRADER SMITH, PC, 701 S TAYLOR, STE 500, AMARILLO, TX,         US Mail (1st Class)
         79101-2424
 43354   JOHN HUFFAKER, SPROUSE SHRADER SMITH, P C, PO BOX 15008, AMARILLO, TX, 79105-5008               US Mail (1st Class)

 43354   JOHN L PAGE, PO BOX 250, TOMPKINSVILLE, KY, 42167-0250                                          US Mail (1st Class)

 43354   JOHN M PAGE, PO BOX 250, TOMPKINSVILLE, KY, 42167-0250                                          US Mail (1st Class)

 43354   JOHN M ROGERS, RUBIN & LEVIN, P C, 500 MAROTT CENTER, 342 MASSACHUSETTS AVENUE,                 US Mail (1st Class)
         INDIANAPOLIS, IN, 46204-2146
 43354   JOHN NEAGLE, 2043 HAYES PONDSVILLE RD, SMITHS GROVE, KY, 42171-6242                             US Mail (1st Class)

 43354   JOHN ROSS, 107 SOUTH HIGH STREET, WAURIKA, OK, 73573                                            US Mail (1st Class)

 43354   JOHN THOMAS SEXTON, 3711 KNOB LICK-WISDOM RD, KNOB LICK, KY, 42154-6305                         US Mail (1st Class)

 43354   JOHN THOMPSON, 2284 TOMPKINSVILLE RD, EDMONTON, KY, 42129-7057                                  US Mail (1st Class)

 43354   JOHN TOOLE, 9550 BARBEE RD, HERNANDO, MS, 38632-7986                                            US Mail (1st Class)

 43354   JOHN WOOD, PO BOX 937, DALHART, TX, 79022-0937                                                  US Mail (1st Class)

 43354   JOHNNY BELL, 108 N GREEN ST, GLASGOW, KY, 42141-2806                                            US Mail (1st Class)

 43354   JOHNNY BELL, 108 NORTH GREEN STREET, GLASGOW, KY, 42141-2806                                    US Mail (1st Class)

 43354   JOHNNY FARRIS, PO BOX 97, ADDINGTON, OK, 73520-0097                                             US Mail (1st Class)

 43354   JOHNNY MAYO JR, PO BOX 317, ELDORADO, TX, 76936-0317                                            US Mail (1st Class)

 43354   JON WASHER, 1308 ALASKA AVE., FORT CAMPBELL, KY, 42223-3513                                     US Mail (1st Class)

 43354   JONATHON ESPARZA, 504 N JOYNER, WILLOW, OK, 73673                                               US Mail (1st Class)

 43354   JOPLIN REGIONAL STOCKYARDS , INC., D/B/A B&M CATTLE CO., PO BOX 634, CARTHAGE, MO, 64836-0634   US Mail (1st Class)

 43354   JOPLIN REGIONAL STOCKYARDS, INC., PO BOX 634, CARTHAGE, MO, 64836-0634                          US Mail (1st Class)

 43354   JOPLIN REGIONAL STOCKYARDS, REGULAR SALE, PO BOX 634, CARTHAGE, MO, 64836-0634                  US Mail (1st Class)




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 43354   JOPLIN STOCKYARDS VIDEO, PO BOX 634, CARTHAGE, MO, 64836-0634                               US Mail (1st Class)

 43354   JOPLIN STOCKYARDS VIDEO, VIDEO SALE, PO BOX 634, CARTHAGE, MO, 64836-0634                   US Mail (1st Class)

 43354   JOSHUA BRIAN LOFTIS, 460 STOCKTON LANE, GAINESBORO, TN, 38562-6101                          US Mail (1st Class)

 43354   JOSHUA PITCOCK, 33 MOORE RD, SUMMER SHADE, KY, 42166-8457                                   US Mail (1st Class)

 43354   JOYCE BARNES, 1715 KAREN CIRCLE, BOWLING GREEN, KY, 42104-3345                              US Mail (1st Class)

 43354   JOYCE LAMB, 600 PRINCETON ST, PROVIDENCE, KY, 42450-1634                                    US Mail (1st Class)

 43354   JR BYARS, 419 BYARS CROSSING, WINFIELD, AL, 35594-4105                                      US Mail (1st Class)

 43354   JUDY CEBELAK, 614 LANE ALLEN RD, LEXINGTON, KY, 40504-3507                                  US Mail (1st Class)

 43354   JULIE PLATT, PO BOX 164, NEW CASTLE, UT, 84756-0164                                         US Mail (1st Class)

 43354   JUNIOR HICKS, RT.1, MT.PARK, OK, 73559                                                      US Mail (1st Class)

 43354   JUNIOR MARTIN, 1233 HOLLOW RD, GLASGOW, KY, 42141-9487                                      US Mail (1st Class)

 43354   JUST-A-BURG`S, 305 N MAIN ST, MARION, KY, 42064-1314                                        US Mail (1st Class)

 43354   JUSTIN GARRETT, 2578 E SR 252, FRANKLIN, IN, 46131-7565                                     US Mail (1st Class)

 43354   JUSTIN POLIFKA, 2099 CO RD 70, QUINTER, KS, 67752-6061                                      US Mail (1st Class)

 43354   JVCO,LLC, 11347 BUSINESS PARK CIRCLE, FIRESTONE, CO, 80504-5270                             US Mail (1st Class)

 43354   K D FARM SERVICES LLC., KEN DAVIS, PO BOX 330, GRANDVIEW, TX, 76050-0330                    US Mail (1st Class)

 43354   KANSAS CITY LIFE INSURANCE CO, PO BOX 219846, KANSAS CITY, MO, 64121-9846                   US Mail (1st Class)

 43354   KD FARM SERVICE, LLC, C/O KEN DAVIS, PO BOX 330, GRANDVIEW, TX, 76050-0330                  US Mail (1st Class)

 43354   KEETON COOPER, 1397 UPPER HILHAM RD, LIVINGSTON, TN, 38570-8147                             US Mail (1st Class)

 43354   KEITH KILMON, 8095 EDMONTON RD, SUMMER SHADE, KY, 42166-8638                                US Mail (1st Class)

 43354   KEITH VARNER, 621 N 17TH, FREDERICK, OK, 73542-3813                                         US Mail (1st Class)

 43354   KELLY JEFFRIES, 471 HUBBARD HARRIS RD, EDMONTON, KY, 42129-6437                             US Mail (1st Class)

 43354   KENDALL BRANSTETTER, 6310 S JACKSON HWY, HORSE CAVE, KY, 42749-7014                         US Mail (1st Class)

 43354   KENERGY CORP, 6402 OLD CORYDON RD, HENDERSON, KY, 42420-9392                                US Mail (1st Class)

 43354   KENNETH BRYANT, 6565 RUSSELL SPRINGS RD, COLUMBIA, KY, 42728-8304                           US Mail (1st Class)

 43354   KENNETH BURTON, RT 1 BOX 83, DEVOL, OK, 73531-9750                                          US Mail (1st Class)

 43354   KENNETH COOK, PO BOX 10, VEGA, TX, 79092-0010                                               US Mail (1st Class)

 43354   KENNETH COWLES, 1690 CHALYBEATE SCHOOL RD, BOWLING GREEN, KY, 42101-8356                    US Mail (1st Class)

 43354   KENNETH FROEDGE, 207 TUNEY GERALDS RD, EDMONTON, KY, 42129-7073                             US Mail (1st Class)

 43354   KENNETH PRITCHARD, 805 SHORT CUT ROAD, HORSE CAVE, KY, 42749-1819                           US Mail (1st Class)

 43354   KENNETH SANDERS, 2487 WINN SCHOOL RD, GLASGOW, KY, 42141-8448                               US Mail (1st Class)

 43354   KENNETH SANDERS, 2487 WIN SCHOOL RD, GLASGOW, KY, 42141-8448                                US Mail (1st Class)

 43354   KENNETH TIMMS, 13723 E APPLE RD, ADAMS, NE, 68301-8780                                      US Mail (1st Class)

 43354   KENNETH WILLIAMS, 677 COUNTY ROAD 373, SHANNON, MS, 38868-9247                              US Mail (1st Class)

 43354   KENNY NOLLEY, 1082 COUNTY ROAD 56, MYRTLE, MS, 38650-9534                                   US Mail (1st Class)

 43354   KENNY OGDEN, 1050 W DADE 72, LOCKWOOD, MO, 65682-7353                                       US Mail (1st Class)

 43354   KENNY PLOWMAN, 1010 TATTLE BRANCH RD, CHILHOWIE, VA, 24319-5470                             US Mail (1st Class)

 43354   KENNY PLOWMAN, VERIZON WIRELESS, PO BOX 25505, CHILHOWIE, VA, 24319                         US Mail (1st Class)

 43354   KENT DONICA, 6862 ST HWY 199, ARDMORE, OK, 73401                                            US Mail (1st Class)

 43354   KENT DONICA, 6862 HWY 199, ARDMORE, OK, 73401                                               US Mail (1st Class)

 43354   KENTUCKIANA ANIMAL CLINIC, 1500 EAST 18TH STREET, OWENSBORO, KY, 42303-1000                 US Mail (1st Class)

 43354   KENTUCKIANA LIVESTOCK MARKET, PO BOX 774, OWENSBORO, KY, 42302-0774                         US Mail (1st Class)

 43354   KENTUCKY AMERICAN WATER, PO BOX 371880, PITTSBURGH, PA, 15250-7880                          US Mail (1st Class)

 43354   KENTUCKY AMERICAN WATER, PO BOX 578, ALTON, IL, 62002-0578                                  US Mail (1st Class)

 43354   KENTUCKY PROUD, 100 FAIR OAKS, FRANKFORT, KY, 40601-1108                                    US Mail (1st Class)

 43354   KERRY GILLEY, 511 WISDOM RD, EDMONTON, KY, 42129-9022                                       US Mail (1st Class)

 43354   KEVIN MANTHEY, 30038 361 AVE, BONESTEEL, SD, 57317-5308                                     US Mail (1st Class)

 43354   KEVIN MARSH, 1770 OLD LEXINGTON RD, CAVE CITY, KY, 42127-9104                               US Mail (1st Class)

 43354   KEVIN SEATZ, LITTLE DRY RUN RD, BUTLER, TN, 37640                                           US Mail (1st Class)

 43354   KEYWOOD ANIMAL CLINIC LLC, PO BOX 2195, 21492 VANCES MILL RD, ABINGDON, VA, 24212-2195      US Mail (1st Class)




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 43354   KIGHTLINGER & GRAY, LLP, WILLIAM E SMITH III, BONTERRA BUILDING, SUITE 200, 3620 BLACKISTON   US Mail (1st Class)
         BOULEVARD, NEW ALBANY, IN, 47150-8538
 43354   KILGORE TRUCK, SATHA KILGORE, 4425 GRAY DRIVE, MACOMB, MO, 65702-9124                         US Mail (1st Class)

 43354   KINSLOW, ROY, 1844 DRIPPING SPRINGS RD, GLASGOW, KY, 42141                                    US Mail (1st Class)

 43354   KINSLOW, WESLEY BOTTS, 2371 DRIPPING SPRINGS RD, GLASGOW, KY, 42141                           US Mail (1st Class)

 43354   KJS INVESTMENTS, 455 COUNTY ROAD 50, GUIN, AL, 35563                                          US Mail (1st Class)

 43354   KNESS TRUCKING INC, C/O JUDITH KNESS, PO BOX 463, CHADWICK, IL, 61014-0463                    US Mail (1st Class)

 43354   KNESS TRUCKING INC., PO BOX 463, CHADWICK, IL, 61014-0463                                     US Mail (1st Class)

 43354   KNOXVILLE LIVESTOCK AUCTION CENTER, 8706 MASCOT ROAD, KNOXVILLE, TN, 37924-1409               US Mail (1st Class)

 43354   KNOXVILLE LVST. CENTER, INC., PO BOX 167, MASCOT, TN, 37806-0167                              US Mail (1st Class)

 43354   KORTH FEEDING, 86678 560 AVE, RANDOLPH, NE, 68771-7137                                        US Mail (1st Class)

 43354   KROGER GARDIS & REGAS, LLP, JAMES A KNAUER, 111 MONUMENT CIR STE 900, INDIANAPOLIS, IN,       US Mail (1st Class)
         46204-5125
 43354   KROPF FARMS, 17718 B ROAD, DELTA, CO, 81416-8503                                              US Mail (1st Class)

 43354   KU, 1 QUALITY STREET, LEXINGTON, KY, 40507-1461                                               US Mail (1st Class)

 43354   KU, PO BOX 539013, ATLANTA, GA, 30353-9013                                                    US Mail (1st Class)

 43354   L H GIBSON, 8310 SUBTLE RD, EDMONTON, KY, 42129-9115                                          US Mail (1st Class)

 43354   L S SUPPLY, INC., 1202 WEST STOCKTON ST., EDMONTON, KY, 42129-8123                            US Mail (1st Class)

 43354   L W MILLER TRUCKING INC., 94 N 400 WEST, NO. SALT LAKE, UT, 84054-2723                        US Mail (1st Class)

 43354   L&F CATTLE, C/O TROY LATHAN & JOE FOOTE, 8365 W FM 217, GATESVILLE, TX, 76528-3253            US Mail (1st Class)

 43354   L&L CATTLE, THE NATIONAL BANK, GATESVILLE, TX, 76528                                          US Mail (1st Class)

 43354   LACY BROTHERS, 2873 LUELLA ROAD, SHERMAN, TX, 75090-5150                                      US Mail (1st Class)

 43354   LANE CATTLE COMPANY, PO BOX 53, BENTON, AL, 36785                                             US Mail (1st Class)

 43354   LANG TRUCKING, LYNN LANG, PO BOX 187, JACKSON, MO, 63755-0187                                 US Mail (1st Class)

 43354   LARRY & PAT SUMMERS, 493 DICKERSON RANCH LN, CONWAY, MO, 65632-8521                           US Mail (1st Class)

 43354   LARRY BRAGG, 305 BRADSHAW RD, AUSTIN, KY, 42123-9713                                          US Mail (1st Class)

 43354   LARRY CARTER, 6007 LONE STAR RIDGE RD, EDMONTON, KY, 42129-9224                               US Mail (1st Class)

 43354   LARRY CONGLETON, 5502 CAMPBELLSBURG RD, CAMPBELLSBURG, KY, 40011-7506                         US Mail (1st Class)

 43354   LARRY HOWARD, PO BOX 824, NEW ALBANY, IN, 47151-0824                                          US Mail (1st Class)

 43354   LARRY KIRBY, 1441 FT CHISWELL RD, MAX MEADOWS, VA, 24360-3015                                 US Mail (1st Class)

 43354   LARRY MEMMOTT, STATE NATIONAL BANK, LAS CRUCES, PO BOX 1542, DEMING, NM, 88031-1542           US Mail (1st Class)

 43354   LARRY NICHOLS, 1008 13TH STREET, SNYDER, OK, 73566-2858                                       US Mail (1st Class)

 43354   LARRY WAYNE CARTER, 6008 LONESTAR RIDGE RD, EDMONTON, KY, 42129                               US Mail (1st Class)

 43354   LARRY WILLIAMS, 225 COUNTY ROAD 141, OKOLONA, MS, 38860-9752                                  US Mail (1st Class)

 43354   LARRY WILLIAMS, 826 GRADY WILLIAMS R, DECHERD, TN, 37324-3949                                 US Mail (1st Class)

 43354   LARRY WOODY, 2245 SANDERS RIDGE RD, COLUMBIA, KY, 42728-9136                                  US Mail (1st Class)

 43354   LARRY WORLEY, 187 WORLEY LOOP, MONROE, TN, 38573-5103                                         US Mail (1st Class)

 43354   LAS ANIMAS TRANSFER, 242 BENT AVENUE, LOS ANIMAS, CO, 81054-1134                              US Mail (1st Class)

 43354   LAS ANIMAS TRANSFER INC., 242 BENT AVE., LAS ANIMAS, CO, 81054-1134                           US Mail (1st Class)

 43354   LAURA ARRIETA, 1129 STOCKWELL LN, EL PASO, TX, 79902-2151                                     US Mail (1st Class)

 43354   LAUREL LIVESTOCK, PO BOX 606, LONDON, KY, 40743-0606                                          US Mail (1st Class)

 43354   LAURI HOGENES, DBA CHASE CATTLE COMPANY, 9621 S 156TH PLACE, GILBERT, AZ, 85234-5020          US Mail (1st Class)

 43354   LAURIE LIVESTOCK LLC, BOB LAURIE, 1404 ATLANTIC CROSSING, FENTON, MO, 63026-6919              US Mail (1st Class)

 43354   LAWRENCE COUNTY TREASURER, 916 15TH ST, STE 27, BEDFORD, IN, 47421-3852                       US Mail (1st Class)

 43354   LAWRENCE COUNTY TREASURER, 916 15TH STREET, STE 27, BEDFORD, IN, 47421-3852                   US Mail (1st Class)

 43354   LAWRENCE O RICHARD, 3151 EDMONTON RD, COLUMBIA, KY, 42728-9493                                US Mail (1st Class)

 43354   LAWRENCE RICHARD, 3151 EDMONTON RD, COLUMBIA, KY, 42728-9493                                  US Mail (1st Class)

 43354   LAZY Y CATTLE & TRANSPORTATION, MARTY BUNDY, PO BOX 1249, ST GEORGE, UT, 84771-1249           US Mail (1st Class)

 43354   LC CATTLE CO., COX, PO BOX 679, WICHITA, KS, 67201-0679                                       US Mail (1st Class)

 43354   LC CATTLE CO., VERIZON WIRELESS, PO BOX 105378, ATLANTA, GA, 30348-5378                       US Mail (1st Class)

 43354   LELAND DOUGLAS GLASS, 1814 HISEVILLE PARK RD, CAVE CITY, KY, 42127-8750                       US Mail (1st Class)



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 43354   LELAND GLASS, 1814 HISEVILLE PARK RD, CAVE CITY, KY, 42127-8750                                US Mail (1st Class)

 43354   LEN MILLER, 1949 ROOSEVELT RD 1 NORTH, PORTALES, NM, 88130-9026                                US Mail (1st Class)

 43354   LENICE H GIBSON, 8310 SUBTLE RD, EDMONTON, KY, 42129-9115                                      US Mail (1st Class)

 43354   LENNY ASBURY, 650 MAHOGANY LANE, HARDYVILLE, KY, 42746-8108                                    US Mail (1st Class)

 43354   LEON BOGARD, PO BOX 403, MCALESTER, OK, 74502-0403                                             US Mail (1st Class)

 43354   LEON BOGARD TRUCKING, 2003 N SPRUCE, MCALESTER, OK, 74501-3017                                 US Mail (1st Class)

 43354   LEON ISENBERG, 4942 EDMONTON ROAD, TOMPKINSVILLE, KY, 42167-9411                               US Mail (1st Class)

 43354   LEONARD CLIFTON SMITH, 1133 BROWN ROAD, PARK CITY, KY, 42160-7831                              US Mail (1st Class)

 43354   LEONARD SMITH, 1321 BROWN RD, PARK CITY, KY, 42160-7833                                        US Mail (1st Class)

 43354   LEWIS RANDALL RICHARD, 2557 RICHARD HOLLOW RD, COLUMBIA, KY, 42728-7547                        US Mail (1st Class)

 43354   LEXINGTON FAYETTE URBAN, COUNTY GOVERNMENT, 200 E MAIN ST., LEXINGTON, KY, 40507-1310          US Mail (1st Class)

 43354   LHL PARTNERSHIP, 216 PASEO DE VIDA ST, ALTUS, OK, 73521-2136                                   US Mail (1st Class)

 43354   LINDA C WILSON, 399 WEED-KELTNER, EDMONTON, KY, 42129-8820                                     US Mail (1st Class)

 43354   LINDA WILSON, 399 WEED KELTNER RD, EDMONTON, KY, 42129-8820                                    US Mail (1st Class)

 43354   LINDEN STOCKYARD INC., PO BOX 480160, LINDEN, AL, 36748-0160                                   US Mail (1st Class)

 43354   LINDSAY FARM, LIPSCOMB BROS LS MKT,INC., PO BOX 383, COMO, MS, 38619-0383                      US Mail (1st Class)

 43354   LIPSCOMB BROS LIVESTOCK MARKET, PO BOX 383, COMO, MS, 38619-0383                               US Mail (1st Class)

 43354   LIVESTOCK DISPATCH SERVICE, STEVE HENDERSHOT, PO BOX 133, LA PORTE CITY, IA, 50651-0133        US Mail (1st Class)

 43354   LIVINGSTON STOCKYARD, C/O WILLIAM TINSLEY, PO BOX 398, LIVINGSTON, AL, 35470-0398              US Mail (1st Class)

 43354   LIVINGSTON STOCKYARDS, PO BOX 398, LIVINGSTON, AL, 35470-0398                                  US Mail (1st Class)

 43354   LOBRING & ASSOCIATES, L L P, KAREN L LOBRING, 5977 W ST RD 252, EDINBURGH, IN, 46124-9409      US Mail (1st Class)

 43354   LOFTIS FARM, 460 STOCKTON LANE, GAINESBORO, TN, 38562-6101                                     US Mail (1st Class)

 43354   LONDON IMPRESSIONS, 921 BEASLEY STREET SUITE 220, LEXINGTON, KY, 40509-4119                    US Mail (1st Class)

 43354   LONE OAK FEEDERS INC., PO BOX 1949, STEPHENVILLE, TX, 76401-0019                               US Mail (1st Class)

 43354   LONG FARM, 992 MORRISON PARK RD, GLASGOW, KY, 42141-8370                                       US Mail (1st Class)

 43354   LONG FARMS, 992 MORRISON PARK RD, C/O KEITH LONG, GLASGOW, KY, 42141-8370                      US Mail (1st Class)

 43354   LOUIS CERNOCH, JR, 6711 GREEN MEADOW LN, TERRELL, TX, 75160-0160                               US Mail (1st Class)

 43354   LOUISIANA SECRETARY OF STATE, UCC DIVISION/CENTRAL REGISTRY, PO BOX 94125, BATON ROUGE,        US Mail (1st Class)
         LA, 70804-9125
 43354   LOUISVILLE GEEK, 3900 SHELBYVILLE RD #12, LOUISVILLE, KY, 40207-3133                           US Mail (1st Class)

 43354   LOUISVILLE GEEK, 3900 SHELBYVILLE RD, SUITE 12, LOUISVILLE, KY, 40207-3133                     US Mail (1st Class)

 43354   LOVELL, LOVELL, NEWSON & ISERN, LLP, JOHN HUNT LOVELL, 112 W 8TH AVENUE, SUITE 1000,           US Mail (1st Class)
         AMARILLO, TX, 79101-2343
 43354   LOWBORN, ARTHUR, RT 2, ALBANY, KY, 42602                                                       US Mail (1st Class)

 43354   LOWHORN, ARTHUR, 3160 LETTERED OAK RD, ALBANY, KY, 42602                                       US Mail (1st Class)

 43354   LOYD DALE PAGE, 9253 EDMONTON RD, SUMMER SHADE, KY, 42166-8669                                 US Mail (1st Class)

 43354   LUIS CERNOCH, 6711 GREEN MEADOW LANE, TERRELL, TX, 75160-0160                                  US Mail (1st Class)

 43354   LUKE HOOVER, 1540 TRESS SHOP RD, TRENTON, KY, 42286-9720                                       US Mail (1st Class)

 43354   LW MILLER LIVESTOCK INC, 94 N 400 W, NORTH SALT LAKE, UT, 84054-2723                           US Mail (1st Class)

 43354   LYNN D HIRSCH, 502 LOCUST LANE, SHELBYVILLE, KY, 40065-9700                                    US Mail (1st Class)

 43354   LYNN HIRSCH, 502 LOCUST LANE, SHELBYVILLE, KY, 40065-9700                                      US Mail (1st Class)

 43354   LYTLE STREET DEVELOPMENT LLC, 1416 LYTLE STREET, LOUISVILLE, KY, 40203-1326                    US Mail (1st Class)

 43354   M & H LAND & CATTLE, RT #1, CHATTANOOGA, OK, 73528                                             US Mail (1st Class)

 43354   M C MERRITT, 1495 CR 51, MYRTLE, MS, 38650-9609                                                US Mail (1st Class)

 43354   M LARSON TRANSFER, 800 COUNTY RD C, OAKLAND, NE, 68045                                         US Mail (1st Class)

 43354   M W BORDA TRUCKING, MARK BORDA, PO BOX 461, TABERNASH, CO, 80478-0461                          US Mail (1st Class)

 43354   MAC`S VET SUPPLY, LLC, 601 FRONT ST, MONETT, MO, 65708-2151                                    US Mail (1st Class)

 43354   MACON STOCKYARD, PO BOX 476, MACON, MS, 39341-0476                                             US Mail (1st Class)

 43354   MACON STOCKYARD, INC., PO BOX 476; 12409 HWY 145, MACON, MS, 39341-0476                        US Mail (1st Class)

 43354   MADISON A WELCH, 4030 N 900 E, LAFAYETTE, IN, 47905-9673                                       US Mail (1st Class)

 43354   MADISON WELCH, 4030 N 900 E, LAFAYETTE, IN, 47905-9673                                         US Mail (1st Class)



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 43354   MANION, JIMMY, 107 INDIE CR, GLASGOW, KY, 42141                                                US Mail (1st Class)

 43354   MANION, JIMMY W, 107 INDIE CIR, GLASGOW, KY, 42141                                             US Mail (1st Class)

 43354   MARCIA CLOUD, 2078 WHITNEY WOODS RD, CAVE CITY, KY, 42127-9332                                 US Mail (1st Class)

 43354   MARCIA CLOYD, 2078 WHITNEY WOODS RD, CAVE CITY, KY, 42127-9332                                 US Mail (1st Class)

 43354   MARION BRADFORD, PO BOX 771, GLASGOW, KY, 42142-0771                                           US Mail (1st Class)

 43354   MARION BRADFORD, 197 HIDDEN LAKE RD, HENDERSONVILLE, TN, 37075-5528                            US Mail (1st Class)

 43354   MARION MILLER, 30143 KAPOK DR, STARK CITY, MO, 64866-8175                                      US Mail (1st Class)

 43354   MARION WATER & SEWER, 217 SOUTH MAIN STREET, MARION, KY, 42064-1541                            US Mail (1st Class)

 43354   MARK A ROBINSON, VALENTI HANLEY & ROBINSON, PLLC, 401 W MAIN ST, 1950 ONE RIVERFRONT,          US Mail (1st Class)
         LOUISVILLE, KY, 40202-2948
 43354   MARK EDMONDS, 1177 BELTLINE RD MS 5001M, COPPELL, TX, 75019-4642                               US Mail (1st Class)

 43354   MARK FAUGHN, 10595 HWY 902E, FREDONIA, KY, 42411-9787                                          US Mail (1st Class)

 43354   MARK FREEMAN, 227 70 RD, PONCA CITY, OK, 74604-6136                                            US Mail (1st Class)

 43354   MARK GLASGOW, ROUTE 1, BOX 236A, TEMPLE, OK, 73568-9610                                        US Mail (1st Class)

 43354   MARK GUTHRIE, 5120 PRALL HILL RD, HENRYVILLE, IN, 47126-8825                                   US Mail (1st Class)

 43354   MARK SHIRLEY, 2127 CAVE RIDGE NEW LIBERTY RD, KNOB LICK, KY, 42154-6312                        US Mail (1st Class)

 43354   MARK VAUGHN, 2441 POLLY BELL ROAD, PHEBA, MS, 39755-9522                                       US Mail (1st Class)

 43354   MARK W SHIRLEY, 2127 CAVE RIDGE NEW LIBERTY RD, KNOB LICK, KY, 42154-6312                      US Mail (1st Class)

 43354   MARK WAYNE RICHMOND, 5121 OAK RIDGE RD, RAVENDEN SPRINGS, AR, 72460-9311                       US Mail (1st Class)

 43354   MARK WHITE, PO BOX 306, GUNTOWN, MS, 38849-0306                                                US Mail (1st Class)

 43354   MARON WATER & SEWER DEPT., 217 SOUTH MAIN ST, MARION, KY, 42064-1541                           US Mail (1st Class)

 43354   MARTIN BROS, 3160 N JACKSON HWY, CANMER, KY, 42722-9437                                        US Mail (1st Class)

 43354   MARTIN FARMS INC, C/O BOBBY MARTIN, 3160 N JACKSON HWY, CANMER, KY, 42722-9437                 US Mail (1st Class)

 43354   MARTIN, JUNIOR, 1233 HOLLOW RD, GLASGOW, KY, 42141-9487                                        US Mail (1st Class)

 43354   MARVIN CRISWELL LVSTK & TRUCKG, CRISWELL, INC., 2310 45 BYPASS, TRENTON, TN, 38382             US Mail (1st Class)

 43354   MATT ELLER, PO BOX 570, OKOLONA, MS, 38860-0570                                                US Mail (1st Class)

 43354   MATT WILLIAMS, 269 LAWRENCE 2140, SARCOXIE, MO, 64862-8255                                     US Mail (1st Class)

 43354   MATTHEW CAMERON WHITE, 577 JAMESTOWN HWY, LIVINGSTON, TN, 38570-8609                           US Mail (1st Class)

 43354   MATTHEW PARRISH GIBSON, 7827 TANDY RD, LANESVILLE, IN, 47136-9645                              US Mail (1st Class)

 43354   MATTHEW WHITE, 577 JAMESTOWN HWY, LIVINGSTON, TN, 38570-8609                                   US Mail (1st Class)

 43354   MAXIE HARLAN, 402 W 5TH ST., TOMPKINSVILLE, KY, 42167-1310                                     US Mail (1st Class)

 43354   MAXINE MORGAN, 3965 LAWSON BOTTOM RD, BURKESVILLE, KY, 42717-9530                              US Mail (1st Class)

 43354   MAXINE MORGAN ESTATE, 3965 LAWSON BOTTOM RD, BURKESVILLE, KY, 42717-9530                       US Mail (1st Class)

 43354   MAYDEL WHITLOW, PHILLI WHITLOW RD, SUMMER SHADE, KY, 42166                                     US Mail (1st Class)

 43354   MAYDELL WHITLOW, 634 PHILIP WHITLOW RD, SUMMER SHADE, KY, 42166-9023                           US Mail (1st Class)

 43354   MAYFIELD, CRUTCHER & SHARPEE, KIRK CRUTCHER, 320 S POLK, SUITE 400, AMARILLO, TX, 79101-1426   US Mail (1st Class)

 43354   MCAFEE & TAFT A PROFESSIONAL CORPORATION, ROSS A PLOURDE, 10TH FLOOR, TWO LEADERSHIP           US Mail (1st Class)
         SQUARE, 211 N ROBINSON, OKLAHOMA CITY, OK, 73102-7109
 43354   MCCUBBIN FARM, 2075 SPURLINGTON RD, CAMPBELLSVILLE, KY, 42718-7260                             US Mail (1st Class)

 43354   MCDONALD VETERINARY CLINIC, 7749 EAST US 150, HARDINSBURG, IN, 47125-6491                      US Mail (1st Class)

 43354   MCI, 27732 NETWORK PLACE, BR 15 - LEXINGTON, CHICAGO, IL, 60673-1277                           US Mail (1st Class)

 43354   MCPHAIL LAND & CATTLE, 15888 N 2235 RD, MT. PARK, OK, 73559-5025                               US Mail (1st Class)

 43354   MCPHAIL LAND & CATTLE, ROUTE 1, BOX 106, MT PARK, OK, 73559                                    US Mail (1st Class)

 43354   MCPHAIL LAND & CATTLE, STOCKMAN`S BANK, ROUTE 1, BOX 106, MT PARK, OK, 73559                   US Mail (1st Class)

 43354   MCWHORTER, COBB & JOHNSON, LLP, TIMOTHY T PRIDMORE, 1722 BROADWAY, LUBBOCK, TX, 79401-         US Mail (1st Class)
         3093
 43354   MCWHORTER, COBB & JOHNSON, LLP, TODD J JOHNSTON, 1722 BROADWAY, LUBBOCK, TX, 79401-3093        US Mail (1st Class)

 43354   MERIDIAN STOCKYARD, PO BOX 581, MERIDIAN, MS, 39302-0581                                       US Mail (1st Class)

 43354   MERIDIAN STOCKYARDS, INC., PO BOX 581, MERIDIAN, MS, 39302-0581                                US Mail (1st Class)

 43354   METCALF COUNTY SHERIFF`S DEPARTMENT, PROPERTY TAX DIVISION, PO BOX 371, EDMONTON, KY,          US Mail (1st Class)
         42129-0371
 43354   METCALFE CO SHERIFF DEPT, PROPERTY TAX DIVISION, PO BOX 371, EDMONTON, KY, 42129-0371          US Mail (1st Class)


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 43354   MFA OIL & PROPANE, 2738 E KEARNEY ST, SPRINGFIELD, MO, 65803-4914                            US Mail (1st Class)

 43354   MICHAEL EMBERTON, 1491 SULPHUR LICK RD, TOMPKINSVILLE, KY, 42167-7051                        US Mail (1st Class)

 43354   MICHAEL PAGE, 1310 COUNTY HOUSE RD, TOMPKINSVILLE, KY, 42167                                 US Mail (1st Class)

 43354   MICHAEL PERRY TRAVIS, 208 OAK STREET, MARION, KY, 42064-1630                                 US Mail (1st Class)

 43354   MICHAEL WADE LOULA, RT 1 BOX 50, COLONY, OK, 73021-9631                                      US Mail (1st Class)

 43354   MID STATE STOCKYARDS, LLP, PO BOX 210, LETOHATCHEE, AL, 36047-0210                           US Mail (1st Class)

 43354   MID STATE WASTE, PO BOX 2068, GLASGOW, KY, 42142-2068                                        US Mail (1st Class)

 43354   MIDDLETON, JERRY, 1108 W RIDGE AVE, MCALESTER, OK, 74501                                     US Mail (1st Class)

 43354   MID-KENTUCKY LIVESTOCK MARKET, PO BOX 134, UPTON, KY, 42784-0134                             US Mail (1st Class)

 43354   MID-SOUTH LIVESTOCK CENTER, LLC, PO BOX 3033, LEBANON, TN, 37088-3033                        US Mail (1st Class)

 43354   MIDWESTERN CATTLE MARKETING, 2853 RD 121, SIDNEY, NE, 69162-3327                             US Mail (1st Class)

 43354   MIDWESTERN INSURANCE ALLIANCE, PO BOX 436909, LOUISVILLE, KY, 40253-6909                     US Mail (1st Class)

 43354   MIKE & CLAY GAINES, 133 TAFF ROAD, TAYLORSVILLE, GA, 30178-1812                              US Mail (1st Class)

 43354   MIKE BRADBURY, TEXAS BANK, 4304 JOHN REAGAN, MARSHALL, TX, 75672-2522                        US Mail (1st Class)

 43354   MIKE BURGESS, 360 CHEROKEE ROAD, LUCAS, KY, 42156-9353                                       US Mail (1st Class)

 43354   MIKE CARTER, 3899 N 372 RD, HOLDENVILLE, OK, 74848-9452                                      US Mail (1st Class)

 43354   MIKE CRIBBS, 1360 E 410TH RD, BOLIVAR, MO, 65613-8367                                        US Mail (1st Class)

 43354   MIKE LOULA, FARM CREDIT, COLONY, OK, 73021                                                   US Mail (1st Class)

 43354   MIKE LOY, 668 P D PYLES ROAD, COLUMBIA, KY, 42728-9455                                       US Mail (1st Class)

 43354   MIKE LUKE, 4845 COOK BOATDOCK RD, BAXTER, TN, 38544-4903                                     US Mail (1st Class)

 43354   MIKE LUKE, 4845 COOKEVILLE BOATDOCK RD, BAXTER, TN, 38544-4903                               US Mail (1st Class)

 43354   MIKE SMITH, 339 EUCLATUBBA RD, GUNTOWN, MS, 38849-4506                                       US Mail (1st Class)

 43354   MIKE TRAVIS, 208 OAK STREET, MARION, KY, 42064-1630                                          US Mail (1st Class)

 43354   MIKE WHITE, 177 BREEDING ROAD, EDMONTON, KY, 42129-8915                                      US Mail (1st Class)

 43354   MILES SPURLING, 2120 SPURLINGTON RD, CAMPBELLSVILLE, KY, 42718-7261                          US Mail (1st Class)

 43354   MILLIGAN FARMS, 651 GRASSY SPRINGS RD, COLUMBIA, KY, 42728-8374                              US Mail (1st Class)

 43354   MILLIGAN FARMS, 590 MUD COLLEGE, HARTFORD, KY, 42347-9584                                    US Mail (1st Class)

 43354   MILTON SHEPARD, 625 W EGYPT RD, COLUMBIA, KY, 42728-9056                                     US Mail (1st Class)

 43354   MITCH WORRELL, 20404 E COUNTY RD 166, ALTUS, OK, 73521-8013                                  US Mail (1st Class)

 43354   MITCHELL KINSER, 2991 JIM GLOVER RD, GLASGOW, KY, 42141-9447                                 US Mail (1st Class)

 43354   MITCHELL KINZER, 2991 JIM GLOVER RD, GLASGOW, KY, 42141-9447                                 US Mail (1st Class)

 43354   MITCHELL LIVESTOCK AUCTION, INC, PO BOX 516, MITCHELL, SD, 57301-0516                        US Mail (1st Class)

 43354   MOCK BROTHERS CATTLE CO., PO BOX 858, ALTUS, OK, 73522-0858                                  US Mail (1st Class)

 43354   MONTANA SECRETARY OF STATE, LINDA MCCULLOCH, PO BOX 202801, HELENA, MT, 59620-2801           US Mail (1st Class)

 43354   MONTE HAIAR, R R.1, BOX 2, FAIRFAX, SD, 57335                                                US Mail (1st Class)

 43354   MONTGOMERY STOCK YARD, INC., PO BOX 250108, MONTGOMERY, AL, 36125-0108                       US Mail (1st Class)

 43354   MOOSE SULIVAN, 5241 RICKMAN RD, COOKEVILLE, TN, 38506-7725                                   US Mail (1st Class)

 43354   MOOSE SULLIVAN (LEONARD), 5241 RICKMAN RD, COOKEVILLE, TN, 38506-7725                        US Mail (1st Class)

 43354   MORENO MEDINA, GABRIEL, THE LAW OFFICES OF STEPHEN H NICKEY PC, 1201 N MESA, STE B, EL       US Mail (1st Class)
         PASO, TX, 79902
 43354   MORGAN LIVESTOCK LLC, RANDALL MORGAN, PO BOX 196, TRENTON, KY, 42286-0196                    US Mail (1st Class)

 43354   MOSELEY CATTLE AUCTION, LLC, 1044 ARLINGTON AVENUE, BLAKELY, GA, 39823-2362                  US Mail (1st Class)

 43354   MOSELEY CATTLE CO & 1ST BANK, 25934 AL HWY 25, FAUNSDALE, AL, 36738-3139                     US Mail (1st Class)

 43354   MOSLEY CATTLE AUCTION LLC, PO BOX 548, BLAKELY, GA, 39823-0548                               US Mail (1st Class)

 43354   MOSLEY CATTLE AUCTION, LLC, 1044 ARLINGTON AVE., BLAKELY, GA, 39823-2362                     US Mail (1st Class)

 43354   MOULTON STOCKYARD, INC., C/O WILLIAM WHITESHELL, 13130 AL HWY 157, MOULTON, AL, 35650-3703   US Mail (1st Class)

 43354   MOULTON STOCKYARDS, 13130 ALABAMA HWY 157, MOULTON, AL, 35650-3703                           US Mail (1st Class)

 43354   MOUNTAIN VALLEY, 615 WALNUT STREET, JEFFERSONVILLE, IN, 47130-3624                           US Mail (1st Class)

 43354   MOYE WHITE LLP, (C)MATTHEW J OCHS, 1400 16TH ST STE 600, DENVER, CO, 80202-1486              US Mail (1st Class)

 43354   MOYE WHITE LLP, MATTHEW J OCHS, 1400 16TH STREET, 6TH FLOOR, DENVER, CO, 80202               US Mail (1st Class)

 43354   MULDER TRUCKING INC, PO BOX 205, DOON, IA, 51235-0205                                        US Mail (1st Class)


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 43354   MULL FARMS & FEEDING, RT 1 BOX 74, PAWNEE ROCK, KS, 67567                                       US Mail (1st Class)

 43354   MYATT, TATE, 2163 POPLAR SPRING RD, GLASGOW, KY, 42141-7859                                     US Mail (1st Class)

 43354   MYLES SPURLING, 2120 SPURLINGTON RD, CAMPBELLSVILLE, KY, 42718-7261                             US Mail (1st Class)

 43354   NAMAN HOWELL SMI9TH & LEE, PLLC, DAVID L LEBAS, 8310 N.CAPITAL OF TEXAS HIGHWAY,SUITE490,       US Mail (1st Class)
         AUSTIN, TX, 78731-1081
 43354   NANCE FLORAL SHOPPE, INC., 624 E SPRING ST., NEW ALBANY, IN, 47150-2994                         US Mail (1st Class)

 43354   NASH, CLEVELAND, & GODFREY DVM - PSC, 3260 HARRODSBURG ROAD, DANVILLE, KY, 40422-9242           US Mail (1st Class)

 43354   NATHAN ACREE, 175 DONALD HURT ROAD, SUMMER SHADE, KY, 42166-7600                                US Mail (1st Class)

 43354   NATHAN NICHOLS, 21767 E 1580 RD, MT. PARK, OK, 73559-5040                                       US Mail (1st Class)

 43354   NATIONAL BANK OF GATESVILLE, DICK WALLACE, 8045 FM RD 182, GATESVILLE, TX, 76528-3433           US Mail (1st Class)

 43354   NATIONAL CATTLEMEN`S BEEF ASSOCIATION, C/O ALICE DEVINE, 6031 SW 37TH ST., TOPEKA, KS, 66614-   US Mail (1st Class)
         5128
 43354   NATURAL BRIDGE STOCKYARD, 1987 CO RD 1422, CULLMAN, AL, 35058-2013                              US Mail (1st Class)

 43354   NATURAL BRIDGE STOCKYARD, PO BOX 401, NATURAL BRIDGE, AL, 35577-0401                            US Mail (1st Class)

 43354   NEAT, BILLY, 705 B NEAT RD, COLUMBIA, KY, 42728                                                 US Mail (1st Class)

 43354   NEAT, DENNIS, 6198 BURKSVILE RD, COLUMBIA, KY, 42728                                            US Mail (1st Class)

 43354   NELSON TRUCKING INC, JEFFEREY NELSON, 2547 COLD SPRING RD, MOUNTAIN CITY, TN, 37683-8026        US Mail (1st Class)

 43354   NELSON TRUCKING INC, JEFFEREY NELSON, 2547 COLD SPRING ROAD, MOUNTAIN CITY, TN, 37683-8026      US Mail (1st Class)

 43354   NEW ALBANY MUNICIPAL UTILITIES, CITY COUNTY BUILDING, 311 HAUSS SQUARE RM 309, NEW              US Mail (1st Class)
         ALBANY, IN, 47150-3570
 43354   NEW ALBANY MUNICIPAL UTILITIES, PO BOX 909, NEW ALBANY, IN, 47151-0909                          US Mail (1st Class)

 43354   NICHOLS LIVESTOCK, 21767 E 1580 RD, MT. PARK, OK, 73559-5040                                    US Mail (1st Class)

 43354   NICK`S PEST MANAGEMENT, 80 CURTIS MINE RD, MADISONVILLE, KY, 42431-9378                         US Mail (1st Class)

 43354   NOLAN HENDERSON, PO BOX 64, TEHUACANA, TX, 76686-0064                                           US Mail (1st Class)

 43354   NORA P DEAN, 916 THUNDERBIRD, EL PASO, TX, 79912-3427                                           US Mail (1st Class)

 43354   NORTH FLORIDA FARMERS L S, PO BOX 3235, LAKE CITY, FL, 32056-3235                               US Mail (1st Class)

 43354   NORTHEAST GEORGIA LIVESTOCK, P O.BOX 80062, ATHENS, GA, 30608-0062                              US Mail (1st Class)

 43354   NORTHERN LIVESTOCK VIDEO, 2443 N FRONTAGE RD, BILLINGS, MT, 59101-7361                          US Mail (1st Class)

 43354   NORTHERN LIVESTOCK VIDEO AUCTION, 2443 N, FRONTAGE RD, BILLINGS, MT, 59101-7361                 US Mail (1st Class)

 43354   NORTHWEST ALABAMA LIVESTOCK AUCTION, PO BOX 459, RUSSELLVILLE, AL, 35653-0459                   US Mail (1st Class)

 43354   NUTECH, INC, 518 ROAD 9, SCHICKLEY, NE, 68436-4029                                              US Mail (1st Class)

 43354   NU-TECHNOLOGIES, 9203 VALARETTA DR, GRETNA, NE, 68028-3617                                      US Mail (1st Class)

 43354   OAKLAKE CATTLE COMPANY, PO BOX 1284, OKEECHOBEE, FL, 34973-1284                                 US Mail (1st Class)

 43354   OCALA LIVESTOCK MARKET, PO BOX 539, LOWELL, FL, 32663-0539                                      US Mail (1st Class)

 43354   OCALA LIVESTOCK MARKET, C/O MICHAEL A YEOMANS, PO BOX 539, LOWELL, FL, 32663-0539               US Mail (1st Class)

 43354   OCE IMAGISTICS, INC., 7555 E HAMPDEN AVENUE, SUITE 200, DENVER, CO, 80231-4833                  US Mail (1st Class)

 43354   ODLE, WILLARD R, 491 GOODLUCK BEAUMONT RD, EDMONTON, KY, 42129-9235                             US Mail (1st Class)

 43354   OFFICE DEPOT, PO BOX 88040, CHICAGO, IL, 60680-1040                                             US Mail (1st Class)

 43354   OFFICE OF U S TRUSTEE, CHARLES R WHARTON, 101 W OHIO ST STE 1000, INDIANAPOLIS, IN, 46204-      US Mail (1st Class)
         1982
 43354   OHIO DEPT. OF AGRICULTURE, DIVISION OF ANIMAL INDUSTRY, 8995 EAST MAIN STREET,                  US Mail (1st Class)
         REYNOLDSBURG, OH, 43068-3342
 43354   OKEECHOBEE LIVESTOCK MARKET, INC., PO BOX 1288, OKEECHOBEE, FL, 34973-1288                      US Mail (1st Class)

 43354   OKEECHOBEE LIVESTOCK MKT, PO BOX 1288, OKEECHOBEE, FL, 34973-1288                               US Mail (1st Class)

 43354   OLLERICH TRUCKING, JERRY OLLERICH, 46884 267 STREET, SIOUX FALLS, SD, 57106-7000                US Mail (1st Class)

 43354   OMAN CATTLE FEEDERS, ROUTE 1, BOX 94, AVOCA, TX, 79503                                          US Mail (1st Class)

 43354   ORENDER TRUCK LINE, INC, 7562 WEST 349TH STREET, LEBO, KS, 66856-9355                           US Mail (1st Class)

 43354   OSBOND COPHER, 1280 PEASTICKS RD, OWINGSVILLE, KY, 40360-8848                                   US Mail (1st Class)

 43354   OZARK ELECTRIC COOPERATIVE, PO BOX 420, MOUNT VERNON, MO, 65712-0420                            US Mail (1st Class)

 43354   OZARK ELECTRIC COOPERATIVE, INC, PO BOX 420, MT. VERNON, MO, 65712-0420                         US Mail (1st Class)

 43354   OZARK REGIONAL STOCKYARD INC, PO BOX 928, WEST PLAINS, MO, 65775-0928                           US Mail (1st Class)

 43354   OZARKS REGIONAL STOCKYARDS, INC, PO BOX 928, WEST PLAINS, MO, 65775-0928                        US Mail (1st Class)



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 43354   PACIFIC LIFE INSURANCE CO., TRI STATE REGIONAL LIFE OFFICE, 625 EDEN PARK DR #850, CINCINNATI,   US Mail (1st Class)
         OH, 45202-6016
 43354   PAM FERGURSON, 2535 MEETING CREEK RD, EASTVIEW, KY, 42732-8715                                   US Mail (1st Class)

 43354   PAMELA GIBSON, 8843 TANDY RD, LANESVILLE, IN, 47136-8733                                         US Mail (1st Class)

 43354   PARKS LIVESTOCK INC, BOX 429, OAKWOOD, IL, 61858-0429                                            US Mail (1st Class)

 43354   PATRICK L GAINES, ROUTE 2, BOX 144A, WAURIKA, OK, 73573-9636                                     US Mail (1st Class)

 43354   PATTON, TERRY, 1224 NEW CONCORD RD, COLUMBIA, KY, 42728-8220                                     US Mail (1st Class)

 43354   PAUL GEORGE, 70 ROBERTS ROAD, WATERTOWN, TN, 37184-4422                                          US Mail (1st Class)

 43354   PAUL KROPF, 574 BLUE BAYOU ROAD S, NASHVILLE, AR, 71852-7569                                     US Mail (1st Class)

 43354   PAUL LANGFORD, ROUTE 1, BOX 57, WALTERS, OK, 73572-9740                                          US Mail (1st Class)

 43354   PBI BANK, PO BOX 549, GLASGOW, KY, 42142-0549                                                    US Mail (1st Class)

 43354   PEGGY CARY, 1321 BROWN RD, PARK CITY, KY, 42160-7833                                             US Mail (1st Class)

 43354   PEGGY SMITH CAREY, 1321 BROWN ROAD, PARK CITY, KY, 42160-7833                                    US Mail (1st Class)

 43354   PEOPLES LIVESTOCK AUCTION, PO BOX 268, HOUSTON, MS, 38851-0268                                   US Mail (1st Class)

 43354   PEOPLES STOCKYARD, PO BOX 3064, COOKEVILLE, TN, 38502-3064                                       US Mail (1st Class)

 43354   PHELPS, RACHAEL, 3133 LAWSON BOTTOM RD, BURKESVILLE, KY, 42717-9511                              US Mail (1st Class)

 43354   PHIL CLEVENGER, 10653 HWY 127, SWEET SPRINGS, MO, 65351-2115                                     US Mail (1st Class)

 43354   PHIL HEWITT, 2350 WILKES HOLLOW RD, LYNNVILLE, TN, 38472-7004                                    US Mail (1st Class)

 43354   PHIL MULDER TRUCKING INC, PO BOX 205, DOON, IA, 51235                                            US Mail (1st Class)

 43354   PHIL MULDER TRUCKING, INC., PO BOX 205 MAIN ST., DOON, IA, 51235-0205                            US Mail (1st Class)

 43354   PHILIP WHITLOW, 634 PHILIP WHITLOW RD, SUMMER SHADE, KY, 42166-9023                              US Mail (1st Class)

 43354   PHILLIP E MARTIN, 6853 FAIRVIEW RD, COOKEVILLE, TN, 38501-9715                                   US Mail (1st Class)

 43354   PHILLIP GRAY, 3448 PARK CITY BON AYR RD, PARK CITY, KY, 42160-7812                               US Mail (1st Class)

 43354   PHILLIP L RICHEY, 111 J W YORK RD, SCOTTSVILLE, KY, 42164-7502                                   US Mail (1st Class)

 43354   PHILLIP MARTIN LIVESTOCK, 6853 FAIRVIEW ROAD, COOKEVILLE, TN, 38501-9715                         US Mail (1st Class)

 43354   PHILLIP NATHAN ACREE, 175 DONALD HURT RD, SUMMER SHADE, KY, 42166-7600                           US Mail (1st Class)

 43354   PHILLIP RICHEY, 111 YORK RD, SCOTTSVILLE, KY, 42164-7502                                         US Mail (1st Class)

 43354   PHILLIP SIMS TRUCKING LLC, 35147 COUNTY ROAD 42, OTIS, CO, 80743-9554                            US Mail (1st Class)

 43354   PHILLIP TAYLOR REED, 21 REED RD, FORAKER, OK, 74652-5168                                         US Mail (1st Class)

 43354   PHILLIP WHITLOW, 476 P WHITLOW ROAD, SUMMER SHADE, KY, 42166                                     US Mail (1st Class)

 43354   PHILLIP`S FARMS, C/O TERRY H PHILLIPS, JR, 560 MONTEREY HWY, LIVINGSTON, TN, 38570-8748          US Mail (1st Class)

 43354   PIEDMONT LIVESTOCK INC., C/O JOSEPH R JONES, PO BOX 217, ALTAMAHAW, NC, 27202-0217               US Mail (1st Class)

 43354   PIEDMONT LIVESTOCK, INC., PO BOX 217, ALTAMAHAW, NC, 27202-0217                                  US Mail (1st Class)

 43354   PIERCE LANE, PO BOX 53, BENTON, AL, 36785                                                        US Mail (1st Class)

 43354   PINE RIDGE FARM, PO BOX 7594 HWY 55 S, COLUMBIA, KY, 42728                                       US Mail (1st Class)

 43354   PINE RIDGE FARM, 1160 THE RIDINGS, WINCHESTER, KY, 40391-8205                                    US Mail (1st Class)

 43354   PINE RIDGE FARM, C/O JIMMIE BRUMMETT, 7594 HWY 55 SOUTH, GLENS FORK, KY, 42741                   US Mail (1st Class)

 43354   PLATT LIVESTOCK LLC, PO BOX 164, NEW CASTLE, UT, 84756                                           US Mail (1st Class)

 43354   PLATT LIVESTOCK, LLC, PO BOX 164, NEW CASTLE, UT, 84756-0164                                     US Mail (1st Class)

 43354   POE BROTHERS, 8171 HIGHWAY 41, PONTOTOC, MS, 38863-9767                                          US Mail (1st Class)

 43354   PONTOTOC STOCKYARD, PO BOX 1026, PONTOTOC, MS, 38863-1026                                        US Mail (1st Class)

 43354   PONTOTOC STOCKYARD, C/O RON HERNDON, PO BOX 1026, PONTOTOC, MS, 38863-1026                       US Mail (1st Class)

 43354   POWELL, JC, PO BOX 1389, LANDALE, TX, 75771-1380                                                 US Mail (1st Class)

 43354   PRIME TIME EXPRESS LLC, BRIAN, 850 S DAKOTA ROAD, CORSICA, SD, 57328-8800                        US Mail (1st Class)

 43354   PRODUCERS CATTLE AUCTION, 7441 JOHNSON COURT, MOBILE, AL, 36695-4415                             US Mail (1st Class)

 43354   PRODUCERS LIVESTOCK, 230 WEST CENTER, PO BOX 540477, N SALT LAKE CITY, UT, 84054-0477            US Mail (1st Class)

 43354   PRODUCERS VET SUPPLY, 1028 STORY AVE, LOUISVILLE, KY, 40206-1880                                 US Mail (1st Class)

 43354   PRUITT FARMS, KYLE PRUITT, 4215 F M 929, GATESVILLE, TX, 76528-3393                              US Mail (1st Class)

 43354   PULASKI LIVESTOCK, PO BOX 1216, 609 W SHOAL ST, PULASKI, TN, 38478-4011                          US Mail (1st Class)

 43354   QBE INSURANCE CORPORATION, ADMINISTRATIVE SERVICE CENTER, PO BOX 90702, BELLEVUE, WA,            US Mail (1st Class)
         98009-9702


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 43354   QUILL, PO BOX 37600, PHILADELPHIA, PA, 19101-0600                                            US Mail (1st Class)

 43354   R BAR RANCH TRUCKING LLC, 701 SOUTH MAIN, YATES CENTER, KS, 66783-1723                       US Mail (1st Class)

 43354   R C BUCKLEY, 3096 PINYON PLACE, GRAND JCT, CO, 81504-5634                                    US Mail (1st Class)

 43354   R D LANE, 370 MAPLE GROVE LANE, MUNFORDVILLE, KY, 42765-8010                                 US Mail (1st Class)

 43354   R&J TRUCKING, RONALD SEXTON, 1200 HIGHWAY 1808, MONTICELLO, KY, 42633-6870                   US Mail (1st Class)

 43354   RACHAEL PHELPS, 3133 LAWSON BOTTOM RD, BURKESVILLE, KY, 42717-9511                           US Mail (1st Class)

 43354   RACHEL PHELPS, 3079 LAWSON BOTTOM RD, BURKESVILLE, KY, 42717                                 US Mail (1st Class)

 43354   RAFTER K FARMS, 116 WILD LIFE RD, BUFFALO, MO, 65622-4137                                    US Mail (1st Class)

 43354   RAFTER K FARMS, & OLD MISSOURI BANK, 116 WILD LIFE RD, BUFFALO, MO, 65622-4137               US Mail (1st Class)

 43354   RAIN AND HAIL LLC, PO BOX 14490, DES MOINES, IA, 50306-3490                                  US Mail (1st Class)

 43354   RALPH HOODENPYLE, ROUTE 3, BOX 218, WALTERS, OK, 73572-9550                                  US Mail (1st Class)

 43354   RANDALL C SPURLING TRUCKING, RANDALL C SPURLING, 2120 SPURLINGTON RD, CAMPBELLSVILLE,        US Mail (1st Class)
         KY, 42718-7261
 43354   RANDALL D LATOUR, VORYS, SATER, SEYMOUR AND PEASE LLP, 52 EAST GAY STREET, PO BOX 1008,      US Mail (1st Class)
         COLUMBUS, OH, 43216-1008
 43354   RANDALL RICHARDS, 2557 RICHARD HOLLOW RD, COLUMBIA, KY, 42728-7547                           US Mail (1st Class)

 43354   RANDALL SPURLING TRUCKING, 2120 SPURLINGTON RD, CAMPBELLSVILLE, KY, 42718-7261               US Mail (1st Class)

 43354   RANDALL SPURLING TRUCKING, 2120 SPURLING RD, CAMPBELLSVILLE, KY, 42718                       US Mail (1st Class)

 43354   RANDALL SPURLING TRUCKING, 2120 SPURLINGTON RD, CAMPBELLSVILLE, KY, 42718                    US Mail (1st Class)

 43354   RANDY CARDEN, INC., 376 WALLIS RD, VILLA RICA, GA, 30180-4002                                US Mail (1st Class)

 43354   RANDY GRAY, 60051 STONEWALL ROAD, AMORY, MS, 38821-9043                                      US Mail (1st Class)

 43354   RANDY HALSTED, RT.2, BOX 85, MT. VIEW, OK, 73062-9621                                        US Mail (1st Class)

 43354   RANDY HODGE LIVESTOCK, INC, PO BOX 627, NEWPORT, TN, 37822-0627                              US Mail (1st Class)

 43354   RANDY HOOVER AND SON, 3973 ST RD 14, WEST PLAINS, MO, 65775                                  US Mail (1st Class)

 43354   RANDY LLOYD, PO BOX 390, BLACKWELL, TX, 79506-0390                                           US Mail (1st Class)

 43354   RANDY NELSON, 208 BUTLER ST., COLUMBIA, KY, 42728-1744                                       US Mail (1st Class)

 43354   RANDY RICHEY, 111 YORK RD, SCOTTSVILLE, KY, 42164-7502                                       US Mail (1st Class)

 43354   RANDY RICHEY, 500 J W YORK RD, SCOTTSVILLE, KY, 42164-7503                                   US Mail (1st Class)

 43354   RANDY ROBERTS, 5055 W SWAMP RD, WINCHESTER, OH, 45697-9500                                   US Mail (1st Class)

 43354   RANDY SHERRARD, 2763 OAK HILL RD, SONORA, KY, 42776-9438                                     US Mail (1st Class)

 43354   RAYBURN SMITH, 103 SMITH THOMAS ROAD, NATCHITOCHES, LA, 71457-7363                           US Mail (1st Class)

 43354   RAZORBACK FARMS OF MISSOURI, 131 INDUSTRIAL PARK DR, STE #3, HOLLISTER, MO, 65672-5621       US Mail (1st Class)

 43354   RAZORBACK FARMS OF MISSOURI, C/O DANE BRADEN, 131 INDUSTRIAL PARK DR SUITE 3, HOLLISTER,     US Mail (1st Class)
         MO, 65672-5621
 43354   RD LANE, 370 MAPLE GROVE LANE, ROWLETTS, KY, 42765-8010                                      US Mail (1st Class)

 43354   READ, DAVID, 583 LOVE KNOB RD, GLASGOW, KY, 42141                                            US Mail (1st Class)

 43354   REITER TRUCKING, 324 ELM ST, HEREFORD, TX, 79045-2707                                        US Mail (1st Class)

 43354   REPS DISPATCH LLC, 16150 MCR 19, FORT MORGAN, CO, 80701                                      US Mail (1st Class)

 43354   REPUBLIC BANK & TRUST CO, PO BOX 70749, LOUISVILLE, KY, 40270-0749                           US Mail (1st Class)

 43354   REPUBLIC BANK & TRUST COMPANY, C/O ALLEN L MORRIS, STITES & HARBISON PLLC, PO BOX 946, 323   US Mail (1st Class)
         E COURT AVE, JEFFERSONVILLE, IN, 47131-0946
 43354   REPUBLIC BANK & TRUST COMPANY, 661 S HURSTBOURNE PARKWAY, PO BOX 70749, LOUISVILLE, KY,      US Mail (1st Class)
         40270-0749
 43354   REPUBLIC BANK AND TRUST COMPANY, PO BOX 946, C/O ALLEN L MORRIS, STITES & HARBISON PLLC,     US Mail (1st Class)
         323 EAST COURT AVENUE, JEFFERSONVILLE, IN, 47131-0946
 43354   REPUBLIC BANK AND TRUST COMPANY, 661 SOUTH HURSTBOURNE PARKWAY, LOUISVILLE, KY, 40222-       US Mail (1st Class)
         5040
 43354   REPUBLIC BANK AND TRUST COMPANY, 661 SOUTH HURSTBOURNE PARKWAY, LOUISVILLE, KY, 40222-       US Mail (1st Class)
         5079
 43354   REPUBLIC BANK AND TRUST COMPANY, (RE: REPUBLIC BANK & TRUST COMPANY), 661 SOUTH              US Mail (1st Class)
         HURSTBOURNE PARKWAY, LOUISVILLE, KY, 40222-5040
 43354   REX BUNCH, PO BOX 212, EDMONTON, KY, 42129-0212                                              US Mail (1st Class)

 43354   REX ELMORE, 1817 TOBACCO RD, GLASGOW, KY, 42141-8486                                         US Mail (1st Class)



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 43354   RICHARD BANKS, 400 JOHNSON CEMETARY RD, COLUMBIA, KY, 42728-9571                            US Mail (1st Class)

 43354   RICHARD BANKS, 400 JOHNSON CEMETERY RD, COLUMBIA, KY, 42728-9571                            US Mail (1st Class)

 43354   RICHARD HOPE, 3000 MT. MORIAH RD, SUMMER SHADE, KY, 42166-7617                              US Mail (1st Class)

 43354   RICHARD HOPE, KAYE HOPE, 3000 MT MORIAH RD, SUMMER SHADE, KY, 42166-7617                    US Mail (1st Class)

 43354   RICHARD LYLE, 8627 NEW GLASGOW RD, SCOTTSVILLE, KY, 42164-6571                              US Mail (1st Class)

 43354   RICHARD RIVERS TRUCKING, 11510 TANNER WILLIAMS RD, LUCEDALE, MS, 39452                      US Mail (1st Class)

 43354   RICHARD RIVERS TRUCKING, 11510 TANNER WILLIAMS RD, LUCEDALE, MS, 39452-8317                 US Mail (1st Class)

 43354   RICHARD ROSS, 2463 DRAGSTRIP RD, TOMPKINSVILLE, KY, 42167-7343                              US Mail (1st Class)

 43354   RICHARD TURNER, 11729 BURKESVILLE HWY, SUMMER SHADE, KY, 42166-9426                         US Mail (1st Class)

 43354   RICHARDSON INC, PO BOX 172, LUCERNE, CO, 80646-0172                                         US Mail (1st Class)

 43354   RICHEY MELSON, 2628 MELSON RIDGE RD, COLUMBIA, KY, 42728-8017                               US Mail (1st Class)

 43354   RICHIE MELSON, 2628 MELSON RIDGE RD, COLUMBIA, KY, 42728-8017                               US Mail (1st Class)

 43354   RICHMOND FARM, MARK RICHMOND, 5121 OAK RIDGE ROAD, RAVENDEN, AR, 72460-9311                 US Mail (1st Class)

 43354   RICHY ROBINS, 250 NEALS CREEK ROAD, STANFORD, KY, 40484-9126                                US Mail (1st Class)

 43354   RICKY BEARD, ROUTE 1, BOX 36K, DEVOL, OK, 73531-9747                                        US Mail (1st Class)

 43354   RICKY ROSS, 2463 DRAG STRIP RD, TOMPKINSVILLE, KY, 42167-7343                               US Mail (1st Class)

 43354   RINGS, DAVID, 1288 FRONTAGE RD, RUSSELL SPRINGS, KY, 42642                                  US Mail (1st Class)

 43354   RITA CRAVENS, 1525 DOGWALK RD, ALPINE, TN, 38543-6140                                       US Mail (1st Class)

 43354   RITTER FEEDYARD, 1376 10TH ROAD, BEEMER, NE, 68716-4077                                     US Mail (1st Class)

 43354   RIVER BY CATTLE, 1420 SYCAMORE AVE, CORSICANA, TX, 75110-3500                               US Mail (1st Class)

 43354   RIVER REGION PROPANE GAS, PO BOX 2250, PADUCAH, KY, 42002-2250                              US Mail (1st Class)

 43354   ROANOKE STOCKYARD, INC., 1009 CHESTNUT ST.; PO BOX 307, ROANOKE, AL, 36274-0307             US Mail (1st Class)

 43354   ROANOKE STOCKYARDS,INC., PO BOX 307, ROANOKE, AL, 36274-0307                                US Mail (1st Class)

 43354   ROBERSON TRANSPORTATION, INC., PO BOX 84, MOFFETT, OK, 74946-0084                           US Mail (1st Class)

 43354   ROBERT ALBERSON, 215 LANDMARK LANE, HILHAM, TN, 38568-5951                                  US Mail (1st Class)

 43354   ROBERT BROWN, 325 FLAT LICK LANE, HERNDON, KY, 42236-8210                                   US Mail (1st Class)

 43354   ROBERT DOBBS, RR 1, BOX 207, TEMPLE, OK, 73568-9788                                         US Mail (1st Class)

 43354   ROBERT DOUGLAS ALBERSON, LANDMARK LN, HILLMAN, TN, 38568                                    US Mail (1st Class)

 43354   ROBERT H FOREE, ROBERT H FOREE, ATTORNEY AT LAW, 2440 EMINENCE ROAD, EMINENCE, KY, 40019-   US Mail (1st Class)
         6443
 43354   ROBERT HYDE, 937 PHILLIPS LANE, FRANKLIN, KY, 42134-7142                                    US Mail (1st Class)

 43354   ROBERT M RODENBERGER, JR, 9009 NORTH MAY AVE, SUTTON PLACE #171, OKLAHOMA CITY, OK,         US Mail (1st Class)
         73120-4490
 43354   ROBERT NICHOLS, 21767 E 1580 RD, MT. PARK, OK, 73559-5040                                   US Mail (1st Class)

 43354   ROBERT RAWLS LIVESTOCK, PO BOX 3220, BROOKHAVEN, MS, 39603-7220                             US Mail (1st Class)

 43354   ROBERT SPROULS, S & S, 395 BAKERTON ROAD, BAKERTON, KY, 42711                               US Mail (1st Class)

 43354   ROCKIN M FARMS LLC, MICHAEL MARKET JR, 12041 HWY 136 EAST, HENDERSON, KY, 42420-8816        US Mail (1st Class)

 43354   ROD CASE, PO BOX 108, FLEMINGSBURG, KY, 41041-0108                                          US Mail (1st Class)

 43354   RODNEY & JUDY BURGESS, 4457 PETERS CREEK RD, AUSTIN, KY, 42123-9753                         US Mail (1st Class)

 43354   RODNEY ANDRETTI, BOX 254, SAUTO, TX, 76472-0254                                             US Mail (1st Class)

 43354   RODNEY BURGESS & JUDY BURGESS, 4457 PETERS CREEK RD, AUSTIN, KY, 42123-9753                 US Mail (1st Class)

 43354   RODNEY LANE RICHARDSON, 376 SOUTH JACKSON HWY, HARDYVILLE, KY, 42746-8297                   US Mail (1st Class)

 43354   RODNEY RICHARDSON, 376 S JACKSON HWY, HARDYVILLE, KY, 42746-8297                            US Mail (1st Class)

 43354   ROGER BURRIS, 1414 LOVE KNOB RD, KNOB LICK, KY, 42154-9615                                  US Mail (1st Class)

 43354   ROGER DALE THOMAS, 199 RHOTON CAVE RD, TOMPKINSVILLE, KY, 42167-7506                        US Mail (1st Class)

 43354   ROGER P BURRIS, 1414 LOVE KNOB RD, KNOB LICK, KY, 42154-9615                                US Mail (1st Class)

 43354   ROGER PAYNE, 115 BEVERLY DRIVE, GLASGOW, KY, 42141-2703                                     US Mail (1st Class)

 43354   ROGER THOMAS, 199 RHOTON CAVE RD, TOMPKINSVILLE, KY, 42167-7506                             US Mail (1st Class)

 43354   ROGER TURNER, 10060 GLASGOW RD, MT HERMON, KY, 42157                                        US Mail (1st Class)

 43354   ROGER TURNER, 9046 OLD GLASGOW RD, MT. HERMON, KY, 42157-8079                               US Mail (1st Class)

 43354   ROLANDO ACOSTA RUCKING LLC, PO BOX 503, ALLIANCE, NE, 69301-0503                            US Mail (1st Class)



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 43354   ROLANDO ACOTSA-REZA, PO BOX 503, ALLIANCE, NE, 69301-0503                                     US Mail (1st Class)

 43354   RON NEUFELD, 5590 NE 157TH TERR, WILLISTON, FL, 32696-6437                                    US Mail (1st Class)

 43354   RON NEUFELD TRUCKING, 5590 NE 157TH TERR, WILLISTON, FL, 32696-6437                           US Mail (1st Class)

 43354   RON RABICH, 5920 DRY CREEK RD, ELK HORN, KY, 42733-9613                                       US Mail (1st Class)

 43354   RONALD RABICH, 5920 DRY CREEK ROAD, ELK HORN, KY, 42733-9613                                  US Mail (1st Class)

 43354   RONNIE GERALDS, 13216 CENTER POINT RD, TOMPKINSVILLE, KY, 42167                               US Mail (1st Class)

 43354   RONNIE LEMONS, HC 81, BOX 287, LEWISBURG, WV, 24901-9544                                      US Mail (1st Class)

 43354   RONNIE REITER, 324 ELM STREET, HEREFORD, TX, 79045-2707                                       US Mail (1st Class)

 43354   RONNIE REITER, DBA REITER TRUCKING, 324 ELM ST, HEREFORD, TX, 79045                           US Mail (1st Class)

 43354   RONNIE REITER TRUCKING, RONNIE REITER, 324 ELM, HEREFORD, TX, 79045-2707                      US Mail (1st Class)

 43354   RONNIE SIZEMORE, 9871 S E 22ND STREET, WEBSTER, FL, 33597-4077                                US Mail (1st Class)

 43354   ROY ANTHONY DEPOLITTE, 112 HULL RD, MONROE, TN, 38573-6035                                    US Mail (1st Class)

 43354   ROY BARTLING, 203 SOUTH MAIN, WAURIKA, OK, 73573-3055                                         US Mail (1st Class)

 43354   ROY BLYTHE, 210 R BLYTHE RD, SUMMER SHADE, KY, 42166-9007                                     US Mail (1st Class)

 43354   ROY DEE BLYTHE, 210 ROY BLYTHE RD, SUMMER SHADE, KY, 42166-9007                               US Mail (1st Class)

 43354   ROY DEPOLITTE, 112 HALL RD, MONROE, TN, 38573-6035                                            US Mail (1st Class)

 43354   ROY KINSLOW, 1844 DRIPPING SPRINGS RD, GLASGOW, KY, 42141-9775                                US Mail (1st Class)

 43354   ROY KINSLOW, 1844 DRIPPING SPRINGS, GLASGOW, KY, 42141-9775                                   US Mail (1st Class)

 43354   ROY LEFFLER, 4235 ROTHROCK MILL ROAD NW, DEPAUW, IN, 47115-8812                               US Mail (1st Class)

 43354   ROY PACE, 720 JUDD RD, EDMONTON, KY, 42129-9000                                               US Mail (1st Class)

 43354   ROY STARNES, 398 STARNES RD, MT. HERMON, KY, 42157-8909                                       US Mail (1st Class)

 43354   ROY STARNES, 8300 CLASGOW RD, MT HERMON, KY, 42157                                            US Mail (1st Class)

 43354   ROYAL BEEF, 11060 N FALCON RD, SCOTT CITY, KS, 67871-6037                                     US Mail (1st Class)

 43354   ROYAL BEEF, & NATIONS BANK, 11060 N FALCON RD, SCOTT CITY, KS, 67871-6037                     US Mail (1st Class)

 43354   RTS LIVESTOCK HAULING, 454 BLACKHAWK RD, GALENS, MO, 65656-9694                               US Mail (1st Class)

 43354   RUMMEL, BRADLEY, CUSTOM HAY, 8860 W FARM RD 112, WILLARD, MO, 65781                           US Mail (1st Class)

 43354   RUSSELL BROS, 4193 POPLAR GROVE SCHOOL RD, GREENSBURG, KY, 42743-9353                         US Mail (1st Class)

 43354   RUSSELL BROS, 4193 POLAR GROVE SCHOOL RD, GREENSBURG, KY, 42743-9353                          US Mail (1st Class)

 43354   RUSSELL SPRADIN FARM, 766 BISHOP RD, GLASGOW, KY, 42141-9626                                  US Mail (1st Class)

 43354   RUSSELL SPRADLIN, 766 BISHOP RD, GLASGOW, KY, 42141-9626                                      US Mail (1st Class)

 43354   S & S CATTLE, 407 BAKERTON RD, BURKESVILLE, KY, 42717-9503                                    US Mail (1st Class)

 43354   S & S CATTLE, ATTN: ROBERT SPROULS, 375 BAKERTON RD, BAKERTON, KY, 42717                      US Mail (1st Class)

 43354   S & T TRUCKING, PO BOX 875, RANCHESTER, WY, 82839-0875                                        US Mail (1st Class)

 43354   S&T TRUCKING LOGISTICS, 803 S BEN ST., PO BOX 400, PARKSTON, SD, 57366-0400                   US Mail (1st Class)

 43354   SABRINA STAPP, 1609 CEDAR GROVE, GREENSBURG, KY, 42743-9014                                   US Mail (1st Class)

 43354   SADRO TRANSPORT, LLC, 4009 SECTION LINE RD, BAD AXE, MI, 48413-8038                           US Mail (1st Class)

 43354   SALEM LIVESTOCK AUCTION, PO BOX 1252, SALEM, MO, 65560-5152                                   US Mail (1st Class)

 43354   SAM COUNTISS, RR 2, BOX 24, WAURIKA, OK, 73573-9603                                           US Mail (1st Class)

 43354   SAND MOUNTAIN STOCKYARD, PO BOX 25, ALBERTVILLE, AL, 35950-0001                               US Mail (1st Class)

 43354   SANDERS, KENNETH, 2487 WINN SCHOOL RD, GLASGOW, KY, 42141                                     US Mail (1st Class)

 43354   SANDY FROEDGE, 201 TUNEY GERALDS RD, EDMONTON, KY, 42129                                      US Mail (1st Class)

 43354   SANDY GLASS TRUCKING, 90 CIRCLE RD, GLASGOW, KY, 42141-9733                                   US Mail (1st Class)

 43354   SANDY GLASS TRUCKING, SANDY GLASS, 90 CIRCLE ROAD, GLASGOW, KY, 42141-9733                    US Mail (1st Class)

 43354   SAWYERS, BOB, 616 WILLIS CREEK RD, ALBANY, KY, 42602-8214                                     US Mail (1st Class)

 43354   SAWYERS, BOBBY, 616 WILLIS CREEK RD, ALBANY, KY, 42602                                        US Mail (1st Class)

 43354   SCHLESSIGER, JACK, 1266 NE 120 RD, CLAFLIN, KS, 67525                                         US Mail (1st Class)

 43354   SCHUCHMANN TRANSPORT, 4560 S CAMPBELL SUITE T, SPRINGFIELD, MO, 65810-1780                    US Mail (1st Class)

 43354   SCONYERS & SON CATTLE, INC, PO BOX 87, 106 S COMMERCE ST, GENEVA, AL, 36340-2211              US Mail (1st Class)

 43354   SCOTT BROUGHTON, 577 LANARKSHIRE PLACE, LEXINGTON, KY, 40509-2294                             US Mail (1st Class)

 43354   SCOTT BROWNING, 3730 EDMONTON ROAD, GLASGOW, KY, 42141-9511                                   US Mail (1st Class)




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 43354   SCOTT CHRISTOPHER COWLES, 2363 OTTER GAP RD, BOWLING GREEN, KY, 42101-8309                     US Mail (1st Class)

 43354   SCOTT COWLES, 2363 OTTER GAP RD, BOWLING GREEN, KY, 42101-8309                                 US Mail (1st Class)

 43354   SCOTT LEDBETTER TRUCKING LLC, PO BOX 373, BRUCE, MS, 38915-0373                                US Mail (1st Class)

 43354   SCOTT THOMPSON, 38 DANIELS RD, ADEL, GA, 31620-6208                                            US Mail (1st Class)

 43354   SCOTTS HILL STOCKYARD, PO BOX 1796, SAVANNAH, TN, 38372-4796                                   US Mail (1st Class)

 43354   SCOTTS HILL STOCKYARD, C/O JAMES LINVILLE, PO BOX 1796, SAVANNAH, TN, 38372-4796               US Mail (1st Class)

 43354   SEALY & SON, 700 HIGHWAY 80 E, UNIONTOWN, AL, 36786                                            US Mail (1st Class)

 43354   SEALY AND SON, 700 HIGHWAY 80 E, UNIONTOWN, AL, 36786                                          US Mail (1st Class)

 43354   SECOND CHANCE LIVESTOCK, DISPATCH, INC, PO BOX 88, PEKIN, IN, 47165-0088                       US Mail (1st Class)

 43354   SEIBERT CATTLE CO LLC, 1136 E CAMPBELL AVE, PHOENIX, AZ, 85014                                 US Mail (1st Class)

 43354   SEIBERT CATTLE CO., LLC, 1136 E CAMPBELL AVE., PHOENIX, AZ, 85014-3913                         US Mail (1st Class)

 43354   SEIBERT CATTLE CO., FARM CREDIT OF PHOENIX, 1136 EAST CAMPBELL AVE., PHOENIX, AZ, 85014-3913   US Mail (1st Class)

 43354   SETZER, TONY T, FARM CREDIT OF WESTERN OK PCA, RT1 BOX 39, COLONY, OK, 73021-9600              US Mail (1st Class)

 43354   SEYMOUR FEEDYARDS, PO BOX 609, SEYMOUR, TX, 76380-0609                                         US Mail (1st Class)

 43354   SHARON BARNES, 143 HODGE ST, CHARLESTOWN, IN, 47111-1777                                       US Mail (1st Class)

 43354   SHAWN HAMILTON, RT 1, BOX 3980, DORA, MO, 65637-9413                                           US Mail (1st Class)

 43354   SHEILA MAGNER, 704 HWY 337 SE, CORYDON, IN, 47112-5349                                         US Mail (1st Class)

 43354   SHELTON & MONTGOMERY, PO BOX 389, WAURIKA, OK, 73573-0389                                      US Mail (1st Class)

 43354   SHEREE BAUMGART, 2755 HWY 62 NE, CORYDON, IN, 47112-7707                                       US Mail (1st Class)

 43354   SHIPMAN, GENE, C/O KIRK CRUTCHER, MAYFIELD CRUTCHER & SHARPEE LLP, AMARILLO, TX, 79101         US Mail (1st Class)

 43354   SIDNEY HOSTETLER, 3962 CO RD 3171, HARTMAN, AR, 72840-8730                                     US Mail (1st Class)

 43354   SIEGEL LAND AND LIVESTOCK TRUCKING LLC, 2726 POTTERSFORD DR, FLORENCE, MO, 65329-2015          US Mail (1st Class)

 43354   SKIPPER DAVIS, 111 MALARD, FULTON, AR, 71838-9064                                              US Mail (1st Class)

 43354   SLINKER, TIMMY, 1967 COLUMBIA RD, EDMONTON, KY, 42129                                          US Mail (1st Class)

 43354   SMEAL TRANSFER, INC., PO BOX 85, SNYDER, NE, 68664-0085                                        US Mail (1st Class)

 43354   SMITH BROTHERS, INC., PAT SMITH, BOX 68, STARK, KS, 66775-0068                                 US Mail (1st Class)

 43354   SMITH CAREY, PEGGY, 1321 BROWN RD, PARK CITY, KY, 42160                                        US Mail (1st Class)

 43354   SMITH CAREY, PEGGY, 1321 BROWN RD, PARK CITY, KY, 42160-7833                                   US Mail (1st Class)

 43354   SMITH, DWAYNE, 4238 GARFIELD HINDS RD, MONROE, TN, 38573                                       US Mail (1st Class)

 43354   SMITH, LEONARD CLIFTON, 1133 BROWN RD, PARK CITY, KY, 42160                                    US Mail (1st Class)

 43354   SMITH, LEONARD CLIFTON, 1133 BROWN RD, PARK CITY, KY, 42160-7831                               US Mail (1st Class)

 43354   SOLM, INC., PO BOX 939, APACHE, OK, 73006-0939                                                 US Mail (1st Class)

 43354   SOMERVILLE LIVESTOCK SALES, PO BOX 382, SOMERVILLE, TN, 38068-0382                             US Mail (1st Class)

 43354   SONNY STOLL, RT 1, CHATTANOOGA, OK, 73528                                                      US Mail (1st Class)

 43354   SOUTH CENTRAL RURAL TELEPHONE, PO BOX 159, GLASGOW, KY, 42142-0159                             US Mail (1st Class)

 43354   SOUTHEAST LIVESTOCK EXCHANGE, PO BOX 1306, WAYNESVILLE, NC, 28786-1306                         US Mail (1st Class)

 43354   SOUTHEAST LIVESTOCK EXCHANGE, LLC, C/O JOHN QUEEN, PO BOX 1306, WAYNESVILLE, NC, 28786-        US Mail (1st Class)
         1306
 43354   SOUTHEAST TRUCK DISPATCH, P O 282, WEST POINT, MS, 39773-0282                                  US Mail (1st Class)

 43354   SOUTHERN LIVESTOCK AUCTION CO., 2677 PULASKI HWY, COLUMBIA, TN, 38401                          US Mail (1st Class)

 43354   SOUTHERN STAR STOCKYARD, INC, D/B/A PULASKI LIVESTOCK, PO BOX 1216, PULASKI, TN, 38478-1216    US Mail (1st Class)

 43354   SOUTHERN TRANSPORT LLC, 309 CONNIE DR, ELK CITY, OK, 73644-4813                                US Mail (1st Class)

 43354   SOUTHERN TRANSPORT LLC, 309 CONNIE DRIVE, ELK CITY, OK, 73644-4813                             US Mail (1st Class)

 43354   SOUTHERN TRANSPORT LLC, C/O GREG WOOD, 309 CONNIE RD, ELK CITY, OK, 73644-4813                 US Mail (1st Class)

 43354   SOUTHLAND HAULERS LLC, PO BOX 142, BRANTLEY, AL, 36009                                         US Mail (1st Class)

 43354   SOUTHLAND HAULERS LLC, HOWARD COMPTON, PO BOX 142, BRANTLEY, AL, 36009-0142                    US Mail (1st Class)

 43354   SOUTHLAND HAULERS, LLC, PO BOX 142, BRANTELY, AL, 36009-0142                                   US Mail (1st Class)

 43354   SOUTHLAND HAULERS, LLC, HOWARD & MYRA COMPTON, PO BOX 142, BRATLEY, AL, 36009-0142             US Mail (1st Class)

 43354   SPENCER THOMPSON, 301 BEAUCHAMP ST., EDMONTON, KY, 42129-9356                                  US Mail (1st Class)

 43354   SPENCER THOMPSON, 121 BEAUCHAMP ST, EDMONTON, KY, 42129                                        US Mail (1st Class)

 43354   STAPLES, DEPT. DET, PO BOX 83689, CHICAGO, IL, 60690-3689                                      US Mail (1st Class)


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 43354   STAR KAN INC, PO BOX 130, EDNA, KS, 67342-0130                                               US Mail (1st Class)

 43354   STEPHEN A OELZE, 2753 HWY 2779, HARDINSBURG, KY, 40143-4326                                  US Mail (1st Class)

 43354   STEPHEN DILKS, ROUTE 2, BOX 25, RANDLETT, OK, 73562-9714                                     US Mail (1st Class)

 43354   STEPHEN OELZE, 2753 HWY 2779, HARDINSBURG, KY, 40143-4326                                    US Mail (1st Class)

 43354   STEVE CALDWELL, BOX 391, STANFORD, KY, 40484-0391                                            US Mail (1st Class)

 43354   STEVE CALLIS, 1934 BURNT HOUSE RD, LEBANON, TN, 37090-7714                                   US Mail (1st Class)

 43354   STEVE FLETCHER, ROUTE 3, BOX 122, WALTERS, OK, 73572-9511                                    US Mail (1st Class)

 43354   STEVE GRAVES TRUCKING LLC, 625 FERGUSON ROAD, WHEATLAND, WY, 82201-9010                      US Mail (1st Class)

 43354   STEVE MCDONALD, 8000 SHENANDOAH LN, LANESVILLE, IN, 47136-9430                               US Mail (1st Class)

 43354   STEVE RAY TAYLOR, 1010 OLD BUCK CK RD, ADOLPHUS, KY, 42120-6115                              US Mail (1st Class)

 43354   STEVE TAYLOR, 589 NEW MT GELIAD CH RD, SCOTTSVILLE, KY, 42164-8856                           US Mail (1st Class)

 43354   STEVE TERRY, PO BOX 448, RED CLOUD, NE, 68970-0448                                           US Mail (1st Class)

 43354   STEVEN HENDERSHOT INC., RT 2, BOX 67, LAPORTE CITY, IA, 50651                                US Mail (1st Class)

 43354   STEVEN R TAYLOR, 1010 OLD BUCK CREEK RD, ADOLPHUS, KY, 42120-6115                            US Mail (1st Class)

 43354   STEVEN TERRY, PO BOX 448, RED CLOUD, NE, 68970-0448                                          US Mail (1st Class)

 43354   STITCHES FARM, 551 WEST RD, RED BOILING SPR, TN, 37150-3527                                  US Mail (1st Class)

 43354   STITCHES FARMS, PO BOX 70, GAMALIEL, KY, 42140-0070                                          US Mail (1st Class)

 43354   STODDARD TRUCKING, 4350 STODDAED LN, DILLON, MT, 59725-7206                                  US Mail (1st Class)

 43354   STOKES BAIRD, PO BOX 218, MUNFORDVILLE, KY, 42765-0218                                       US Mail (1st Class)

 43354   STOKES BAIRD, 1448 SOUTH JACKSON HWY, HARDYVILLE, KY, 42746-8303                             US Mail (1st Class)

 43354   STOKES BAIRD, PO BOX 218, MUNFORDSVILLE, KY, 42765-0218                                      US Mail (1st Class)

 43354   STOP N SAVE #4, 400 N MAIN STREET, EDMONTON, KY, 42129                                       US Mail (1st Class)

 43354   SUMTER CO. FARMERS MARKET, INC., 524 N MARKET BLVD, WEBSTER, FL, 33597-9400                  US Mail (1st Class)

 43354   SUMTER COUNTY FARMERS MARKET, PO BOX 62, WEBSTER, FL, 33597-0062                             US Mail (1st Class)

 43354   SUPERIOR LIVESTOCK AUCTION, INC., 1155 NORTH COLORADO AVE., BUSH, CO, 80723-2901             US Mail (1st Class)

 43354   SUPERIOR LIVESTOCK AUCTION, INC., PO BOX 38, BRUSH, CO, 80723-0038                           US Mail (1st Class)

 43354   SUPERIOR LIVESTOCK AUCTION,INC, 1155 NORTH COLORADO, BOX 38, BRUSH, CO, 80723-2901           US Mail (1st Class)

 43354   SUPREME CATTLE FEEDERS, 19016 ROAD I, KISMET, KS, 67859-6026                                 US Mail (1st Class)

 43354   SUSAN ABBOTT, 6028 CONCORD AVE, CRESTWOOD, KY, 40014-9512                                    US Mail (1st Class)

 43354   SUSAN GARRETT, 831 GLASGOW RD, EDMONTON, KY, 42129                                           US Mail (1st Class)

 43354   SUSAN RAMEY LIVESTOCK, 5664 ELIZAVILLE ROAD, EWING, KY, 41039-8434                           US Mail (1st Class)

 43354   SYRACUSE COMMISSION CO., INC., PO BOX 129, SYRACUSE, KS, 67878-0129                          US Mail (1st Class)

 43354   T HAROLD MARTIN, 6204 CHARLESTOWN PIKE, CHARLESTOWN, IN, 47111-8406                          US Mail (1st Class)

 43354   T R SMITH LIVESTOCK, 921 WEST CHOCTAW STREET, LINDSAY, OK, 73052-5019                        US Mail (1st Class)

 43354   T&T FARM, 21873 CO RD 64, GREELEY, CO, 80631-9688                                            US Mail (1st Class)

 43354   TADLOCK STOCKYARD, INC., PO BOX 42, FOREST, MS, 39074-0042                                   US Mail (1st Class)

 43354   TATE MYATT, 2163 POPLAR SPRING RD, GLASGOW, KY, 42141-7859                                   US Mail (1st Class)

 43354   TATE RANCH, FIRST AG CREDIT, 6510 WEST LAKE RD, ABILENE, TX, 79601-8206                      US Mail (1st Class)

 43354   TAYLOR, STEVE R, 1010 OLD BUCK CREEK RD, ADOLPHUS, KY, 42120                                 US Mail (1st Class)

 43354   TAYLOR, STEVE RAY, 1010 OLD BUCK CK RD, ADOLPHUS, KY, 42120-6115                             US Mail (1st Class)

 43354   TEENA MORRIS, 1907 MCDONALD LN #2, NEW ALBANY, IN, 47150-2476                                US Mail (1st Class)

 43354   TELEVENT DTN, INC, 9110 W DODGE ROAD, OMAHA, NE, 68114-3346                                  US Mail (1st Class)

 43354   TELVENT DTN, PO BOX 3546, OMAHA, NE, 68103-0546                                              US Mail (1st Class)

 43354   TELVENT DTN INC, 9110 W DODGE RD, OMAHA, NE, 68114                                           US Mail (1st Class)

 43354   TENNESSEE LIVESTOCK PRODUCERS, PO BOX 313, COLUMBIA, TN, 38402-0313                          US Mail (1st Class)

 43354   TENNESSEE LIVESTOCK PRODUCERS, INC., D/B/A SOMERVILLE LIVESTOCK SALES, PO BOX 382,           US Mail (1st Class)
         SOMMERVILLE, TN, 38068-0382
 43354   TENNESSEE LIVESTOCK PRODUCERS, INC. (COL, PO BOX 313, COLUMBIA, TN, 38402-0313               US Mail (1st Class)

 43354   TENNESSEE LIVESTOCK PRODUCERS, INC. (FAY, PO BOX 42, FAYETTEVILLE, TN, 37334-0042            US Mail (1st Class)

 43354   TENNESSEE VALLEY LIVESTOCK, PO BOX 189, WAYNESBORO, TN, 38485-0189                           US Mail (1st Class)

 43354   TERRY BABER, 1062 SCHMOKER RD, BURKBURNETT, TX, 76354-6211                                   US Mail (1st Class)


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 43354   TERRY COURTNEY, ROUTE 3, CARNEGIE, OK, 73015                                                 US Mail (1st Class)

 43354   TERRY COURTNEY, WASHITA VALLEY BANK, ROUTE 3, CARNEGIE, OK, 73015                            US Mail (1st Class)

 43354   TERRY JOE PATTON, 1224 NEW CONCORD RD, COLUMBIA, KY, 42728-8220                              US Mail (1st Class)

 43354   TERRY L WILLIAMS, 1525 MT. PISGAH RD, GLASGOW, KY, 42141-8166                                US Mail (1st Class)

 43354   TERRY MANN, 1048 EAST MAIN ST., LOUISVILLE, KY, 40206-1855                                   US Mail (1st Class)

 43354   TERRY PATTON, 1224 NEW CONCORD RD, COLUMBIA, KY, 42728-8220                                  US Mail (1st Class)

 43354   TERRY PHILLIPS, 560 MONTEREY HWY, LIVINGSTON, TN, 38570-8748                                 US Mail (1st Class)

 43354   TERRY WILLIAMS, 1525 MT PISGAH RD, GLASGOW, KY, 42141-8166                                   US Mail (1st Class)

 43354   THE ANIMAL HOSPITAL, PO BOX 6, CAMPBELLSVILLE, KY, 42719-0006                                US Mail (1st Class)

 43354   THOMAS AND PATSY GIBSON, 7536 TANDY ROAD, LANESVILLE, IN, 47136-9608                         US Mail (1st Class)

 43354   THOMAS COUNTY STOCKYARDS, INC, PO BOX 2565, THOMASVILLE, GA, 31799-2565                      US Mail (1st Class)

 43354   THOMAS GIBSON, 7536 TANDY RD, LANESVILLE, IN, 47136-9608                                     US Mail (1st Class)

 43354   THOMAS GLOVER, PO BOX 5664, PINE BLUFF, AR, 71611-5664                                       US Mail (1st Class)

 43354   THOMAS J LOGSDON, PO BOX 235, BROWNSVILLE, KY, 42210-0235                                    US Mail (1st Class)

 43354   THOMAS J SVOBODA, 3065 AA AVE., HERINGTON, KS, 67449-5051                                    US Mail (1st Class)

 43354   THOMAS P GIBSON, 7536 TANDY RD, LANESVILLE, IN, 47136-9608                                   US Mail (1st Class)

 43354   THOMAS P GIBSON/GST, 135 WEST MARKET STREET, NEW ALBANY, IN, 47150-3561                      US Mail (1st Class)

 43354   THOMAS RODGERS GLOVER, 4400 TEMPLE RD, PINE BLUFF, AR, 71603-1113                            US Mail (1st Class)

 43354   THOMAS S GIBSON, 4906 PRALL HILL ROAD, HENRYVILLE, IN, 47126-8821                            US Mail (1st Class)

 43354   THOMPSON BROS, 1448 SOUTH JACKSON HWY, HARDYVILLE, KY, 42746-8303                            US Mail (1st Class)

 43354   THOMPSON BROTHERS, 1448 S JACKSON HWY, HARDYVILLE, KY, 42746-8303                            US Mail (1st Class)

 43354   THOMPSON HINE, LLP, 41 SOUTH HIGH STREET, 17TH FLOOR, COLUMBUS, OH, 43215-6101               US Mail (1st Class)

 43354   THOMPSON, JOHN D, PO BOX 224, EDMONTON, KY, 42129                                            US Mail (1st Class)

 43354   THOMSON WEST, TOM M CANEFF, 610 OPPERMAN DR, D6-11-3710, EAGAN, MN, 55123                    US Mail (1st Class)

 43354   THORESON ENTERPRISES, PO BOX 334, ELDORADO SPRING, MO, 64744-0334                            US Mail (1st Class)

 43354   THORESON RANCH, C/O TATE THORESON, PO BOX 334, EL DORADO SPRINGS, MO, 64744-0334             US Mail (1st Class)

 43354   TIM JONES, PO BOX 33, HARDYVILLE, KY, 42746-0033                                             US Mail (1st Class)

 43354   TIM MAY, 544 BIRMINGHAM RIDGE RD, SALTILLO, MS, 38866-9134                                   US Mail (1st Class)

 43354   TIM MCCARY, 23929 CR EW 180, CHATTANOOGA, OK, 73528-9010                                     US Mail (1st Class)

 43354   TIM MOORE, 13486 W FARM ROAD 132, BOIS D ARC, MO, 65612-8197                                 US Mail (1st Class)

 43354   TIM NAPIER, 4173 PETERS CREEK RD, AUSTIN, KY, 42123-9753                                     US Mail (1st Class)

 43354   TIM NICHOLS, 850 CENTERVILLE RD, MANTACHIE, MS, 38855-8258                                   US Mail (1st Class)

 43354   TIM RILEY, 5146 CRATER RD, HAMPTONVILLE, NC, 27020-7707                                      US Mail (1st Class)

 43354   TIM VIBBERT, 444 JACK BROWN RD, GLASGOW, KY, 42141-8237                                      US Mail (1st Class)

 43354   TIMMY BLACKISTORE, PO BOX 286, COLUMBIA, KY, 42728-0286                                      US Mail (1st Class)

 43354   TIMMY SLINKER, 1967 COLUMBIA RD, EDMONTON, KY, 42129-8902                                    US Mail (1st Class)

 43354   TIMOTHY BLACKISTONE, PO BOX 286, COLUMBIA, KY, 42728-0286                                    US Mail (1st Class)

 43354   TIMOTHY CLAY SLINKER, 1967 COLUMBIA RD, EDMONTON, KY, 42129-8902                             US Mail (1st Class)

 43354   TIMOTHY WATTS NAPIER, 4519 PETERS CREEK RD, AUSTIN, KY, 42123-9753                           US Mail (1st Class)

 43354   TNCI, PO BOX 9678, MANCHESTER, NH, 03108                                                     US Mail (1st Class)

 43354   TNCI, PO BOX 981038, BOSTON, MA, 02298-1038                                                  US Mail (1st Class)

 43354   TODD LYNN, 195 JOE LYNN RD, CELINA, TN, 38551                                                US Mail (1st Class)

 43354   TODD NEWPORT, 5802 MESHACK RD, TOMPKINSVILLE, KY, 42167-8816                                 US Mail (1st Class)

 43354   TOM FELLHAUER, 217 RANGER, HEREFORD, TX, 79045-4113                                          US Mail (1st Class)

 43354   TOM FREEMAN, BOX 596, FOLLETT, TX, 79034-0596                                                US Mail (1st Class)

 43354   TOM M CANEFF, THOMSON WEST, 610 OPPERMAN DRIVE, D6- 11-3710, EAGAN, MN, 55123-1340           US Mail (1st Class)

 43354   TOM SVOBODA, 3065 AA AVENUE, HERRINGTON, KS, 67449-5051                                      US Mail (1st Class)

 43354   TOM SVOBODA, 3065 AA AVE, HERINGTON, KS, 67449-5051                                          US Mail (1st Class)

 43354   TOM TALLEY TRUCKING, RT.1, BOX 1, TYRONE, OK, 73951-9701                                     US Mail (1st Class)

 43354   TOMMY J BEACH, P O 97, ELMER, OK, 73539-0097                                                 US Mail (1st Class)




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 43354   TOMMY LOGSDON, 757 ST JOHNS CHURCH RD, SUNFISH, KY, 42210                                       US Mail (1st Class)

 43354   TOMMY PARKER, PO BOX 18, MARLIN, TX, 76661-0018                                                 US Mail (1st Class)

 43354   TORQUE TRANSPORT LLC, 10083 S QUEENS FERRY DRIVE, SOUTH JORDAN, UT, 84095-9160                  US Mail (1st Class)

 43354   TORQUE TRANSPORTATION, 10083 QUEENS FERRY DR, SOUTH JORDAN, UT, 84095-9160                      US Mail (1st Class)

 43354   TORRINGTON LIVESTOCK, PO BOX 1097, TORRINGTON, WY, 82240-1097                                   US Mail (1st Class)

 43354   TOWNSEND LIVESTOCK MARKET, PO BOX 577, MADISON, FL, 32341-0577                                  US Mail (1st Class)

 43354   TR SMITH LIVESTOCK, TR SMITH DISPATCH LLC, 921 WEST CHOCTAW ST, LINDSAY, OK, 73052-5019         US Mail (1st Class)

 43354   TRAINOR BUSINESS FORMS & PRINTING, 2720 RIVER ROAD, DES PLAINES, IL, 60018-4106                 US Mail (1st Class)

 43354   TRAVIS SEALS, PO BOX 935, DUNLAP, TN, 37327-0935                                                US Mail (1st Class)

 43354   TRI COUNTY E M C, PO BOX 40, LAFAYETTE, TN, 37083-0040                                          US Mail (1st Class)

 43354   TRI COUNTY ELECTRIC, PO BOX 40, LAFAYETTE, TN, 37083-0040                                       US Mail (1st Class)

 43354   TRI-COUNTY FARMS, 4688 N FARM RD 1, ASH GROVE, MO, 65604                                        US Mail (1st Class)

 43354   TRI-COUNTY LIVESTOCK EXCHANGE, PO BOX 122, SMITHFIELD, KY, 40068-0122                           US Mail (1st Class)

 43354   TRI-COUNTY VETERINARY SERVICES, PO BOX 727, TOMPKINSVILLE, KY, 42167-0727                       US Mail (1st Class)

 43354   TRUMAN SLATTEN, 3435 SOUTHEAST 726 RD, COLLINS, MO, 64738-7189                                  US Mail (1st Class)

 43354   TSI, INC, TULSA STOCKYARDS, 913 N 161 EAST AVE, TULSA, OK, 74116-4106                           US Mail (1st Class)

 43354   TUPPER LIVESTOCK CO., BOX 20, KIMBALL, SD, 57355-0020                                           US Mail (1st Class)

 43354   TUPPER LIVESTOCK CO., C/O WAYNE TUPPER, PO BOX 20, KIMBALL, SD, 57355-0020                      US Mail (1st Class)

 43354   TURNER COUNTY STOCKYARD, 1315 US HWY 41 S, ASHBURN, GA, 31714-4103                              US Mail (1st Class)

 43354   TURNER COUNTY STOCKYARDS, 1315 U S HWY 41 SOUTH, ASHBURN, GA, 31714-4103                        US Mail (1st Class)

 43354   TURNER, ROGER, 9046 OLD GLASGOW RD, MOUNT HERMON, KY, 42157-8079                                US Mail (1st Class)

 43354   TWENTY FOUR TRADING, PO BOX 1530, CANUTILLO, TX, 79835-1530                                     US Mail (1st Class)

 43354   TYLER MCCOMBS, 133 SCOTTSBOROUGH CIRCLE, BOWLING GREEN, KY, 42103-8708                          US Mail (1st Class)

 43354   U S TRUSTEE, 101 W OHIO ST.. STE 1000, INDIANAPOLIS, IN, 46204-1982                             US Mail (1st Class)

 43354   UNION GANADERA, PO BOX 1345, 100 FRONTERA BLVD, SANTA TERESA, NM, 88008-9741                    US Mail (1st Class)

 43354   UNION STOCK YARDS CO., INC., 7510 STATE RT 138 E, PO BOX 129, HILLSBORO, OH, 45133-0129         US Mail (1st Class)

 43354   UNION STOCKYARDS, PO BOX 129, HILLSBORO, OH, 45133-0129                                         US Mail (1st Class)

 43354   UNITED PARCEL SERVICE, LOCKBOX 577, CAROL STREAM, IL, 60132-0577                                US Mail (1st Class)

 43354   UNITED PRODUCERS, INC., 8351 N HIGH ST. STE 250, COLUMBUS, OH, 43235-1440                       US Mail (1st Class)

 43354   UNITED PRODUCERS, INC., 8351 NORTH HIGH STREET, SUITE 250, COLUMBUS, OH, 43235-1440             US Mail (1st Class)

 43354   UNITED STATES POSTAL SERVICE, CMRS-TMS, PO BOX 0527, CAROL STREAM, IL, 60132-0527               US Mail (1st Class)

 43354   UPPER CUMBERLAND SHOPPER, 2685 LAKE VALLEY DR, COOKEVILLE, TN, 38506-7451                       US Mail (1st Class)

 43354   VALLEY STOCKYARD, 206 PINE AVE. SW, DECATUR, AL, 35601-7628                                     US Mail (1st Class)

 43354   VALLEY STOCKYARD, INC., 206 PINE AVE. S W, DECATUR, AL, 35601-7628                              US Mail (1st Class)

 43354   VANDERBRINK TRUCKING, ED VANDERBRINK, 319 MAIN, ALVORD, IA, 51230-7706                          US Mail (1st Class)

 43354   VAUGHN KENNEMER, RT.2, BOX 4315, ELK CITY, OK, 73644                                            US Mail (1st Class)

 43354   VECTREN ENERGY, PO BOX 6248, INDIANAPOLIS, IN, 46206-6248                                       US Mail (1st Class)

 43354   VECTREN ENERGY DELIVERY, PO BOX 6248, INDIANAPOLIS, IN, 46206-6248                              US Mail (1st Class)

 43354   VERIZON, PO BOX 9058, DUBLIN, OH, 43017-0958                                                    US Mail (1st Class)

 43354   VERIZON, PO BOX 920041, DALLAS, TX, 75392-0041                                                  US Mail (1st Class)

 43354   VERIZON WIRELESS, PO BOX 660108, DALLAS, TX, 75266-0108                                         US Mail (1st Class)

 43354   VERIZON, PO BOX 9058, BR 34 - ROBERT BROWN, DUBLIN, OH, 43017-0958                              US Mail (1st Class)

 43354   VERIZON, PO BOX 9058, BR 02 - MARION, DUBLIN, OH, 43017-0958                                    US Mail (1st Class)

 43354   VERIZON, PO BOX 9058, EAST-WEST TRUCKING, DUBLIN, OH, 43017-0958                                US Mail (1st Class)

 43354   VERIZON, PO BOX 920041, BR - LEXINGTON, DALLAS, TX, 75392-0041                                  US Mail (1st Class)

 43354   VERIZON, PO BOX 920041, BR 15 - LEXINGTON, DALLAS, TX, 75392-0041                               US Mail (1st Class)

 43354   VERNON VERHOEFF, 709 WEST BROADWAY, CUSTER CITY, OK, 73639-9627                                 US Mail (1st Class)

 43354   VETERAN DENVER CAPPS, 330 FROGUE ROAD, BURKESVILLE, KY, 42717-8891                              US Mail (1st Class)

 43354   VIBBERT, TIM, 444 JACK BROWN RD, GLASGOW, KY, 42141-8237                                        US Mail (1st Class)

 43354   VICKIE WEIDMAN, 1325 CEMETERY RD NE, NEW SALISBURY, IN, 47161-8714                              US Mail (1st Class)




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 43354   W C BUSH, 16660 N 2320 RD, SNYDER, OK, 73566-5058                                            US Mail (1st Class)

 43354   W L MCCLURE, 5199 SMITHS GROVE RD, SCOTTSVILLE, KY, 42164-9431                               US Mail (1st Class)

 43354   W R ODLE, 491 GOODLUCK BEAUMONT RD, EDMONTON, KY, 42129-9235                                 US Mail (1st Class)

 43354   WADDIE HILLS, 3377 FM 1226 N, ANSON, TX, 79501-2933                                          US Mail (1st Class)

 43354   WADDIE HILLS, LONE STAR PCA, ABILENE, TX, 79601                                              US Mail (1st Class)

 43354   WADE BREEDING, 9440 COLUMBIA HWY, GREENSBURG, KY, 42743-9130                                 US Mail (1st Class)

 43354   WAECHTER HAY & GRAIN, INC., PO BOX 2123, EMPORIA, KS, 66801-2123                             US Mail (1st Class)

 43354   WALCO INTERNATIONAL, CENTRAL ACCOUNTING CENTER, PO BOX 911423, DALLAS, TX, 75391-1423        US Mail (1st Class)

 43354   WALTER HENRY, 764 CR 131, OKOLONA, MS, 38860-9393                                            US Mail (1st Class)

 43354   WALTER SCOTT NEWBERN III, W.SCOTT NEWBERN, PL, 2982 EAST GEVEMY, TALLAHASSEE, FL, 32309      US Mail (1st Class)

 43354   WARREN, BILL, 108 QUALLS LN, LIVINGSTON, TN, 38570                                           US Mail (1st Class)

 43354   WAYNE FIRKINS, 298 JUDD ROAD, EDMONTON, KY, 42129-9000                                       US Mail (1st Class)

 43354   WAYNE SMITH, 1531 CEDAR FLAT CURTIS RD, EDMONTON, KY, 42129-9252                             US Mail (1st Class)

 43354   WAYNE TIBBITS, 227 CEDAR ST, GLASGOW, KY, 42141-1503                                         US Mail (1st Class)

 43354   WAYNE TIBBITS, 214 SANDWOOD DR, GLASGOW, KY, 42141-3324                                      US Mail (1st Class)

 43354   WEBER LIVESTOCK, ANGELA M WEBER, 55156 HWY 59, WAUSA, NE, 68786-8661                         US Mail (1st Class)

 43354   WEBORG FEEDING CO.,LLC, 1737 V ROAD, PENDER, NE, 68047-4422                                  US Mail (1st Class)

 43354   WEINHEIMER RANCH, PO BOX 327, STONEWALL, TX, 78671-0327                                      US Mail (1st Class)

 43354   WELCH, MADISON, TODD C WELCH, 4030 N 900 E, LAFAYETTE, IN, 47905-9673                        US Mail (1st Class)

 43354   WENDY CASSELL CHAPMAN, 1371 FRISBIE LANE, COOKEVILLE, TN, 38501-5802                         US Mail (1st Class)

 43354   WENDY CHAPMAN, 1116 SHERATON DR, COOKEVILLE, TN, 38501-4512                                  US Mail (1st Class)

 43354   WESLEY KINSLOW, 2371 DRIPPING SPRINGS RD, GLASGOW, KY, 42141-6603                            US Mail (1st Class)

 43354   WESLEY LACY, 2194 W FORK RD, BAKERTON, KY, 42717                                             US Mail (1st Class)

 43354   WEST COAST LIVESTOCK EXPRESS, PO BOX 1691, STERLING, CO, 80751-1691                          US Mail (1st Class)

 43354   WEST GROUP PAYMENT CENTER, PO BOX 6292, CAROL STREAM, IL, 60197-6292                         US Mail (1st Class)

 43354   WEST KENTUCKY LIVESTOCK MARKET, 1781 US HWY 60 E, MARION, KY, 42064-6104                     US Mail (1st Class)

 43354   WEST PLAINS CO., D/B/A CT LIVESTOCK, 4800 MAIN ST. SUITE 274, KANSAS CITY, MO, 64112-2540    US Mail (1st Class)

 43354   WEST PLAINS DBA CT LIVESTOCK, 14210 HILLSDALE CIRCLE, OMAHA, NE, 68137-5557                  US Mail (1st Class)

 43354   WESTLEY KINSLOW, 2371 DRIPPING SPRINGS ROAD, GLASGOW, KY, 42141-6603                         US Mail (1st Class)

 43354   WESTONE CREEK, 442 SUNFISH SCHOOL RD, BROWNSVILLE, KY, 42210-8612                            US Mail (1st Class)

 43354   WETSTONE CREEK, 442 SUNFISH SCHOOL RD, BROWNSVILLE, KY, 42210-8612                           US Mail (1st Class)

 43354   WHEELER BROS GRAIN CO., PO BOX 29, WATONGA, OK, 73772-0029                                   US Mail (1st Class)

 43354   WHITWORTH CATTLE CO, WINTER VIDEO AUCTION, 11802 W GARRIOTT, ENID, OK, 73703-6064            US Mail (1st Class)

 43354   WILLARD R ODLE, 491 GOODLUCK BEAUMONT RD, EDMONTON, KY, 42129-9235                           US Mail (1st Class)

 43354   WILLIAM A MILBY, 6869 GREENSBURG RD, BUFFALO, KY, 42716-8408                                 US Mail (1st Class)

 43354   WILLIAM BUSH, RT 2, BOX 42, SNYDER, OK, 73566                                                US Mail (1st Class)

 43354   WILLIAM EUGENE DEDIGO, 8313 RANDAL PH-SUMMER SHADE RD, SUMMER SHADE, KY, 42166-7622          US Mail (1st Class)

 43354   WILLIAM FRED BIRDWELL, 1543 TOMMY DODSON HWY, COOKEVILLE, TN, 38506-8242                     US Mail (1st Class)

 43354   WILLIAM KRUIZENGA, 2823 EDMONTON RD, COLUMBIA, KY, 42728-8466                                US Mail (1st Class)

 43354   WILLIAM MCCLURE, 5199 SMITH GROVE RD, SCOTTSVILLE, KY, 42164-9431                            US Mail (1st Class)

 43354   WILLIAM REX ELMORE, 1817 TOBACCO RD, GLASGOW, KY, 42141-8486                                 US Mail (1st Class)

 43354   WILLIAM ROBERT MEYER II, STITES & HARBISON PLLC, 400 WEST MARKET STREET, LOUISVILLE, KY,     US Mail (1st Class)
         40202-3352
 43354   WILLIAM WHITE, 99 WHITE RD, SUMMER SHADE, KY, 42166-8627                                     US Mail (1st Class)

 43354   WILLIAMS CATTLE CO, PO BOX 447, LONDON, KY, 40743-0447                                       US Mail (1st Class)

 43354   WILLIAMS FARMS, 893 CR 128, TOWN CREEK, AL, 35672-6664                                       US Mail (1st Class)

 43354   WILLIE DOWNS LIVESTOCK INC., 1300 RICHIE LANE, BARDSTOWN, KY, 40004-9534                     US Mail (1st Class)

 43354   WILLIE DOWNS LIVESTOCK, INC, 4840 NEW HAVEN ROAD, BARDSTOWN, KY, 40004-9520                  US Mail (1st Class)

 43354   WILSON TRAILER SALES OF KANSAS, PO BOX 297, DODGE CITY, KS, 67801-0297                       US Mail (1st Class)

 43354   WILSON, EPHRIAM, 5614 COUNTY HOUSE RD, TOMPKINSVILLE, KY, 42167                              US Mail (1st Class)

 43354   WIMBERLY LAWSON SEALE WRIGHT & DAVES, PLLC, PO BOX 2231, KNOXVILLE, TN, 37901-2231           US Mail (1st Class)


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 43354   WINDSTREAM, PO BOX 9001908, LOUISVILLE, KY, 40290-1908                                       US Mail (1st Class)

 43354   WINDSTREAM, 1720 GALLERIA BLVD, BR 15 LEXINGTON, CHARLOTTE, NC, 28270-2408                   US Mail (1st Class)

 43354   WINNER LIVESTOCK AUCTION, BOX 611, WINNER, SD, 57580-0611                                    US Mail (1st Class)

 43354   WINONA STOCKYARD, PO BOX 429, WINONA, MS, 38967-0429                                         US Mail (1st Class)

 43354   WINONA STOCKYARD - CUSTODIAL, C/O BANK OF WINONA, PO BOX 231, WINONA, MS, 38967-0231         US Mail (1st Class)

 43354   WISCHMEIER TRUCKING, PO BOX 244, BROWNSTOWN, IN, 47220-0244                                  US Mail (1st Class)

 43354   WISCHMEIER TRUCKING INC, PO BOX 244, BROWNSTOWN, IN, 47220                                   US Mail (1st Class)

 43354   WITCHER LIVESTOCK, FIRST INTERSTATE BANK, HC 46, BOX 7621, MILES CITY, MT, 59301-8704        US Mail (1st Class)

 43354   WM E HENDERSON, 5763 HODGENVILLE RD, SUMMERSVILLE, KY, 42782                                 US Mail (1st Class)

 43354   WYATT TRUCKING, INC, 1791 CO RD 472, KINSTON, AL, 36453-3437                                 US Mail (1st Class)

 43354   WYOMING LIVESTOCK BOARD, C/O CRAIG JONES, BRAND INSPECT, BOX 146, ELK MOUNTAIN, WY, 82324-   US Mail (1st Class)
         0146
 43354   XIT FEEDERS, 2690 US HWY 54, DALHART, TX, 79022-7232                                         US Mail (1st Class)

 43354   YANKTON LIVESTOCK AUCTION, PO BOX 774, YANKTON, SD, 57078-0774                               US Mail (1st Class)

 43354   YOUNG, JEFFERY L, 518 WILLOW GROVE SCHOOL RD, ALLONS, TN, 38541                              US Mail (1st Class)

 43354   ZAGO, DANTE, 8201 COUCHVILLE PK, MT JULIET, TN, 37122-7611                                   US Mail (1st Class)

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